Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 1 of 168 Page ID
                                 #:163500


                          IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF THE STATE OF INDIANA
                                  INDIANAPOLIS DIVISION


 JOYCE RICHARD                         )                   CIVIL ACTION NO.
                                       )                   1:15-cv-1931 JMS-TAB
      Plaintiff,                       )
                                       )
 vs.                                   )
                                       )
 TOYOTA MOTOR CORPORATION              )                   PLAINTIFF'S AMENDED COMPLAINT
 (Toyota Jidosha Kabushiki Kaisha);    )
 TOYOTA MOTOR SALES USA, INC.;         )
 TOYOTA MOTOR ENGINEERING              )
 AND MANUFACTURING NORTH               )
 AMERICA, INC.; TOYOTA MOTOR NORTH     )
 AMERICA, INC.; AISIN SEIKI CO., LTD.; )
 AISIN AISIN WARNER CO., LTD.;         )
 DENSO CORPORATION; TOYOTA             )
 INDUSTRIES CORPORATION;               )
 TOYOFUJI SHIPPING CO., LTD.;          )
 TOYOTA TRANSPORTATION CO., LTD;       )
 MITSUI & CO., LTD.                    )
 (Mitsui Bussan Kabushiki Kaisha)      )
 TRANSFREIGHT LLC;                     )
 SUMITOMO MITSUI BANKING CORPORATION )                     JURY TRIAL AND
                                       )                   JURY TRIAL DETERMINATION OF
      Defendants.                      )                   DAMAGES DEMANDED


                                                 Forward

           On September 20, 2018, adjudged alien rank infringer Defendant Toyota Motor

 Corporation ("TMC"), a Japanese Corporation, and its wholly owned subsidiaries, Defendant Toyota

 Motor Engineering and Manufacturing North America, Inc. ("TEMA") and adjudged alien rank

 infringer Defendant Toyota Motor Sales USA, Inc. ("TMS"), filed a motion to dismiss the above

 entitled action in the U.S. Judicial Panel on Multidistrict Litigation's ("JPML") April 9, 2010 created

 pre-trial multidistrict litigation venue, pursuant to 28 U.S.C. § 1407, known as In re: Toyota Motor

 Corporation Unintended Acceleration Marketing, Sales Practices, and Products Liability Litigation

 ("MDL No. 2151")(see Richard v. Toyota, Case No. 8:16-cv-01059-JVS-E (C.D. Cal. 2016) ECF No.

 145 and/or MDL No. 2151, Case No. 8:10-ml-02151-JVS (Ex)/(FMOx) ECF No. 5644), located at

 the United States District Court for the Central District of California Southern (Santa Ana) into which
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 2 of 168 Page ID
                                 #:163501



 the identical Defendants did extrinsically fraudulently request, on February 5, 2016, that the JPML

 transfer the above entitled action, despite the product liability venue being truly preempted,

 unconstitutionally improper, lacking subject matter jurisdiction over the foreign imported adjudged

 rank infringing "2009 Prius" named in the original complaint, definitely lacking personal jurisdiction

 over the Plaintiff, and probably lacking personal jurisdiction over the adjudged alien rank infringer

 Defendants that requested it, for actual year 2006 federal jury trial verdict judgment(s) established,

 intentional U.S. patent infringement.

           Plaintiff, Ms. Richard, respectfully files this Amended Complaint, pursuant to Federal Rule

 of Civil Procedure 15(a)(1)(B), that allows a plaintiff to amend a complaint once as a matter of

 course in response to a motion to dismiss. See Swanigan v. City of Chicago, 775 F.3d 953, 963

 (7th Cir. 2015)(noting that the plaintiff "was entitled to amend his complaint to flesh out his original

 claims or attempt to cure any jurisdictional or legal defects" under rule 15 and that "Indeed, whether

 to allow an amendment was out of the court's hands entirely.")

           Plaintiff relies on the instant amendment being out of the court's, and therefore, the MDL

 No. 2151, 28 U.S.C. § 1407(b) delimited transferee judge's, the Honorable James V. Selna's, hands

 entirely, in order to subsequently respectfully request that he recommend to the JPML an immediate

 remand of the claims herein related with transfer of the entire above entitled action's record out of

 the improper MDL No. 2151 product liability venue and into the Supreme Court of the United States

 venue of proper jurisdiction.

                                               COMPLAINT

                            A.   Parties and Facts Common to All Counts

   1.      At approximately 9:45pm EST on or about December 08, 2013 Plaintiff, Ms. Joyce

 Richard, a natural born citizen of the State of Indiana residing in Marion County, sustained serious

 bodily injury, property damages, and other damages after driving a subject foreign imported,

 adjudged rank U.S. Patent 5,343,970 claims 11 and 39 infringing, 2009 Prius with HYBRID

 SYNERGY DRIVE (“infringing Prius II,” or “Generation II,” or “Gen II,” or “Prius”), that was
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 3 of 168 Page ID
                                 #:163502



 intentionally manufactured, counterfeit and/or spurious labeled, and extrinsically fraudulently "self-

 certified" as a U.S. National Highway Traffic Safety Administration ("NHTSA") and U.S. Federal

 Motor Vehicle Safety Standard ("FMVSS") comporting passenger car/motor vehicle bearing "Vehicle

 Identification Number (VIN)" JTDKB20U993486580 by adjudged alien rank infringer defendant

 Toyota Motor Corporation ("TMC") and those in privity with it, of and/or by their counsel(s), before,

 during, and after the said Prius' 2008 assembly at the Toyota Motor Corporation Tsutsumi Plant in

 Toyota City, Aichi Prefecture, Japan. The Plaintiff would not have driven the 2009 Prius if defendant

 TMC had informed her about TMC's truly adjudged alien rank infringer status and/or disclosed the

 2009 Prius' patent infringing and/or counterfeited, counterfeit marked, and extrinsically fraudulently

 "self-certified" condition.

   2.       Defendant Toyota Motor Corporation (“TMC”)(a.k.a. Toyota Jidosha Kabushiki Kaisha), a

 Japanese Corporation, at all times relevant herein, was an August 16, 2006 adjudged, alien rank

 infringer of federally protected U.S. intellectual property, including but not limited to, the "HYBRID

 ELECTRIC VEHICLE" entitled U.S. Patent 5,343,970 claims 11 and 39. Prior to the judgment,

 Exhibit C of a March 19, 2014 partly related and publicly announced Deferred Prosecution

 Agreement against certain Defendants for criminal wire fraud, explained that TMC had been an

 automotive company headquartered in Toyota City, Japan. Assisted by its subsidiaries and affiliates

 worldwide…” that “…designs, manufactures, assembles, and sells Toyota and Lexus brand

 vehicles.” There is also a Toyota Group that Defendant Toyota Industries Corporation identifies as

 also headed by TMC. Adjudged alien rank infringer TMC infringed U.S. Patent 5,343,970 by

 manufacturing the foreign imported adjudged rank infringing 2009 Prius with HYBRID SYNERGY

 DRIVE in Aichi Prefecture Japan in 2008, affixing counterfeit marks of HYPERDRIVE™ on the

 Prius' rear door, power control unit housing, and documentation, and extrinsically fraudulently "self-

 certifying" it as a U.S. NHTSA and U.S. FMVSS comporting passenger car/motor vehicle with "VIN"

 JTDKB20U993486580, to breach U.S. borders and distribute interstate for commercial advantage

 and/or private financial gain, because the said 2006 federal jury trial verdict judgment against TMC,
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 4 of 168 Page ID
                                 #:163503



 as affirmed on appeal and cross appeal and remand, made TMC well aware that TMC was without

 authority to "make, use, offer to sell, and/or sell" any such thing, for patent infringement.

   3.      Defendant Toyota Motor Sales USA, Inc. (“TMS”), at all times relevant herein, was an

 August 16, 2006 adjudged, alien rank infringer of federally protected U.S. intellectual property,

 including but not limited to, the "HYBRID ELECTRIC VEHICLE" entitled U.S. Patent 5,343,970

 claims 11 and 39. Prior to the judgment, Exhibit C of a March 19, 2014 partly related and publicly

 announced Deferred Prosecution Agreement against certain Defendants for criminal wire fraud,

 TMS was "an entity that is a wholly-owned subsidiary of…” TMC “…and headquartered in Torrance,

 California . . . responsible for sales and marketing of Toyota and Lexus brand vehicles in the United

 States.” TMC has 100% voting interest in TMS.

   4.      Defendant Toyota Motor Engineering and Manufacturing North America, Inc. (“TEMA”), at

 all times relevant herein, was a foreign corporation doing business in Indiana. According to Exhibit

 C of a March 19, 2014 partly related and publicly announced Deferred Prosecution Agreement

 against certain Defendants for criminal wire fraud, “…At least through February 2010, decisions

 about whether and when to conduct recalls of Toyota and Lexus vehicles were made by the

 leadership of a group within…” TMC “…called “Customer Quality Engineering,” which was centered

 in Japan and sometimes referred to as “CQE-J.” Customer Quality Engineering had regional arms

 responsible for monitoring vehicle quality issues in the “field” (that is, for vehicles already

 on the road) in their respective regions. These regional arms regularly reported field issues and

 results of vehicle inspections and testing to CQE-J. The U.S. regional arm, locate in Torrance,

 California, was called “CQE-LA.” Technically, CQE-LA was part of Toyota Motor Engineering &

 Manufacturing North America, Inc. (“TEMA”), an entity that is a wholly-owned subsidiary of…” TMC

 “…headquartered in Kentucky and principally responsible for North American manufacturing of

 Toyota and Lexus vehicles. In practice, CQE-LA staff reported to CQE-Jʼs leadership.” Adjudged

 alien rank infringer TMC has 100% voting interest in TEMA.

   5.      Defendant Toyota Motor North America, Inc. (“TMNA”), at all times relevant herein, was
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 5 of 168 Page ID
                                 #:163504



 an August 16, 2006 adjudged, alien rank infringer of federally protected U.S. intellectual property,

 including but not limited to, the "HYBRID ELECTRIC VEHICLE" entitled U.S. Patent 5,343,970

 claims 11 and 39. Prior thereto, pursuant to Exhibit C of the said March 19, 2014 publicly

 announced Deferred Prosecution Agreement for criminal wire fraud, TMNA “is an entity that is a

 wholly-owned subsidiary of…” TMC “…with offices in New York, NY, and Washington, DC. The

 Washington, DC office was responsible for reporting to and interacting with…” TMCʼs “…U.S.

 regulator, the National Highway Traffic Safety Administration (“NHTSA”).” TMC has 100% voting

 interest in TMNA.

   6.      Defendant Aisin Seiki Co., Ltd. ("AISIN"), a Japanese Corporation, at all times relevant

 herein, was a wholly-owned subsidiary of adjudged alien rank infringer TMC, pursuant to May 13,

 2002, dated "Form 6-K" "Report of Foreign Issuer" submitted to the United States Securities and

 Exchange Commission in Washington, D.C. 20549, by one "Toyota Motor Corporation (Translation

 of Registrant's Name into English)." TMC noted AISIN as a "Compan[y] accounted for under the

 equity method ["in accordance with accounting principles generally accepted in Japan"]." As

 recently as June 23, 2016, the Toyota Global [web][s]ite for the Toyota Group lists AISIN as an entity

 established in August of 1965 primarily engaged in manufacture and sales of auto parts.

 Unbeknownst to the Plaintiff, AISIN entered into a November 13, 2014, dated Plea Agreement for

 criminal consumer allocation for automotive parts pricing and judgment by the identical Indiana

 federal court in which the original complaint in the above entitled action was filed. AISIN was

 beholden to TMC, or has legal privity with TMC, for licensing the TMC "hybrid system II" referenced

 by name on Page 13 of U.S. International Trade Commission ("ITC") Investigation 337-688, May 21,

 2010, dated Order No. 12, as "...any system that infringes the '970 patent, including but not limited

 to the 2004 model year and later Toyota Prius, the Toyota Highlander hybrid, the Lexus RX 400h

 and all other vehicles or systems substantially embodying what is variously termed the Hybrid

 Synergy Drive or Toyota Hybrid System II ("THS II") and colorable imitations thereof;')(emphasis

 added).)" that also comprises the subject foreign imported adjudged rank "infringing Prius II"
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 6 of 168 Page ID
                                 #:163505



 explicitly disclosed in the federal district court jury trial verdict judgment(s) for patent infringement

 against TMC, to other automobile makers. AISIN was not named Defendant in the patent

 infringement judgment(s) against TMC, TMS, and TMNA. AISIN is headquartered in Kariya, Aichi

 Prefecture, Japan, and has 100% voting interest in its wholly-owned subsidiary Aisin Aisin-Warner

 Co., Ltd..

   7.         Defendant Aisin Aisin-Warner Co., Ltd. ("AISIN-AW"), a Japanese Corporation, at all times

 relevant herein, is wholly owned by AISIN. AISIN-AW was not named Defendant in the patent

 infringement judgment(s) against TMC, TMS, and TMNA. As late as June 24, 2016, AISIN-AW

 website in Japan claimed credit for developing the 2004 Toyota Prius' "transmission," yet the said

 infringed inventor's U.S. Patent 5,343,970 indicates that there is no "transmission" in the

 adjudicated foreign imported articles, including the subject 2009 Prius. AISIN-AW is

 headquartered in Anjo, Aichi Prefecture, Japan.

   8.         Defendant Denso Corporation ("DENSO")(a.k.a. and/or formerly "(Nippon) Denso Co.,

 Ltd."), a Japanese Corporation, at all times relevant herein, was a wholly-owned subsidiary of

 adjudged alien rank infringer TMC, pursuant to May 13, 2002, dated "Form 6-K" designated "Report

 of Foreign Issuer" submitted to the United States Securities and Exchange Commission in

 Washington, D.C. 20549, by one "Toyota Motor Corporation (Translation of Registrant's Name into

 English)." TMC noted DENSO as a "Compan[y] accounted for under the equity method ["in

 accordance with accounting principles generally accepted in Japan"]." DENSO entered into a

 March 5, 2010, dated Plea Agreement for criminal combination and conspiracy related to the prices

 of electronic control units ("ECUs") and heater control panels ("HCPs"). DENSO was represented

 as the manufacturer of the airbag inflator, crash sensor, throttle pedal, throttle position sensor, brake

 resistor, brake actuator, and several power control modules on the engine ECU of the subject 2009

 Prius, in Japan, that was imported and distributed interstate after breaching U.S. borders as a TMC

 "self-certified" NHTSA and FMVSS compliant passenger car/motor vehicle, to proximately cause

 serious bodily injury to the Plaintiff, Ms. Richard. DENSO is headquartered in Kariya, Aichi
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 7 of 168 Page ID
                                 #:163506



 Prefecture, Japan.

   9.         Defendant Toyota Industries Corporation ("TICO"), at all times relevant herein, apparently

 had origins arising from one Sakichi Toyoda's 1897 completion of a Toyoda Wooden Power Loom

 and establishment of the company "Toyota Shoten" to manufacture and sell it, which became Toyota

 Automatic Loom Works Ltd.. The latter established an automobile division in 1933 for Toyoda's son

 and ultimately spun-off the division in 1937, by creating Toyota Jidosha Kogyo ("Toyota Motor

 Industry, Co, Ltd."), that evolved into the adjudged alien rank infringer TMC.

              TICO related to the U.S. Securities and Exchange Commission ("SEC") on page 32 of a

 January 12, 2003 processed Annual Report for the year ending March 31, 2003:

        "Toyota Industries' Corporate Technical Center develops and manufactures power
        electronics parts for automobiles, and engages in basic R&D in the materials field as well
        as research in the latest technologies, such as electronics for commercial use. The
        Center also serves as Toyota Industries' R&D facility and its production base for a vast
        array of electronics parts, so accumulating know-how in product manufacture. Products
        include a DC-DC converter that fully employs the Center's long-cultivated power
        electronics technology and expertise. Fitted in Toyota Motor Corporations' Prius hybrid
        car as a main component, the converter is a switching power supply that down-converts
        the high-voltage current of the main battery to a lower DC current to supply power for the
        headlights, air conditioners and electric control units via the auxiliary battery. The Center
        aims to establish a position as a manufacturer of power sources for hybrid cars."

 Page 33 furthers under Research and Development:

               "The Corporate Technical Center takes the initiative in basic R&D in the materials
        field as well as research in the latest technologies, such as electronics. The Center
        engages in R&D together with each division or independently, depending on the
        research themes. We also collaborate with Toyota Central Research & Development
        Laboratories, Inc., an R&D facility of the Toyota Group, and other outside R&D
        institutions, including universities. In addition, in July 2003 we set up the New
        Electronics Department within the Corporate Technical Center, establishing a structure to
        deal with new business endeavors in the electronics field.
               In January 2003, Toyota Industries combined the Technical Planning Department,
        which was responsible for company-wide technological management, and the Business
        Development Department, which was charged with creating new businesses, and
        established the Business Planning Department within the Corporate Center to promote
        new business development and quicker decision-making with regard to new businesses
        and technological management. This department engages in the lateral transfer of
        technologies among the different divisions and the examination of new technology
        development themes in order to establish a strong and efficient corporate R&D structure.
        It also utilizes the long-accumulated technological know-how and outside network (both
        people and information) of each division to systematically and continually explore the
        potential for new products and services that may become future pillars of our business."
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 8 of 168 Page ID
                                 #:163507



 Page 34 of the same relates:

    "The following are some of the new products unveiled in fiscal 2003.
    Automobile Segment
    Electrically driven CO2 car air-conditioning compressor
    HFC-134a, the hydroflurocarbon most commonly used as a refrigerant for car air-
    conditioning compressors at the moment, is effective in preventing the destruction of the
    ozone layer. However, its global-warming potential is 1,300 times that of CO2. Toyota
    Industries developed jointly with DENSO Corporation a car air-conditioning compressor
    that uses CO2 as a refrigerant, presumed to be effective in remedying both problems.
    This CO2 compressor is incorporated in the fuel-cell hybrid vehicles developed by Toyota
    Motor Corporation, which were delivered to the Japanese government in December
    2002."

 Page 35 of the same is captioned Corporate Governance and relates at the second paragraph:

    "Although amendments to Japan's Commercial Code (effective as of April 1, 2003) allow
    selective introduction of U.S.-style, committee-based corporate governance, we opted to
    retain the Japanese conventional auditing system because we deemed it fully capable of
    doing the job. . . . This section covers the corporate governance system of [TICO] as of
    July 1, 2003."

 Page 47 that is in the Financial Section captioned Management's Discussion and Analysis fo

 Financial Condition and Results of Operations at Car Air-Conditioning Compressor Business says:

    "Car air-conditioning compressors developed and manufactured by toyota Industries are
    marketed to leading auto manufacturers worldwide through DENSO Corporation
    ("DENSO"). Sales of car air-conditioning compressors in the domestic market increased
    due largely to a transfer of the assembly line for scroll-type compressors from DENSO.
    Overseas, orders increased in North America and sales expanded in Europe."

 Page 50 of the same relates under the heading Strategies and Projections Business Strategies that:

           "Since its establishment as a textile machinery manufacturer over 75 years ago,
    Toyota Industries has expanded the scope of its specific characteristics. The operational
    strategies for these categories are based on the mission assigned to each category. ...
    The first category, the Vehicle Business and the Engine Business, handles mainly the
    production of vehicles consigned by TMC and production of engines for TOYOTA cars.
    To play a more important role in the Toyota Group, Toyota Industries is making continual
    efforts to improve its production technologies and strengthen quality control. ... Aiming to
    play a more important role in the development and production of TOYOTA cars and
    engines, Toyota Industries will step up its efforts to strengthen its research and
    development capability and improve productivity. In its work in this category for TMC,
    Toyota Industries will also make proposals for the design and launch of auto parts and
    small cars, and actively work to ensure that such proposals are adopted.
           The second category, which comprises the Car Air-Conditioning and compressor
    Business, the Material Handling Equipment Business and the Textile Machinery
    Business, is identified as a business field in which Toyota Industries must cultivate
    further development of global markets by precisely grasping customers' needs, and
    developing and marketing state-of-the-art products that meet these needs through the
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 9 of 168 Page ID
                                 #:163508


     application of original technologies. Firmly believing that technological improvement is
     the key to competitiveness, Toyota Industries strives to strengthen its technological
     development capabilities by fostering the training and development of superior
     engineers. Since the Car Air-Conditioning Compressor Business and the Materials
     Handling Equipment Business are positioned as core businesses, Toyota Industries
     places a priority on them in its allocation of management resources . . . ."

 Page 52 of the same relates under the caption Toyota Industries' Relationship to Toyota Motor

 Corporation ("TMC"):

            "Because of its historical background, Toyota Industries has a close relationship
     with TMC and Toyota Group companies in terms of capital investment and business
     dealings. In 1933, Kiichiro Toyoda, eldest son and founder Sakichi Toyoda and
     Managing Director of Toyota Industries (then Toyoda Automatic Loom Works, Ltd.) at the
     time, established the Automobile Division within the Company. In 1937, the Automobile
     Division was spun off and became an independent company, Toyota Motor Co., Ltd. (the
     present Toyota Motor Corporation). As of March 31, 2003, Toyota Industries holds 5.4%
     (196,725 thousand shares) of TMC's total shares issued. As of the same date, TMC
     holds 24.7% (72,316 thousand shares) of total voting rights. Toyota Industries is one of
     TMC's affiliates accounted for by the equity method.
            TMC assigns the assembly of certain cars and the production of automobile
     engines to us. We also directly or indirectly manufacture and sell other automobile
     components to TMC.         In fiscal 2003, our net sales to Toyota Group companies
     accounted for approximately 56% of consolidated net sales.
            As a member of the Toyota Group, we intend to enhance the competitiveness of
     TMC and other Toyota Group companies by contributing in such areas as quality, cost,
     delivery and technology. We believe that this will be reflected in increases in sales and
     profits for the Toyota Group, thus increasing the shareholder value of Toyota Industries."

 Page 94 of the same relates under the heading Electronics Corporate Technical Center:

           "The Corporate Technical Center carries out product planning, design and
     manufacture of products related mainly to power supply and communications.
           The Center manufactures DC-AC inverters that convert 12V DC car battery current
     to 100V AC (standard Japanese household current) and DC-DC converters fitted in
     TOYOTA Prius hybrid cars. It also develops and manufactures SS wireless modems.
     Serving as Toyota Industries' R&D base, the Center is engaged in basic R&D in the
     materials field as well as research in the latest technologies, such as electronics."

 Page 53 of TICO's June 24, 2004, dated SEC Rule 12g3-2(b) filing is from its 2004 Semi-annual

 Report, that discloses under the caption Commercialization of Electrically-Driven Car Air-

 Conditioning Compressors for Hybrid Cars:

     "We also developed jointly with DENSO and started production of an electrically driven
     car air-conditioning compressor ("Electrically Driven Compressor ES18") for hybrid cars.
     Unlike conventional compressors that are belt-driven by the engine, this compressor is
     driven by a built-in motor. As a result, the air-conditioner remains on even when the
     engine is turned off, ensuring both interior comfort and fuel economy for idling stop
     vehicles such as hybrid cars . . . It is installed in the new Prius, which was introduced to
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 10 of 168 Page ID
                                 #:163509


      the market by TMC in September 2003."

  TICO is headquartered in Kariya, Aichi Prefecture, Japan.

   10.      Defendant Toyofuji Shipping Co., Ltd. ("TOYOFUJI"), a Japanese Corporation, at all times

  relevant herein was formed in 1964 by three firms (1) Toyota Motor Co., Ltd., (2) Fujitrans

  Corporation (formerly Fujiki Kaiun Kaisha, Ltd.), and (3) Toyota Land Transportation Co., Ltd. (a.k.a.

  Toyota Transportation Co., Ltd.), that in 1964 collectively invested in forming Toyofuji Shipping Co.,

  Ltd.. TOYOFUJI has more recently advertised itself, "As the Toyota group's sole marine transport

  company." As such, TOYOFUJI conveyed the subject foreign imported adjudged rank infringing

  2009 Prius on a ship in admiralty on high seas from Japan through U.S. borders in 2008.

  TOYOFUJI is headquartered in Tokai City, Aichi Prefecture, Japan.

   11.      Defendant Toyota Transportation Co., Ltd. ("TTCO"), a Japanese Corporation, at all times

  relevant herein initially invested in TOYOFUJI and provides Transportation, Logistics, and Trucking

  as a 1952 established division of Toyota Motor Sales Co., Ltd. in Japan prior to the latter's 1980s

  merger with Toyota Motor Co., Ltd., which collectively became the adjudged alien rank infringer

  TMC. As such, TTCO contributed to conveying the subject foreign imported adjudged rank

  infringing 2009 Prius to, on, and/or from on a ship in admiralty on high seas from Japan through

  U.S. borders in 2008 and/or thereafter. TTCO is headquartered in Toyota City, Aichi Prefecture,

  Japan.

   12.      Defendant Mitsui & Co., Ltd. (a.k.a. Mitsui Bussan Kabushiki Kaisha)("MITSUI"), a

  Japanese Corporation, at all times relevant herein purports to have no relationship to an entity of

  the identical same name, that had a relationship predating TICO, arising from one Sakichi Toyoda's

  1897 completion of a Toyoda Wooden Power Loom and establishment of the company to sell it

  named "Toyota Shoten." A Nagoya branch cotton inspector for the pre-1940s Mitsui & Co., Ltd.

  ("MITSUI-1") appreciated the loom woven product, prompting an 1899 exclusive sales contract

  between "Toyota Shoten" and MITSUI-1, for which MITSUI-1 formed a company called "Igeta

  Shokai" (after the Mitsui mark), with Toyoda as chief engineer, to sell the power looms on "Toyota
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 11 of 168 Page ID
                                 #:163510



  Shoten's" behalf. Apparently, China's Boxer Rebellion downsized the spinning industry and forced

  Igeta Shokai to close. However, MITSUI-1 continued financing the growth of Toyota Shoten, that

  became Toyota Shokai, for which MITSUI-1 proposed in 1906 a reorganization into a stock

  company to introduce capital from large-scale spinning companies, which Sakichi Toyota accepted,

  that established Toyota Loom Works Co., Ltd.. With MITSUI-1 Nagoya branch's continued support,

  the 1926 Toyota Automatic Loom Works Co., Ltd, which became TICO was established as

  represented in ¶ 9 above.

           MITSUI represented to the SEC on page 19 of a "Form 20-F" filing for the fiscal year

  ended March 31, 2003, under the caption Non-Ferrous Metals Unit:

       "We diversify our business through natural resource investments, global trading and
     development and promotion of alternative investment products through our subsidiary
     licensed by governmental regulators. ... We further enhanced our resource investment
     activities by participating in a nickel-cobalt mining and refining project at Rio Tuba area in
     the Republic of Philippines, to be developed jointly with Sumitomo Metal Mining Co.,
     Ltd., Nissho Iwai Corporation, and a local partner in the country. This project will produce
     nickel-cobalt mixed sulfide through a high-pressure acid leaching process, an advanced
     processing technologies for nickel production."

  Page 22 furthers under the caption Motor Vehicles, Marine & Aerospace Business Unit:

           "Motor Vehicles, Marine & Aerospace Business Unit has the following divisions:
     First and Second Motor Vehicles Divisions, Ship & Marine Project Division, and
     Aerospace Systems Division. Brief description of these divisions is set forth below.

         First and Second Motor Vehicles Divisions

         In our motor vehicles business, our strength lies in our value added services that we
     offer in our traditional and core fields such as assembly and manufacturing, import and
     export, and distribution of motor vehicles and their parts. For example, we have been
     exporting Toyota, Subaru, and other Japanese manufacturersʼ cars to various countries
     worldwide such as Canada (Toyota), Chile (Toyota), Peru (Toyota), Italy (Subaru),
     Germany (Subaru and Yamaha), Thailand (Hino) and Malaysia (Daihatsu). We have set
     up subsidiaries and associated companies in these countries for distribution purposes.
     We continue to proceed with the strategic allocation of our financial and human
     resources to certain prioritized areas of our motor vehicles business worldwide such as
     logistics and retail operations and retail finance and auction business. For example, we
     have operated a retail finance company for Yamaha motorcycles in Indonesia since
     1997. Also, we have been handling the logistics operations of automobile parts for
     Toyotaʼs manufacturing operation in North America and Europe area.

            With regard to retail operations, we acquired a 7.8% interest in United Auto Group,
     Inc., an American automobile retail company which has expertise for retail operation in
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 12 of 168 Page ID
                                 #:163511


      the United States and have been seeking an opportunity to develop joint retail operations
      in various regions. We have also invested in an auction business for used cars as a
      business partner of J.A.A., an auction trader in Japan. In order to establish ourselves in
      the automobile auction business, we, along with J.A.A., established an automobile
      auction joint venture company in Germany.

            Ship & Marine Project Division

         We maintain our marine-related operations by continuous alliances with various
      owners and operators of ships and also by providing multifunctional services, which
      include purchase and sale of various types of ships including bulk carriers, container
      carriers and tankers, financing activities, management of ship construction and
      operations, as well as chartering services. In addition, through our partnership with major
      petroleum companies such as Chevron Texaco Corporation, we actively participate in
      business transactions involving tankers, LPG and LNG carriers, as well as Floating
      Production Storage and Offloading units for energy development operations. For
      example, we won projects for Floating Storage and Offloading and Floating Production
      Storage and Offloading projects with Chevron Angola and Conoco Vietnam,
      respectively."

  Furthermore, in 2008 MITSUI represented that in October of 1998 MITSUI established its 100%

  owned subsidiary Transfreight, LLC for "Distribution of parts used for manufacturing products" in the

  U.S.A.. Page 78 of the same indicates that MITSUI has as a 3.62% shareholder the Sumitomo

  Mitsui Banking Corporation, which page 45 of the same relates as having formed from the merger of

  The Sakura Bank, Ltd. and The Sumitomo Bank, Ltd.. For providing Transportation, Logistics, and/

  or Trucking and/or financial support and/or sourcing nickel, for the 114lbs. weighing U.S. Patent

  5,343,970 disclosed extremely high voltage [nickel-metal hydride] battery, that could not be

  crammed under the Prius hood, which the adjudged alien rank infringer(s) mounted on a sharp edge

  that faces rear seated Prius passengers' (soccer moms' precious cargo) spines, under a piece of

  cloth, MITSUI contributed to conveying the subject foreign imported adjudged rank infringing 2009

  Prius to, on, and/or from on a ship in admiralty on high seas from Japan through U.S. borders in

  2008 and/or thereafter, that was subsequently purchased by Indianapolis Butler Hyundai motor

  vehicle dealer at auction. MITSUI is headquartered in Tokyo, Japan.

                                                 VENUE

   13.      Venue may be justifiably determined by 1891 U.S. Patent law, in accordance with

  temporal considerations by the Supreme Court of the United States in TC Heartland, which involved
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 13 of 168 Page ID
                                 #:163512



  an Indiana party. Plaintiff is a resident of Indiana, where the December 8, 2013, date incident

  occurred, where Plaintiff's medical treatment has been occurring, and where the subject foreign

  imported adjudged rank infringing 2009 Prius with HYBRID SYNERGY DRIVE was offered for sale.

   14.      Brunette Machine Works, Ltd. v. Kockum Industries, Inc., 406 U.S. 706 (1972)("a suit

  against an alien is wholly outside the operation of all federal venue laws (whether general or

  special)"), in context of the herein invoked 1870 Patent Act, governs this complaint in alienage

  diversity jurisdiction and patent infringement, for the above named alien Japanese Corporation

  defendant(s). On May 10, 2018, the United States Court of Appeals for the Federal Circuit

  ("Federal Circuit") followed the Brunette holding in In re HTC Corporation, Misc. 2018-130 (May 5,

  2018) by ruling that venue in suits against foreign alien defendants is governed by 2011

  amendments provided by 28 U.S.C. § 1931(c)(3)(2011), which do not "make venue protections

  applicable to alien defendants."

   15.      Classically, Section 11 of the 1789 Judiciary Act (1 Stat. 73, 78) that gave states courts

  and the federal circuit courts concurrent jurisdiction over violations arising from violations of the

  prohibition at U.S. CONST. Art. I, § 8, cl. 8, as herein alleged, was given over completely to the

  federal circuit courts by the:

      "5th section of the act of February 21, 1794 "an act to promote the progress of the useful
      arts," &c., jurisdiction in actions for violations of patent rights, is given to the Circuit
      courts. ... In such cases appeals lie to the Supreme Court of the United States. So also
      in cases of interest, or disability of a district judge. Act of May 8, 1792, sec. 11; act of
      March 2, 1809, sec. 1; act of March 3, 1821."

   16.      An August 16, 2006, dated Eastern District of Texas federal court judgment on the merits

  upheld a December 20, 2005, dated federal jury verdict against "Toyota Motor Corp. [("TMC")], a

  Japanese corporation, Toyota Motor North America Inc. [("TMNA")], and Toyota Motor Sales USA,

  Inc. [("TMS")] (collectively "Defendants") for infringement of U.S. Letters Patent No. 5,343,970 ("the

  '970 patent"), claims 11 and 39" for having manufactured each foreign imported "infringing Prius II,"

  in Paice v. Toyota, Case No. 2:04-cv-211 (E.D. Tex (2006)("PaiceI"). A true copy of the U.S. Letters

  Patent 5,343,970 is hereto attached as Exhibit 1. A copy of the complaint against the said
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 14 of 168 Page ID
                                 #:163513



  defendants is hereto attached as Exhibit 2. A certified true copy of the judgment is hereto attached

  as Exhibit 3.

   17.      On October 18, 2007, the verdict was affirmed on appeal and cross appeal by the United

  States Court of Appeals for the Federal Circuit in Paice v. Toyota, 504 F.3d 1293 (Fed. Cir. 2007)

  ("Paice II"). A certified copy of the 2007 dated ruling is hereto attached as Exhibit 4.

   18.      On May 12, 2008, the Supreme Court of the United States denied Toyota Motor

  Corporation et al.'s petition for Writ of Certiorari to the United States Court of Appeals for the

  Federal Circuit. A true copy of the 2008 dated repository entry is hereto attached as Exhibit 5.

   19.      It was subsequent to the appeal and cross appeal upholding the federal jury trial verdict of

  infringement and the denial of certiorari that the adjudged alien rank infringers, those in privity with

  them, of and by their counsel(s), manufactured the subject adjudged rank infringing 2009 Prius with

  HYBRID SYNERGY DRIVE that proximately caused the serious bodily injury, property damages,

  and other damages at issue in the above entitled action. See Exhibit 6 depicting the "Vehicle

  Identification" plate indicating "10/2008" and "Made in Japan by Toyota Motor Corporation" written in

  plain block letters as TMC's "self-certification" on the subject 2009 Prius.

   20.      On remand in Paice v. Toyota, 609 F.Supp.2d 620, 625 (E.D. Tex. 2009)("Paice III"), the

  federal court issued an April 17, 2009, dated memorandum opinion to the explicit effect that (1) the

  upheld jury verdict (2) applied to the life of the September 21, 1992, filed and September 6, 1994,

  registered "HYBRID ELECTRIC VEHICLE" entitled U.S. Patent 5,343,970 ("the '970 patent") and

  clearly stated that (3) ongoing infringement by the defendants was "voluntary and intentional," (4)

  meriting an exceptional case, given (5) the change in their status after the patent infringement

  verdict against them. A true copy of the PACER filed memorandum opinion is hereto attached as

  Exhibit 7.

   21.      The adjudged alien rank infringer defendants TMC and TMS in the above entitled action

  are identical to the TMC and TMS defendants in the prior 2006 patent infringement action, and

  subject to res judicata as non-mutual offensive collateral issue preclusion, with respect to the prior
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 15 of 168 Page ID
                                 #:163514



  litigation's factually established venue, jurisdiction, and intentional infringement of the identical U.S.

  Patent 5,343,970 matters, with respect to the identical foreign imported adjudged rank "infringing

  Prius II," that includes the 2008 manufactured and extrinsically fraudulently "motor year 2009" self-

  certified Prius with HYBRID SYNERGY DRIVE, in both the prior and instant actions. The Plaintiff,

  Ms. Richard was not party to the prior action(s).

   22.       For venue purposes, among other things, "Where the jurisdiction of the federal courts has

  once attached, no subsequent change in the relation or condition of the parties in the progress of

  the cause, will oust that jurisdiction." The United Sates v. Meyers, 2 Brocken, C. C. R. 516.

   23.       By Brunette, the original United States District Court for the Southern District of Indiana,

  Indianapolis trial court venue was proper under 28 U.S.C. § 1338(a), 28 U.S.C. § 1391, and Federal

  Circuit law regarding FRCP Rule 4(k)(2), to receive the Plaintiff's instant complaint, entertain

  Plaintiff's request(s) to amend and, by 1891 judicial and patent venue governance, proper to receive

  alien defendant(s) required motion to remove the case to the nearest federal circuit court, the United

  States District Court for the Seventh Circuit, for trial.

   24.       Rather than request removal to the nearest circuit court for the foreign imported adjudged

  rank "infringing Prius II," or 2009 Prius at the heart of the above entitled action, as truly undisclosed

  adjudged rank infringing and extrinsically fraudulently "self-certified" (see Best Practices for

  Foreign Importers of Motor Vehicle Products) by the adjudged alien rank infringer TMC as a U.S.

  National Highway Traffic Safety Administration ("NHTSA") and U.S. Federal Motor Vehicle Safety

  Standard ("FMVSS") comporting passenger car (see NHTSA Authorization Act of 1991 § 2502(a)

  (3)) and/or motor vehicle (see 18 U.S.C. § 31(a)(6), 49 U.S.C. § 30102(a)(7), 49 US.C. § 31301

  (12)), when it was clearly not, the adjudged alien rank infringer TMS instead requested, on February

  4, 2016, that the U.S. Judicial Panel on Multidistrict Litigation ("JPML") remove this case to a wholly

  improper multidistrict litigation venue for defective domestic Toyota [motor] vehicles.

   25.       Such venue is improper, because the Supreme court of the United States decided in

  Sears, roebuck & Co. v. Stiffel Co., 376 U.S. 225 (1964)[See also Compco Corp. v. Day-brite
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 16 of 168 Page ID
                                 #:163515



  Lighting, Inc., 376 U.S. 234 (1964).] that "state law of unfair competition is preempted by federal

  intellectual property law." Furthermore, the federal patent misuse doctrine preempts state contract

  law as evident in Unarco Industries, Inc. v. Kelley Co., Inc., 465 F.2d 1303, 175 U.S.P.Q. (BNA) 199

  (7th Cir. 1972), with respect to "overriding policy embodied in the patent law itself." See Timely

  Products, Inc. v. Constanzo, 465 F.SUPP. 91, 201 U.S.P.Q. (BNA) 567 (D. Conn. 1979). Indeed, all

  state-based claims, premised on motor vehicle defect or otherwise (i.e. Hess v. Pawloski, 274 U.S.

  352 (1927)("equating the use of a state's highways to consent to the state's jurisdiction should a

  traffic accident result")), are preempted for the factual federal jury trial verdict judgment(s) of patent

  infringement as affirmed on appeal, cross-appeal and remand.

   26.      The adjudged alien rank infringer(s) committed the fraud of certifying the "infringing Prius

  II" to be a domestic passenger car/motor vehicle in bad faith and in equally, if not worse bad faith,

  deliberately never gave written prior notice of its motion for removal of the instant action to the

  inapposite defective motor vehicle multidistrict litigation venue to the Plaintiff, apparently never

  informed the Plaintiff, INSD, JPML, or the JPML's assigned 28 U.S.C. § 1047(b) delimited

  transferee judge of the true TMC, TMNA, and TMS' adjudged alien rank infringer status or the status

  of the adjudged foreign imported adjudged rank infringing Prius II (See 35 U.S.C. § 271(a). See

  Novamedix, Ltd. v. NDM Acquisition Corp., 166 F.3d 1177, 49 U.S.P.Q.2d 1613 (Fed. Cir. 1999)(A

  settlement agreement between the parties to a patent infringement suit where there is a transfer of

  inventory from one party to the other is not a contract for the sale of the goods and therefore the

  implied warranties of merchantability and fitness of the UCC do not apply to the transferred

  inventory.")), among other things, and never filed actual written notice of any kind or TMS' actual

  moving party motion, pursuant to 28 U.S.C. § 1407(c)(ii), on the docket for the pending action 1:15-

  cv-01931-JMS-TAB at the U.S. District Court for the Southern District of Indiana Indianapolis, that

  unbeknownst to the Plaintiff had previously presided over a criminal plea agreement and judgment

  for violations of the Sherman Act against the identical above named defendant AISIN.

   27.      Although the U.S. Court of Appeals for the Seventh Circuit is closest to the United States
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 17 of 168 Page ID
                                 #:163516



  District Court for the Southern District of Indiana, pursuant to 1891 patent law, and the true venue to

  which the adjudged alien rank infringers had an obligation to request the transfer of this case to the

  nearest circuit, the law of the U.S. Court of Appeals for the Federal Circuit governs substantive

  patent law, including matters arising from violation of the prohibition at U.S. CONST. Art. 1 § 8, cl. 8,

  which factually occurred, according to Paice I, Paice II, and Paice III judgment(s) of federal patent

  infringement against the Defendants TMC, TMS, and TMNA. The Federal Circuit ("Federal Circuit")

  has abandoned the "practice of applying regional circuit law in resolving questions involving the

  relationship between patent law and other federal and state law rights." See Midwest Industries, Inc.

  v. Karavan Trailers, Inc., 174 F.3d 1356 (Fed. Cir. 1999).

   28.      Without any apparent disclosure of the foregoing to the JPML, and without the Plaintiff

  having knowledge to relate such to the JPML at the time, the JPML granted the adjudged alien rank

  infringer TMS' request to transfer all pretrial jurisdiction in the case, on June 2, 2016, pursuant to 28

  U.S.C. § 1407 and rules promulgated thereunder, to the JPML's April 9, 2010, created domestic

  multidistrict litigation for defective Toyota vehicles. It appears that the JPML did so because the 28

  U.S.C. § 1407(b) depositions delimited transferee judge, Hon. James V. Selna, appointed by the

  JPML to preside over MDL No. 2151, had issued class certification and a final settlement agreement

  (s) for defective domestic motor vehicles to include the foreign imported subject adjudged rank

  "infringing" 2009 "Prius [II]" with HYBRID SYNERGY DRIVE, without any Congressional authority at

  the 1968 Multidistrict Litigation Act (P.L. 90-296 (1968)) and/or rules promulgated thereunder,

  without any merit, by ostensibly usurping the prior federal jury verdict trial judgment of infringement

  that was on the merits, for the adjudged alien rank infringer's fraud, beyond creating civil rights

  violations galore in coercing surviving victims to release privileged true motor vehicle operator and

  HIPAA protected information to adjudged alien rank infringer defendants, and engendering a

  massive conflict of laws in inconsistent federal judgments in the U.S. Judiciary.

   29.      The defective Toyota vehicle multidistrict litigation venue MDL No. 2151 is improper,

  preempted, not of competent subject matter jurisdiction, and lacks personal jurisdiction over the
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 18 of 168 Page ID
                                 #:163517



  parties to preside over the above entitled action that, pursuant to 35 U.S.C. § 271(a) and

  Novamedix, arises from a truly foreign imported subject adjudged rank "infringing [2009] Prius [II]"

  with HYBRID SYNERGY DRIVE in which the adjudged alien rank infringers never held any title to

  transfer to anyone, on Uniform Commercial Code sale, for such "infringing [2009] Prius [II]" never

  having actually been any Toyota property or vehicle, defective or otherwise, as that which TMC,

  TMS, and TMNA were truly "without authority to "make, use, offer to sell, and/or sell."

   30.      The Honorable James V. Selna, transferee judge located at the JPML's designated host

  U.S. District Court for the Central District of California venue for the MDL No. 2151 venue is neither

  fair nor impartial in the instant case, for having arbitrarily ordered the "infringing Prius II" as

  anything, when Congressional authority at 28 U.S.C. § 1407(b) delimited his capacity in all

  transferred actions to personally conducting depositions, for the express purpose of remanding the

  actions to the trial courts from whence they came, pursuant to 28 U.S.C. § 1407(a). Lexecon, also

  different judges

   31.      The Honorable James V. Selna had no authority after the JPML's April 9, 2010

  establishment of MDL No. 2151 and no authority after the JPML's June 2, 2016, issued Transfer

  Order for the above entitled action, to bootstrap himself into violating the civil rights of unknown

  numbers of victims of foreign imported adjudged rank infringing Prius and/or HYBRID SYNERGY

  DRIVE, for certifying such as true domestic motor vehicles in class certification and final settlement

  agreement orders, in violation of his delimited 28 U.S.C. § 1407(b) and rendered true trial court U.S.

  CONST. Art. I and Art. III federal Judiciary judgment authority, for the 2006 federal jury verdict

  judgment of patent infringement.

   32.      The injury that the Honorable Selna did to the Plaintiff, Ms. Richard, by feigning to issue

  orders that coerced her under color of the U.S. Judiciary authority vested in the JPML and United

  States District Court for the Central District of California Southern (Santa Ana) venues, to supply her

  privileged motor vehicle operator information and HIPAA and Privacy Act protected vital statistics to

  adjudged alien rank infringers, of and by their counsel(s), in violation of U.S. National Security and
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 19 of 168 Page ID
                                 #:163518



  the the U.S.A. P.A.T.R.I.O.T. Act under threat of case dismissal, has proximately caused Ms.

  Richard injury in her property in her Fifth, Seventh, and 14th Amendment rights to due process and

  U.S. Freedom of Information Act protections, among other things.

   33.       Such acts by the Honorable Selna in the improper multidistrict litigation venue against

  many more victims not only violates judicial repose established by the federal jury tried judgment of

  patent infringement against the adjudged alien rank infringers, but violates the U.S. supremacy

  clause at U.S. Const. Art. VI, cl. 2, depreciates the true values of the cases of U.S. victims of the

  abject U.S. intellectual property infringement, devalues U.S. human lives and U.S. civil rights, for

  usurping the U.S. Judiciary's federal jury verdict trial judgment finding that the adjudged alien rank

  infringers status renders them to be without authority to "make, use, offer to sell, and/or sell" (see 35

  U.S.C. § 271(a)) the subject foreign imported adjudged rank infringing "Prius II," that is a some

  3000lbs. weighing imitation of the braking and acceleration and flow of electrical energy to deploy

  airbags disclosed in U.S. Patent 5,343,970, among other things, and imitation of the steering

  disclosed in HYPERDRIVE™. This furthers the adjudged rank infringers' importation of those

  adjudged infringing articles that are herein alleged to be also counterfeit marked and extrinsically

  fraudulently identified as U.S. National Highway Traffic Safety Administration ("NHTSA") and U.S.

  Federal Motor vehicle Safety Standard ("FMVSS") comporting passenger cars/motor vehicles to

  breach U.S. borders, for the adjudged alien rank infringers to distribute interstate for commercial

  advantage and/or private financial gain, under color of feigned remedial domestic motor vehicle

  defect recalls, that proximately causes risk of serious bodily injury and/or death of U.S. citizens,

  after the JPML's April 9, 2010 creation of MDL No. 2151 and beyond. The conflict suggests

  disempowerment of the U.S. Judiciary's federal jury trial verdict judgments, appeals and cross

  appeals by the U.S. Court of Appeals for the Federal Circuit, the authority vested in the U.S. Judicial

  Panel on Multidistrict Litigation, and the authority vested in the Chief Justice of the Supreme Court

  of the United States, as authorized to appoint the panel members that assign the transferee judge,

  pursuant to the 1968 Multidistrict Litigation Act . . .
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 20 of 168 Page ID
                                 #:163519



   34.      The only entity that the Congress authorized to issue orders of any kind in the 1968

  Multidistrict Litigation Act and rules promulgated thereunder was the panel, not the panel's assigned

  transferee judge. This conflict involves every appearance of a federal adjudication by a 28 U.S.C. §

  1407(b) depositions delimited transferee judge, without Congressional authority to adjudicate

  anything, as tendered in a federal multidistrict litigation venue, with no U.S. Art. I and Art. III or 28

  U.S.C. § 1407 authority to tender any federal judgment of any kind on the merits, yet who has done

  so ultra vires anyway and inexplicably denied Plaintiff, Ms. Richard's, clear requests to amend

  complaint and to register, for enforcement of the prior federal jury verdict tried patent infringement,

  true certified hard copies of the judgments, as also submitted on CD-ROM in accordance with

  procedures at the United States Central District of California.

   35.      Indeed Caterpillar Tractor Co. v. International Harvester Co., 120 F.2d 82, 86 (3d Cir.

  1941) established that "[T]he matter here is one between two courts of the same sovereignty, the

  United States of America. If one federal court failed to give effect to the judgment of another federal

  court the Supreme Court of the United States, as the head of the judicial system of the United

  States would compel it do so because "they are many members yet but one body." This situation

  involves one federal trial court jury verdict judgment on the merits, versus an improper multidistrict

  litigation venue lacking subject matter jurisdiction, lacking personal jurisdiction, and lacking

  Congressional and statutory authority to adjudicate anything issuing class certification and final

  settlement order(s) that are not on the merits for the alien Defendants' extrinsic fraud.

   36.      Patent law in 1891 was governed by the 1870 Patent Act, which provided at Section 56:

      SEC. 56. And be it further enacted, That a writ of error or appeal to the Supreme Court
      of the United States shall lie from all judgments and decrees of any circuit court, or of
      any district court exercising the jurisdiction of a circuit court, or of the supreme court of
      the District of Columbia or of any Territory, in any action, suit, controversy, or case, at law
      or in equity, touching patent rights in the same manner and under the same
      circumstances as in other judgments and decrees of such circuit courts, without regard
      to the sum or value in controversy."

   37.      For such a massive conflict of laws in inconsistent federal judgments between the United

  States District Court for the Eastern District of Texas and the United States Judicial Panel on
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 21 of 168 Page ID
                                 #:163520



  Multidistrict Litigation, regarding the truly foreign imported adjudged rank U.S. Patent 5,343,970

  "infringing Prius II" at issue, the proper venue for the above entitled action at this time is a quorum

  of the full Supreme Court of the United States.

                                              JURISDICTION


   38.      The federal courts have jurisdiction for intentional federally protected intellectual property

  violations of the prohibition at U.S. CONST. Art. I, § 8, cl. 8, in accordance with U.S. CONST. Art. I

  and Art. III, § 2, and rules promulgated thereunder including but not limited to 28 U.S.C. § 1338(a),

  28 U.S.C. § 1331, Fed. R. Civ. P. Rule 4(k)(2) for alienage diversity jurisdiction. This court has

  jurisdiction under 28 U.S.C. § 1331 for federal questions under 18 U.S. Code §§ 1961-68

  (Racketeer Influenced and Corrupt Organizations ("RICO") Act) claims. This Court has jurisdiction

  over state claims by the doctrine of personal pendant jurisdiction and 28 U.S.C. § 1367. Plaintiff,

  Ms. Richard's, citizenship differs from the adjudged alien rank infringer Defendants TMC, TMS, and

  TMNA, and their subsidiaries and/or affiliates in privity, of and/or by their counsel(s), to also

  authorize original jurisdictIon under 28 U.S.C. § 1332.

                                    TIMELINESS CONSIDERATIONS


   39.        The "limited times" referenced in U.S. Const. Art. I, § 8, cl. 8 was never specified by The

  Congress, that is The Continental Congress framers of The Constitution of the United States of

  America. The interval of federal protection of the granted U.S. Letters Patent 5,343,970 is

  approximate twenty years:

  Year 1: 09/21/1992 - 09/21/1993          Year 11: 09/21/2002 - 09/21/2003
  Year 2: 09/21/1993 - 09/21/1994          Year 12: 09/21/2003 - 09/21/2004
  Year 3: 09/21/1994 - 09/21/1995          Year 13: 09/21/2004 - 09/21/2005
  Year 4: 09/21/1995 - 09/21/1996          Year 14: 09/21/2005 - 09/21/2006
  Year 5: 09/21/1996 - 09/21/1997          Year 15: 09/21/2006 - 09/21/2007
  Year 6: 09/21/1997 - 09/21/1998          Year 16: 09/21/2007 - 09/21/2008
  Year 7: 09/21/1998 - 09/21/1999          Year 17: 09/21/2008 - 09/21/2009
  Year 8: 09/21/1999 - 09/21/2000          Year 18: 09/21/2009 - 09/21/2010
  Year 9: 09/21/2000 - 09/21/2001          Year 19: 09/21/2010 - 09/21/2011
  Year 10: 09/21/2001 - 09/21/2002         Year 20: 09/21/2011 - 09/21/2012
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 22 of 168 Page ID
                                 #:163521



   40.      The adjudged alien infringer Defendants TMC, TMS, and TMNA were notified by the 2006

  Paice I judgment that they were utterly without authority to "make, use, offer to sell, and/or sell" the

  subject adjudged rank "infringing Prius II," or 2009 Prius with HYBRID SYNERGY DRIVE, pursuant

  to U.S. law on U.S. soil under the jurisdiction of the U.S. Const. Art. I and Art III authorized U.S.

  Judiciary. The Paice I, Paice II, and Paice III judgment(s) are applicable to those in privity with the

  adjudged alien infringer Defendants TMC, TMS, and TMNA, including but not limited to the above

  named Defendants TEMA, DENSO, AISIN, AISIN-AW, TICO, TTCO, TOYOFUJI, and MITSUI, of

  and by their counsel(s).

   42.      The collective foregoing Defendants apparently had an affirmative duty of care to the

  Plaintiff, Ms. Richard, and the class of people known as U.S. licensed motor vehicle operators and/

  or U.S. consumers and/or frequenters of The U.S. Dwight D. Eisenhower National System of

  Interstate and Defense Highways, among others, upon actual notice of another's federally protected

  U.S. Patent 5,343,970 rights. "That affirmative duty normally includes obtaining legal opinion from

  competent counsel before continuing to infringe. Notably, willful infringement has been clearly

  found despite the presence of a legal opinion where the opinion was either ignored or found

  incompetent. See Read Corp. v. Portec, Inc., 970 F.2d 816, 23 U.S.P.Q.2d 1426 (Fed. Cir. 1992)."

  With the aforesaid August 16, 2006, dated federal jury trial verdict judgment rendered against them,

  the Defendants had actual notice that the foreign imported adjudged "infringing Prius II" infringed

  the federally protected U.S. Patent 5,343,970. Yet, the Defendants willfully, recklessly, voluntarily,

  and intentionally disregarded the affirmative duty of care and continued to "make, use, offer to sell,

  and/or sell" the adjudged infringing foreign imported devices, including the subject foreign imported

  adjudged rank infringing 2009 Prius with HYBRID SYNERGY DRIVE.

   43.      The U.S. International Trade Commission ("ITC") conducted an Investigation 337-688 of

  the foreign imported subject adjudged rank infringing 2009 Prius with HYBRID SYNERGY DRIVE at

  issue, among other things, in rem. Attached hereto as Exhibit 8 is a June 22, 2010 dated Notice of

  Determination and Commission Opinion, in which the federal Commissioners noted the identical
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 23 of 168 Page ID
                                 #:163522



  adjudged alien rank infringers' infringement in a footnote and then failed the ITC mandate at 19

  U.S.C. § 1337 to issue exclusion orders against the some 3000lbs. weighing, foreign imported

  subject adjudged rank infringing 2009 Prius with HYBRID SYNERGY DRIVE. Because the ITC

  allowed the parties to the investigation to subsequently and therefore unconstitutionally reach a

  sealed settlement agreement, the public version of which is hereto attached as Exhibit 9, there may

  be unknown, concealed terms extending the federal protection effects of the U.S. Patent 5,343,970,

  for an unknown duration.

   44.        The timing of the ITC settlement agreement may constitute an illegal bargain for public

  policy reasons, for the factual federal patent infringement judgments against TMC, TMS, and TMA in

  the context of Caterpillar prior to the ITC footnoted ascertainment of the patent infringement having

  already occurred prior thereto. See Degnan, Federalized Res Judicata (1976) quoting Embry v.

  Palmer, 107 U.S. 3 (1882): "The power to prescribe what effect shall be given to the judicial

  proceedings of the courts of the United States is conferred by other provisions of the Constitution,

  such as those which declare the extent of the judicial power of the United States, which authorize all

  legislation necessary and proper for executing the powers vested by the Constitution in the

  government of the United States, or in any department or officer thereof, and which declare the

  supremacy of the authority of the national government within the limits of the Constitution." See

  also Restatement, Second, of Contracts § 178.

   45.        Holders of valid federally protected U.S. Letters Patents are also within their rights to

  seek an extension of the patent term of federal protection from the Congress. See "An Act to enable

  Ann M. Rodefer, Administratrix of Joseph Rodefer, deceased, to make Application for the Extension

  of Letters-Patent for an Improvement in Bedstead Fastenings." (January 30, 1971). This may or

  may not be applicable to the federally protected U.S. Patent 5,343,970.

   46.        Furthermore, as promulgated under U.S. CONST. Art. 1, § 8, cl. 8, the third congress

  (1793) passed, "An Act to promote the progress of useful Arts; and to repeal the act heretofore

  made for that purpose…," on February 21, 1793 at Chapter 9, Section 4 of which states, "That it
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 24 of 168 Page ID
                                 #:163523



  shall be lawful for any inventor, his executor or administrator to assign the title and interest in the

  said invention…." By this premise, the adjudged alien rank infringers again never held any title in

  the foreign imported adjudged rank infringing 2009 Prius to convey to anyone on Uniform

  Commerical Code defined "sale."

   47.          The forty-first congress (1870) saw fit to pass "An Act to revise, consolidate, and amend

  the Statutes relating to Patents and Copyrights," which provided at Section 55, "That all actions,

  suits, controversies, and cases arising under the patent laws of the United States shall be originally

  cognizable, as well in equity as at law, by the circuit courts of the United States . . . but all actions

  shall be brought during the term for which the letter-patent shall be granted or extended, or within

  six years after the expiration thereof." Six years after 09/21/2012 is 09/21/2018:

  Year 1: 09/21/2012 - 09/21/2013           Year 4: 09/21/2015 - 09/21/2016
  Year 2: 09/21/2013 - 09/21/2014           Year 5: 09/21/2016 - 09/21/2017
  Year 3: 09/21/2014 - 09/21/2015           Year 6: 09/21/2017 - 09/21/2018

   48.      The Defendants have engaged in an abundance of fraudulent concealment. The first

  paragraph of the NHTSA "Recommended best Practices for Importers of Motor Vehicles and Motor

  Vehicle Equipment" says that "Fabricating manufacturers (i.e., the actual assemblers) and importers

  of motor vehicles and motor vehicle equipment have duties as manufacturers under the vehicle

  Safety Act." However, for the judgment against them in Paice I, TMC, TMS, and TMNA knew or

  ought to have known that the adjudged "infringing Prius II" was neither motor vehicle, motor vehicle

  equipment, nor anything lawful under the United States Code of Laws, pursuant to 35 U.S.C. § 271

  (a) and Novamedix, and that they were without authority to "make, use, offer to sell, and/or sell" any

  such thing.

   49.      However, the adjudged alien rank infringers TMC, TMS, and TMNA, those in privity with

  them, of and/or by their counsel(s) intentionally continued to infringe in fraudulent concealment by

  extrinsically fraudulently "self-certifying" the foreign imported adjudged rank "infringing Prius II" as a

  NHTSA and FMVSS compliant passenger car/motor vehicle, when it was no such thing, for the

  patent infringement. The fraudulent concealment caused Plaintiff, Ms. Richard, to initially complain
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 25 of 168 Page ID
                                 #:163524



  of motor vehicle defect for loss of steering, braking (and skid-control regulated by the braking

  system), that occurred with no airbag deployment in the subject 2009 Prius, to INSD. In reality,

  everything that failed in the 2009 Prius II was merely imitating the non-motor vehicle delineated

  braking, acceleration, and flow of electrical energy disclosed in the U.S. Patent 5,343,970 claims 11

  and 39, that TMC, TMS, and TMNA were without authority to "make, use, offer to sell, and/or sell."

   50.      In Gabelli v. SEC, slip op. at 3, 568 U.S. 442 (2013), the Supreme Court of the United

  States provides:

      "a right accrues when it comes into existence.” United States v. Lindsay, 346 U. S. 568,
      569 . . . the "standard rule" is that a claim accrues “when the plaintiff has ʻ “a complete
      and present cause of action.” ʼ ” Wallace v. Kato, 549 U. S. 384, 3 This understanding
      advances "the basic policies of all limitations provisions: repose, elimination of stale
      claims, and certainty about a plaintiff's opportunity for recovery and a defendant's
      potential liabilities." Rotella v. Wood, 528 U. S. 549, 555. Pp. 4-5.

      [However, there is a discovery rule doctrine that is] an "exception" to the standard rule,
      and delays accrual "until a plaintiff has 'discovered'" his cause of action. Merck & Co. v.
      Reynolds, 559 U. S. 633 (2010). It arose from the recognition that “something different
      was needed in the case of fraud, where a defendantʼs deceptive conduct may prevent a
      plaintiff from even knowing that he or she has been defrauded.” Ibid. Thus “where a
      plaintiff has been injured by fraud and ʻremains in ignorance of it without any fault or
      want of diligence or care on his part, the bar of the statute does not begin to run until the
      fraud is discovered.ʼ ” Holmberg v. Armbrecht, 327 U. S. 392, 397.


  To the extent that Plaintiff, Ms. Richard, alleges being defrauded and invokes sections of the 1870

  Patent Act on behalf of herself and the United States government to recover losses, Exploration Co.

  v. United States, 247 U. S. 435 also applies.

   51.        Plaintiff, Ms. Richard, humbly submits that she is not a lawyer, that a telephone voice

  purporting to be the Honorable Selna disclaimed being in any position to appoint her counsel, and

  that she therefore does not know the extent to which she has been defrauded and does not know

  exactly what kind of lawyer to seek.

   52.        History does record that after the remaining nearly eight and a half years long

  Revolutionary War, on August 18, 1787, at a certain Continental Congress Convention, [https://

  www.loc.gov/resource/mss31021a.01x01/?sp=411&r=0.105,0.119,0.87,0.595,0]. It is said that Mr.
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 26 of 168 Page ID
                                 #:163525



  James Madison proposed adding powers to those of an ideal General Legislature to include, among

  other things:

      “to grant charters of incorporation in cases where the public good may require them, and
      the authority of a single State may be incompetent”
      “to establish to literary authors their copyrights for a limited time”
      “to establish an university”
      “to encourage by premiums & provisions, the advancement of useful knowledge and
      discoveries”

  Madisonʼs journal furthers that,

      “These propositions were referred to a Committee of detail which had prepared the

      Report and at the same time the following which are moved by Mr. Pickney: in both

      cases unanimously.

          “To establish seminaries for the promotion of literature and the arts & sciences”
          “To grant charters of incorporation”
          “To grant patents for useful inventions”
          “To secure to Authors exclusive rights for a certain time”
          “To establish public institutions, rewards and immunities for the promotion of
          agriculture, commerce, trades and manufactures”…”

   53.      The foregoing was condensed into the sole prohibition that lies at U.S. CONST. Art. I, § 8,

  Cl. 8, as ratified by The Congress in 1788. By Plaintiff's inductive reasoning, the sole word

  "Progress" denotes the United States capacity to (1) form new U.S. nationwide businesses, (2)

  establish U.S. universities, (3) establish U.S. seminaries, (4) fund existing U.S. universities and

  seminaries, and therefore fund the primary and secondary schools that universities and seminaries

  nourish, for "encouraging premiums and provisions for the advancement of useful knowledge and

  discoveries, (5) promote U.S. agriculture, commerce, trades, and manufactures, and (6) establish

  U.S. public institutions, rewards and immunities for the promotion of agriculture, commerce, trades,

  and manufactures. Exemplification of what is useful is explicit in the 78th Congress' December 20,

  1944, passed "An Act To assist in the internal development of the Virgin Islands by the undertaking

  of useful projects therein, and for other purposes" [H. R. 5029] P.L. 510, that delineates allocated

  funding for (1) Hospital facilities, (2) Sanitation and fire-protection facilities, including sewer and

  water system, (3) Intercepting sewer system including sewage treatment and disposal, (4) water
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 27 of 168 Page ID
                                 #:163526



  supply facilities, (5) schools and educational facilities, (6) water-front highway, sea wall, and harbor

  facilities, (7) highways and roads, (8) street improvements, including storm-water drainage, (9)

  engineering surveys, (10) improvements to and construction of public buildings, (11) prison facilities,

  (12) recreational facilities, (13) telephone and radio communication facilities, (14) malarial control,

  (15) hospital, electric power plant, and improvements to administration building, (16) abattoir and

  cooling plant facilities, (17) public market facilities . . . and the salaries and pensions of the workers

  of the foregoing. To be clear, in making this filing, I am doing the best that I can to take issue with

  the adjudged alien rank infringers' intentional acts to violate the collective enumerated foregoing

  everything that exists within the continental United States borders as my surrounding environment,

  while proximately causing serious injury to my bodily person, my property, and my other damages

  for consideration at a proper venue, with my rights under 28 U.S.C. § 1915 fully intact, to request

  assistance and/or representation for all that I just said.

   54.      The holder of the granted U.S. Letters Patent 5,343,970 also registered a

  HYPERDRIVE™ word mark trademark. A true copy of the U.S. Patent and Trademark Office's

  ("USPTO") Trademark Official Gazette entries of October 1, 2002, for HYPERDRIVE™, as

  accessed from the USPTO website are hereto attached as Exhibit 10. The adjudged alien rank

  infringers' use of HYBRID SYNERGY DRIVE on the subject foreign imported, adjudged, rank U.S.

  Patent 5,343,970 "infringing Prius II" appears to infringe the HYPERDRIVE™ word mark.

  HYPERDRIVE™ was presented with materials disclosing the U.S. Patent 5,343,970 to both houses

  of Congress comprising the U.S. Legislature; HYPERDRIVE™ was presented with U.S. Patent

  5,343,970 at a December 6, 2001, Corporate Average Fuel Economy ("CAFE") committee hearing

  at the U.S. Senate and likewise presented at a June 26, 2002, FreedomCAR committee hearing at

  the U.S. House of Representatives.

   55.      Planet Earth is a closed system in which neither matter nor energy is created or

  destroyed, only transformed. Experts at the December 6, 2001, Senate hearing established that

  genuine U.S. Patent 5,343,970 product weighs more, tacitly posing the prospect of making more
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 28 of 168 Page ID
                                 #:163527



  passes on less fuel that would tears the roads up faster and release more heat for the kinetic

  energy of movement and friction. The subject imitation, foreign imported, adjudged rank infringing

  2009 Prius weighs 450lbs more than Plaintiff's 1986 Honda DX, that at least has a metal exterior to

  absorb impact for passenger protection, instead of the adjudged imitation's ramie. Conserved work

  and energy involved in operating the adjudged rank infringing, some 450lbs. heavier 2009 Prius

  actually releases more heat into the atmosphere to worsen global warming than operation of the

  true metal encased 1986 hatchback motor vehicle.

   56.        Therefore, at the heart of the above entitled action is the infringement of the federally

  protected U.S. Letters Patent 5,343,970, that may or may not have expired, under extended terms

  of a concealed settlement agreement brokered at the ITC in violation of titles 19 and 35, among

  others, of The United States Code of Laws, about which Plaintiff, Ms. Richard, is within her rights to

  complain for her serious bodily injuries, competitive injuries, damages, and other damages for an

  interval of six years after the expiration of the patent in accordance with most recently effected 1891

  patent venue law, as tolled for fraudulent concealment by the adjudged alien rank infringers that

  were without authority to "make, use, offer to sell, and/or sell the adjudged rank "infringing Prius II."

                                              INTRODUCTION
                                      Underlying Constitutional Violation

   57.       In the early half of the eighteenth century Indiana ratified the Continental Congress' U.S.

  Constitution, which provides at Art. I, § 8, cl. 8:

      "We the People of the United States, in Order to form a more perfect Union,
      establish Justice, insure domestic Tranquility, provide for the common defence,
      promote the general Welfare, and secure the Blessings of Liberty to ourselves and
      our Posterity, do ordain and establish this Constitution for the United States of
      America.

      ARTICLE I.
      ...

      Section 8. The Congress shall have Power . . . To promote the Progress of Science and
      useful Arts, by securing for limited Times to Authors and Inventors the exclusive Right to
      their respective Writings and Discoveries . . ."

   58.       The U.S. Congress has since periodically promulgated rules thereunder as Acts for the
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 29 of 168 Page ID
                                 #:163528



  Useful Arts dating from as early as 1790, through codification of Titles 19 and 35 of The United

  States Code of Laws, among other things.

   59.      By 2006 federal jury trial verdict judgment, the adjudged alien rank infringers TMC, TMS,

  and TMNA were fully apprised of having violated Title 35 of the United States Code by infringing

  U.S. Letters Patent 5,343,970 for manufacturing some 3000lbs. weighing Prius with HYBRID

  SYNERGY DRIVE articles in Aichi Prefecture Japan that were federal jury trial verdict judgment

  adjudged as the "infringing Prius II." Instead of ceasing and desisting the patent infringement, upon

  full awareness of the federal jury factually determined violation of a U.S. federal intellectual property

  prohibition, TMC, TMS, and TMNA undertook in strict liability to continue violating that prohibition

  throughout appeal and cross appeal that upheld the federal jury verdict judgment of infringement

  and throughout remand that upheld the same. Adjudged alien rank infringers TMC, TMS, and

  TMNA, of and by their counsel and those entities in privity with them, were in full possession of

  originals of the Exhibits 2, 3, 4, and 5 that are hereto attached.

   60.      Adjudged alien rank infringers TMC, TMS, and TMNA, of and by their counsel, thereby

  subsequently manufactured identical "Prius with HYBRID SYNERGY DRIVE" named, foreign

  imported, rank U.S. Letters Patent 5,343,970 infringing, and some 3000lbs. weighing articles that

  were likewise counterfeit marked and extrinsically fraudulently "self-certified" as U.S. National

  Highway Traffic Safety Administration ("NHTSA") and U.S. Federal Motor Vehicle Safety Standards

  ("FMVSS") comporting passenger car(s)/motor vehicle(s), to breach U.S. borders and distribute

  them interstate for TMC, TMS, and TMNA's commercial advantage and/or private financial gain in

  willful, knowing, and intentionally reckless disregard of all U.S. laws, U.S. infrastructure known as

  The Dwight D. Eisenhower National System of Interstate and Defense Highways, and U.S. human

  life, including Plaintiff's, for the subject foreign imported adjudged rank infringing 2009 Prius with

  HYBRID SYNERGY DRIVE at issue.

   61.      Prior thereto the adjudged alien rank infringers TMC, TMS, and TMNA, of and by their

  counsel and those in privity with them, knew that (1) they were proximately causing U.S. motor
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 30 of 168 Page ID
                                 #:163529



  vehicle operators a concealed and extreme risk of serious bodily injury and/or death in foreign

  imported, some 3000lbs. weighing Prius with HYBRID SYNERGY DRIVE articles embodying mere

  imitation of U.S. Letters Patent 5,343,970 claims 11 and 39 disclosed U.S. non-motor vehicle

  braking and acceleration, among other things, and mere imitation of HYPERDRIVE™ disclosed

  steering, that (2) TMC, TMS, and TMNA were appraised that the U.S. NHTSA was investigating

  under color of motor vehicle defect for reports of failures of such undisclosed imitation that was

  proximately causing property losses, injuries, and/or deaths, knowing that (3) it was injurious to

  NHTSA to do so with no lawful jurisdiction over such foreign imported adjudged rank infringing

  imitation, at the same time that TMC, TMS, and TMNA were aware that (4) TMC, TMS, and TMNA

  had no title and never had any title in any such Prius with HYBRID SYNERGY DRIVE articles to

  transfer to anyone in accordance with Uniform Commercial Code sale, because (5) TMC, TMS, and

  TMNA were federal jury verdict trial judgment adjudged alien rank infringers that were without

  authority to "make, use, offer to sell and/or sell" any such foreign imported adjudged rank infringing

  Prius with HYBRID SYNERGY DRIVE articles, which were wholly incapable of ever being any U.S.

  product, motor vehicle, hybrid electric vehicle, or Toyota vehicle, defective or otherwise.

   62.      The foregoing facts were material to the Plaintiff, Ms. Richard, because Ms. Richard

  would not have driven the subject foreign imported adjudged rank infringing 2009 Prius with

  HYBRID SYNERGY DRIVE at issue or any other if she had been apprised of its true U.S. patent

  infringing status.

   63.      The 2009 Paice III remand ruling against the adjudged alien rank infringers TMC, TMS,

  and TMNA explicitly noted In re Seagate Tech., LLC, 497 F.3d 1360 (Fed. Cir. 2007), which case at

  1368-1371 establishes that "Because patent infringement is a strict liability offense, the nature of the

  offense is only relevant in determining whether enhanced damages are warranted . . . we have held

  that an award of enhanced damages requires a showing of willful infringement . . . [P]roof of willful

  infringement permitting enhanced damages requires at least a showing of objective recklessness."

   64.      The defendants to the above entitled action were in privity with TMC, TMS, and TMNA
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 31 of 168 Page ID
                                 #:163530



  and of and/or by counsel, did willfully, recklessly, voluntarily, and intentionally infringe U.S. Patent

  5,343,970 claims 11 and 39 in October of 2008 by manufacturing the subject foreign imported 2009

  Prius with HYBRID SYNERGY DRIVE in Aichi Prefecture Japan, counterfeit marking its rear door,

  power control unit housing, and documentation with HYPERDRIVE™ infringing HYBRID SYNERGY

  DRIVE counterfeit and/or spurious marks, and extrinsically fraudulently "self-certifying" the whole as

  a U.S. NHTSA and U.S. FMVSS passenger car to breach U.S. borders and distribute interstate for

  commercial advantage and/or private financial gain, which proximately caused Plaintiff Ms. Richard

  risk of death and actual irreparable serious bodily injury, irreparable competitive medical career

  injury, property damages, and other damages on December 8, 2013, for the subject foreign

  imported 2009 Prius with HYBRID SYNERGY DRIVE's 3000lbs. of imitation braking, imitation

  acceleration, and imitation steering, and imitation airbag deployment collectively failing on U.S.

  Interstate-65 near mile marker 115.2, when TMC, TMS, and TMNA knew that they were without

  authority to "make, use, offer to sell, and/or sell" any such thing, for which the defendants to the

  above entitled action are jointly and severally liable to Ms. Richard for the following causes of

  action:

                               U.S. CONST. ART. I, § 8, cl. 8 VIOLATIONS

                                                 CLAIM 1
             (PATENT INFRINGEMENT - Intentional Violation of U.S. Const. Art. I, § 8, cl. 8,
                as Willful Infringement of U.S. Letters Patent 5,343,970 claims 11 and 39
                                         as an Exceptional Case)

   65.      Plaintiff re-alleges and incorporates by reference the allegations contained in Paragraphs

  1 through 64 of this Complaint.

   66.      This is an action for the intentional violation of U.S. Const. Art. I, § 8, cl. 8 by willful

  infringement of U.S. Letters Patent 5,343,970 claims 11 and 39, as an exceptional case.

   67.      TMC, TMS, TEMA, TMNA, AISIN, AISIN-AW, DENSO, TICO, TOYOFUJI, TTCO, MITSUI,

  in privity with the adjudged alien rank infringer TMC and TMS and TMNA, of and by their counsel(s),

  that the aforesaid 2006 federal jury trial verdict judgment establishes to be without authority to
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 32 of 168 Page ID
                                 #:163531



  "make, use, offer to sell, and/or sell" the foreign imported adjudged rank infringing "Prius II" during

  the federal protection of U.S. Patent 5,343,970, did willfully, recklessly, voluntarily, and intentionally

  infringe U.S. Patent 5,343,970 claims 11 and 39, by manufacturing by "making, using, offering to

  sell, and/or selling" in the United States the subject foreign imported undisclosed adjudged rank

  infringing 2009 Prius with HYBRID SYNERGY DRIVE, also known as "Prius II," that proximately

  caused Plaintiff Ms. Richard to suffer risk of death and actual irreparable serious bodily injury,

  irreparable competitive medical career injuries, property damages, and other damages for which the

  defendants are jointly and severally liable to Plaintiff Ms. Richard, as the person aggrieved in the

  above entitled action.

   68.        The adjudged alien rank infringers will continue such infringement, unless they are

  collectively enjoined by the Court from doing so and a review of U.S. ITC Investigation 337-688 is

  carried out by the U.S. Court of Appeals for the Federal Circuit, pursuant to 19 U.S.C. § 1337(c) that

  directs the ITC to execute its mandate to issue exclusion orders against all applicable foreign

  imported adjudged rank infringing Prius with HYBRID SYNERGY DRIVE articles in rem and to issue

  cease and desist orders in personam, as also enforceable by the aggrieved Plaintiff in a federal

  district court, against the collective defendants.

                                                   CLAIM 2
         (INDUCED PATENT INFRINGEMENT - Intentional Violation of U.S. Const. Art. I, § 8, cl. 8,
            by willfully inducing Infringement of U.S. Letters Patent 5,343,970 claims 11 and 39)


   69.        Plaintiff re-alleges and incorporates by reference the allegations contained in Paragraphs

  1 through 68 of this Complaint.

   70.        TMC, TMS, TEMA, TMNA, AISIN, AISIN-AW, DENSO, TICO, TOYOFUJI, TTCO, MITSUI,

  in privity with the adjudged alien rank infringer TMC and TMS and TMNA, in privity with the

  adjudged alien criminals AISIN and DENSO, of and/or by their counsel(s), that the aforesaid 2006

  federal jury trial verdict judgment establishes to be without authority to "make, use, offer to sell, and/

  or sell" the "Prius II" during the federal protection of U.S. Patent 5,343,970, did willfully, recklessly,
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 33 of 168 Page ID
                                 #:163532



  voluntarily, and intentionally offer for sale to U.S. motor vehicle industry U.S. licensed motor vehicle

  operator users the identical undisclosed subject foreign imported adjudged rank infringing 2009

  Prius with HYBRID SYNERGY DRIVE, also known as "Prius II," and thus actively induce

  infringement of U.S. Patent 5,343,970 claims 11 and 39, which by privity includes inducing Plaintiff

  Ms. Richard to infringe and suffer risk of death and actual irreparable serious bodily injury,

  irreparable competitive medical career injury, property damages, and other damages on December

  8, 2013, in the nearly 3000lbs. weighing subject foreign imported undisclosed adjudged rank

  infringing 2009 Prius with HYBRID SYNERGY DRIVE as a result thereof, for which the defendants

  are jointly and severally liable to her.

   71.       The adjudged alien rank infringers will continue inducing such infringement, unless they

  are collectively enjoined by the Court from doing so and a review of U.S. ITC Investigation 337-688

  is carried out by the U.S. Court of Appeals for the Federal Circuit, pursuant to 19 U.S.C. § 1337(c)

  that directs the ITC to execute its mandate to issue exclusion orders against all applicable foreign

  imported adjudged rank infringing Prius with HYBRID SYNERGY DRIVE articles in rem and to issue

  cease and desist orders in personam, as enforceable by the aggrieved Plaintiff in a federal district

  court, against the collective defendants also.

                                                CLAIM 3
         (INDUCED PATENT INFRINGEMENT - Intentional Violation of U.S. Const. Art. I, § 8, cl. 8,
               as Induced Infringement of U.S. Letters Patent 5,343,970 claims 11 and 39)

   72.       Plaintiff re-alleges and incorporates by reference the allegations contained in Paragraphs

  1 through 71 of this Complaint.

   73.       Defendants TMC, TMS, TEMA, TMNA, AISIN, AISIN-AW, DENSO, TICO, TOYOFUJI,

  TTCO, MITSUI, in privity with the adjudged alien rank infringer TMC and TMS and TMNA, in privity

  with the adjudged alien criminals AISIN and DENSO, of and by their counsel(s), that the aforesaid

  2006 federal jury trial verdict judgment establishes to be without authority to "make, use, offer to

  sell, and/or sell" the "Prius II" during the federal protection of U.S. Patent 5,343,970, did willfully,

  recklessly, voluntarily, and intentionally "self-certify" the identical undisclosed subject foreign
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 34 of 168 Page ID
                                 #:163533



  imported adjudged rank infringing 2009 Prius with HYBRID SYNERGY DRIVE, also known as

  "Prius II," to be a U.S. NHTSA and U.S. FMVSS comporting passenger car/motor vehicle to actively

  induce infringement of U.S. Patent 5,343,970 claims 11 and 39, including but not limited to inducing

  Plaintiff Ms. Richard to infringe by applying her U.S. motor vehicle operator license to use the

  subject foreign imported adjudged rank infringing 2009 Prius with HYBRID SYNERGY DRIVE, in

  the manner of a true U.S. NHTSA and U.S. FMVSS comporting passenger car/motor vehicle, by

  driving it on Interstate 65 near mile marker 115.5 in Indianapolis, Indiana, on December 8, 2013,

  which proximately caused her to suffer risk of death and actual irreparable serious bodily injury,

  irreparable competitive medical career injury, property damages, and other damages, for which the

  defendants are jointly and severally liable to her.

   74.      The adjudged alien rank infringers will continue inducing such infringement, unless they

  are collectively enjoined by the Court from doing so and a review of U.S. ITC Investigation 337-688

  is carried out by the U.S. Court of Appeals for the Federal Circuit, pursuant to 19 U.S.C. § 1337(c)

  that directs the ITC to execute its mandate to issue exclusion orders against all applicable foreign

  imported adjudged rank infringing Prius with HYBRID SYNERGY DRIVE articles in rem and to issue

  cease and desist orders in personam, as enforceable by the aggrieved Plaintiff in a federal district

  court, against the collective defendants also.

                                                 CLAIM 4-6
                (FALSE MARKING - Intentional Violation of U.S. Const. Art. I, § 8, cl. 8,
                 as Willful Infringement of the HYPERDRIVE™ "word of like import" with
              U.S. Letters Patent 5,343,970 claims 11 and 39, on the infringing 2009 Prius,
             for bearing adjudged alien rank infringers' HYBRID SYNERGY DRIVE marks)

   75.      Plaintiff re-alleges and incorporates by reference the allegations contained in Paragraphs

  1 through 74 of this Complaint.

   76.      After the U.S. Congress failed to pass domestic trademark legislation in the 1860s, the

  U.S. Senate approved a U.S. President negotiated treaty with Russia requiring reciprocal U.S.

  prosecution of any U.S. infringement of Russian trademarks. It was then that the U.S. Congress

  moved to implement regulations for enforcement of the U.S. - Russia treaty's trademark terms, and
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 35 of 168 Page ID
                                 #:163534



  those of further U.S. Senate approved, trademark enforcement contingent French and Belgian

  treaties, by promulgating 1870 patent, trademarks, and copyright act(s) and subsequent revised

  statutes, under U.S. Const. Art. I, § 8, cl. 8.

   77.       In 1879 Trademark Cases, the Supreme Court of the United States struck down the 1870

  trademark act and subsequent revised trademark statutes as unconstitutional, without any apparent

  disclosure of, indicative deference to, or even awareness of the Russian, French, and Belgian

  treaties in effect, and with no such curtailment of the patent laws.

   78.       Therefore applicable U.S. 1891 Patent venue law did recognize that on August 29, 1842,

  the twenty-seventh Congress had passed "An Act in addition to an act to promote the progress of

  the useful arts, and to repeal all acts and parts of acts heretofore made for that purpose" provided at

  Sections 3 and 5:

      "SEC. 3. And be it further enacted, That any citizen or citizens, or alien or aliens, having
      resided one year in the United States and taken the oath of his or their intention to
      become a citizen or citizens who by his, her, or their own industry, genius, efforts, and
      expense, my have invented or produced any new and original design for a manufacture,
      whether of metal or other material or materials, or any new and original design for the
      printing of woollen, silk, cotton, or other fabrics, or any new and original design for a
      bust, statute, or bas relief or composition in alto or basso relievo, or any new and original
      impression or ornament, or to be placed on any article of manufacture, the same being
      formed in marble or other material, or any new and useful pattern, or print, or picture, to
      be either worked into or worked on, or printed or painted or cast or otherwise fixed on,
      any article of manufacture, or any new and original shape or configuration of any article
      of manufacture not known or used by other before his, her, or their invention or
      production thereof, and prior to the time of his, her, or their application for a patent
      therefor, and who shall desire to obtain an exclusive property or right therein to make,
      use, and sell and vend the same, or copes of the same, to others, by them to be made,
      used, and sold, may make application in writing to the Commissioner of Patents
      expressing such desire, and the Commissioner, on due proceedings had, may grant a
      patent therefor, as in the case now of application for a patent . . .

      SEC. 5. And be it further enacted, That if any person or persons shall paint or print, or
      mould, cast, carve, or engrave, or stamp, upon any thing made, used, or sold, by him, for
      the sole making or selling which he hath not or shall not have obtained letters patent, the
      name or any imitation of the name of any other person who hath or shall have obtained
      letters patent for the sole making and vending of such thing, without consent of such
      patentee, or his assigns or legal representatives; or if any person, upon any such thing
      not having been purchased, from the patentee, or some person who purchased it from or
      under such patentee, or not having the license or consent of such patentee, or his
      assigns or legal representatives, shall write, paint, print, mould, cast, carve, engrave,
      stamp, or otherwise make or affix the word "patent," or the words "letters patent," or the
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 36 of 168 Page ID
                                 #:163535


      word "patentee," or any word or words of like kind, meaning, or import, with the view or
      intent of imitating or counterfeiting the stamp, mark, or other device of the patentee, or
      shall affix the same or any word, stamp, or device, of like import, on any unpatented
      article, for the purpose of deceiving the public, he, she, or they, so offending, shall be
      liable for such offence, to a penalty of not less than one hundred dollars, with costs, to
      be recovered by action in any of the circuit courts of the United States, or in any of the
      district courts of the united States, having the powers and jurisdiction of a circuit court;
      one half of which penalty, as recovered, shall be paid to the patent fund, and the other
      half to any person or persons who shall sue for the same."

   79.      The adjudged alien rank infringer TMC's HYBRID SYNERGY DRIVE mark infringes nine

  of the ten HYPERDRIVE™ letters as represented in with U.S. Patent 5,343,970 claims 11 and 39 to

  both houses of the U.S. Congress, the U.S. Senate on December 6, 2001 and the U.S. House of

  Representatives in 2002 in connection with federally protected U.S. Patent 5,343,970 disclosed

  intellectual property. HYPERDRIVE™ was, thus, a de facto "new and original impression . . . to be

  printed . . . on, . . . any new and original shape or configuration of any article of manufacture not

  known or used by others . . . prior to the time of his, her, or their application of a patent therefor, and

  who shall desire to obtain and exclusive property or right therein to make, use, and sell and vend

  the same or copies of the same, to others, by them to be made, used, and sold . . .."

   80.      Applicable U.S. 1891 Patent venue law did, further recognized that on July 8, 1870, the

  forty-first Congress passed "An Act in addition to "An Act to revise, consolidate, and amend the

  Statutes relating to patents and Copyrights," ("1870 patent act"), which at Section 71 did simplify

  Section 3 of the foregoing 1842 act by providing:

      "SEC. 71. And be it further enacted, That any person who, by his own industry, genius,
      efforts, and expense, has invented or produced any new and original design for a
      manufacture, bust, statute, alto-relievo, or bas-relief; any new and original design for the
      printing of wool[len, silk, cotton, or other fabrics; any new and original impression,
      ornament, pattern, print, or picture, to be printed, painted, cast, or otherwise placed on or
      worked into any article of manufacture; or any new, useful, and original shape or
      configuration of any article of manufacture, the same not having been known or used by
      others before his invention or production thereof, or patented or described in any printed
      publication, may, upon payment of the duty required by law, and other due proceedings
      had the same as in cases of inventions or discoveries, obtain a patent therefor."

   81.      Before sections 77-84 of the 1870 patent act that are the "trade-mark" laws that the

  Supreme Court of the United States ruled unconstitutional, the 1870 patent act simplified section 5

  of the foregoing 1842 act by providing at section 76:
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 37 of 168 Page ID
                                 #:163536



      "SEC. 76. And be it further enacted, That all the regulations and provisions which apply
      to the obtaining or protection of patents for inventions or discoveries, not inconsistent
      with the provisions of this act, shall apply to patents for designs."

   82.       It is sections 55 of the 1870 patent act that speak to protection of patents in 1891 patent

  venue law by providing:

      "SEC. 55. And be it further enacted, That all actions, suits, controversies, and cases
      arising under the patent laws of the United States shall be originally cognizable, as well
      in equity as at law, by the circuit courts of the United States, or any district court having
      the powers and jurisdiction of a circuit court, or by the supreme court of the District of
      Columbia, or of any Territory; and the court shall have power, upon bill in equity filed by
      any party aggrieved, to grant injunctions according to the course and principles of equity,
      to prevent the violation of any right secured by patent, on such terms as the court may
      deem reasonable; and upon a decree being rendered in any such case for an
      infringement, the claimant [complainant] shall be entitled to recover, in addition to the
      profits to be accounted for by the defendant, the damages the complainant has
      sustained thereby, and the court shall assess the same or cause the same to be
      assessed under its direction, and the court shall have the same powers to increase the
      same in its discretion that are given by this act to increase the damages found by
      verdicts in actions upon the case; but all actions shall be brought during the term for
      which the letters-patent shall be granted or extended, or within six years after the
      expiration thereof.

   83.       Defendants TMC, TMS, TEMA, TMNA, AISIN, AISIN-AW, DENSO, TICO, TOYOFUJI,

  TTCO, MITSUI, in privity with the adjudged alien rank infringer TMC and TMS and TMNA, in privity

  with the adjudged alien criminals AISIN and DENSO, of and/or by their counsel(s), that the

  aforesaid 2006 federal jury trial verdict judgment establishes to be without authority to "make, use,

  offer to sell, and/or sell" the "Prius II" during the federal protection of U.S. Patent 5,343,970, did

  willfully, recklessly, voluntarily, and intentionally "write, paint, print, mould, cast, carve, engrave,

  stamp, or otherwise make or affix the word" HYBRID SYNERGY DRIVE that infringes

  HYPERDRIVE™ that, in light of the above stated Congressionally presented congruity with U.S.

  Patent 5,343,970, is a such "word or words of like kind, meaning, or import" as U.S. Patent

  5,343,970, upon the unpatented subject foreign imported adjudged rank infringing 2009 Prius with

  HYBRID SYNERGY DRIVE, also known as "Prius II," to wit:

                                                                   Location of HYBRID
           Date of
                                                                    SYNERGY DRIVE
  Count Manufacture                    Counterfeit Device
                                                                 Counterfeit Mark on the
        /Importation
                                                                    Counterfeit Device
                                                                On the Power Control Unit
  4        10/2008         2009 Prius with HYBRID SYNERGY DRIVE
                                                                housing under the hood
  5        10/2008         2009 Prius with HYBRID SYNERGY DRIVE Rear Hatchback Door
                                                                "Quick Reference Guide"
  6        10/2008         2009 Prius with HYBRID SYNERGY DRIVE
                                                                Documentation
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 38 of 168 Page ID
                                 #:163537              Location of HYBRID
           Date of
                                                                          SYNERGY DRIVE
  Count Manufacture                     Counterfeit Device
                                                                       Counterfeit Mark on the
        /Importation
                                                                          Counterfeit Device
                                                                      On the Power Control Unit
   4      10/2008       2009 Prius with HYBRID SYNERGY DRIVE
                                                                      housing under the hood
   5      10/2008       2009 Prius with HYBRID SYNERGY DRIVE Rear Hatchback Door
                                                                      "Quick Reference Guide"
   6      10/2008       2009 Prius with HYBRID SYNERGY DRIVE
                                                                      Documentation
  Table 1. False Marking Violations, pursuant to 1891 patent venue law.


  while "not having the license or consent of such [federally protected U.S. Patent 5,343,970 granted]

  patentee, or his assigns or legal representatives" and did so "with the view or intent of imitating or

  counterfeiting the stamp, [HYPERDRIVE™] word mark, or other device of the [U.S. Patent

  5,343,970] patentee . . . or any word or words of like kind, meaning, or import, with the view or intent

  of imitating or counterfeiting the stamp, mark, or other device of the patentee, or shall affix the same

  or any word, stamp, or device, of like import, on any unpatented article, for the purpose of deceiving

  the public," for which they are jointly and severally liable to Plaintiff, Ms. Richard, and the

  government of the United States of America.

   84.      Notably the April 17, 2009, dated memorandum opinion from the Eastern District of Texas

  indicates that some 20,000 offending Prius with HYBRID SYNERGY DRIVE articles were breaching

  U.S. borders per month. The 20,000 per month figure multiplies to 240,000 2009 Prius with

  HYBRID SYNERGY DRIVE articles per year. The three offending HYBRID SYNERGY DRIVE

  marks on each of 240,000 enumerated 2009 Prius' power control units, rear doors, and

  documentation multiplies to 720,000 false marking offenses in connection with the subject 2009

  Prius with HYBRID SYNERGY DRIVE. The "penalty of not less than one hundred dollars, with

  costs, to be recovered by action in any of the circuit courts of the United States, or in any of the

  district courts of the united States, having the powers and jurisdiction of a circuit court; one half of

  which penalty, as recovered, shall be paid to the patent fund, and the other half to any person or

  persons who shall sue for the same" amounts to an aggregate of 720,000 x $100 = $72 million. [If

  the U.S. government sees fit to allow this, with respect to the patent fund, so be it. However,

  Plaintiff in the above entitled action with serious bodily injuries respectfully submits that year 1842

  dollars were gold; $100 in today's dollar metric per such underlying heinously ancient infraction is
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 39 of 168 Page ID
                                 #:163538



  insufficient; therefore, plaintiff respectfully submits that she is entitled to 150 pieces (one half of 300

  pieces, as 100 pieces for each of the three HYBRID SYNERGY DRIVE marks on the subject foreign

  2009 Prius with HYBRID SYNERGY DRIVE that proximately caused her ) of U.S. originally minted

  1842, Indian head gold dollars, fully intact with no holes and/or one hundred and fifty times the

  current market value of each such gold dollar, as represented by a reputable U.S. dealer of such

  genuine collectible Americana. Plaintiff represents that the other 35,999,850 pieces of "Plaintiff(s)"

  1842 gold and/or its appraised value ought to be held in abeyance in the registry of the U.S. circuit

  court of competent jurisdiction in the above entitled action and/or the Supreme Court of the United

  States for the conflict of laws in inconsistent federal judgments, for other Plaintiff parties to likewise

  plea for relief in verifiable pleading(s) substantiated by duly issued law enforcement incident reports

  bearing seals, medical bills, insurance records, and/or the evidence of the like. If the U.S.

  government's stance is that its share ought to be likewise appreciated and/or adjusted for inflation,

  so be it.]

                          18 U.S. Code §§ 1961-1968 et seq., as of 2006 Violations

                                              CLAIM 7
         (RACKETEERING - codified at Title 18 U.S. Code Chapter 96 as 18 U.S.C. § 1961-1968)

   85.         Plaintiff re-alleges and incorporates by reference the allegations contained in Paragraphs

  1 through 84 of this Complaint.

   86.          Statute 18 U.S. Code § 1961(1)(B) provides that ""racketeering activity" means any

  act . . . indictable under any of the following provisions of title 18, United States Code: . . . section

  1341 (relating to mail fraud), section 1343 (relating to wire fraud), . . . section 2320 (relating to

  trafficking in . . . counterfeit) . . . "

   87.          The Defendants TMC, TMS, TEMA, TMNA, AISIN, AISIN-AW, DENSO, TICO,

  TOYOFUJI, TTCO, MITSUI, in privity with the adjudged alien rank infringer TMC and TMS and

  TMNA, in privity with the adjudged alien criminals AISIN and DENSO, of and/or by their counsel(s),

  (collectively the "Toyota Enterprise Defendants") are actually "any union or group of individuals
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 40 of 168 Page ID
                                 #:163539



  associated in fact although not a legal entity" (18 U.S. Code § 1961(4)) that collectively committed

  the aforesaid acts of racketeering activity as a "pattern of racketeering activity" (18 U.S. Code §

  1961(5)) within the past ten years, on many different dates, and as separately defined acts of

  racketeering activity.

   88.        Statute 18 U.S. Code § 1961(3) provides that each of the Toyota Enterprise Defendants

  is a “person” as distinct from the foregoing enterprise to the extent that each represents itself to be

  domestically incorporated and/or foreign incorporated.

   89.      TMC wholly owns domestically incorporated adjudged rank infringers TMS and TMNA,

  and wholly owns TEMA, the latter three of which all have specific functions in service to TMC, for

  TMC having 100% voting interest in them, among others. TMC also heads a separately distinct

  Toyota Group ("Toyota") entity, a global enterprise, that does not list TMC, MITSUI, yet comprises

  TMC affiliates TICO and AISIN and DENSO, among others.

   90.      James Madison, framer of the U.S. Constitution wrote that a man has " . . . a property

  very dear to him in the safety and liberty of his person . . .," which applies to Plaintiff by the 14th

  Amendment that secures equal protection of the laws to the Plaintiff, Ms. Richard, as "posterity,"

  "person," and "citizen" provided for by the U.S. Constitution.

   91.        Certain Defendants worked together as groups within the collective Toyota Enterprise

  Defendants to operate further criminal "enterprise(s)" (18 U.S. Code § 1961(4)), as distinct from the

  Toyota Enterprise that is district from the TMC, Toyota Group, TOYOFUJI, TTCO, and MITSUI

  conglomerate whole of its other corporate motor vehicle manufacturing, international shipping, and/

  or corporate international banking components, that violated Racketeer Influenced and Corrupt

  Organizations ("RICO") statutes 18 U.S. Code §§ 1962(b), 1962(c), and 1962(d) to engage in a

  pattern of "racketeering activity" (18 U.S. Code 1961(1)(B)) by said violations of 18 U.S. Code §

  2320, 18 U.S. Code § 1341, and 18 U.S. Code § 1343 by conducting or participating, directly or

  indirectly, in the conduct of the affairs of the "enterprise" through a pattern of racketeering that

  proximately caused risk of death and actual irreparable serious bodily injury, irreparable competitive
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 41 of 168 Page ID
                                 #:163540



  medical career injury, property damages, and other damages, to the Plaintiff, Ms. Richard, for which

  the collective adjudged alien rank infringer defendants TMC, TMS, and TMNA, as a distinct 18

  U.S.C. § 1962(b) violating "enterprise" within the Toyota Enterprise Defendants, are jointly and

  severally liable to her and for which the other defendants AISIN, AISIN-AW, DENSO, TICO,

  TOYOFUJI, TTCO, and MITSUI are a cognizable 18 U.S.C. § 1962(c) violating "enterprise" within

  the Toyota Enterprise Defendants, that are also jointly and severally liable to her.

                              PREDICATE RACKETEERING ACTIVITY #1
                    (Violations of 18 U.S. Code § 2320 - Trafficking in Counterfeit)

                                                   CLAIM 8
   (Trafficking in Goods and Knowingly using a Counterfeit Mark in Connection with Such Goods that
               Knowingly or Recklessly Causes or Attempts to Cause Serious Bodily Injury -
          Violations of Title 18, United States code, Section 2320(a)(1) and (b)(2)(A) as of 2006)

   91.      Plaintiff re-alleges and incorporates by reference the allegations contained in Paragraphs

  1 through 90 of this Complaint.

   92.      On or about October of 2008, in the Southern District of Indiana and elsewhere, TMC,

  TMS, TEMA, TMNA, AISIN, AISIN-AW, DENSO, TICO, TOYOFUJI, TTCO, and MITSUI (collectively

  the "Toyota Enterprise Defendants"), in privity with the adjudged alien rank infringer TMC and TMS

  and TMNA, in privity with the adjudged alien criminals AISIN and DENSO, of and by their counsel

  (s), did intentionally traffic in adjudged foreign imported rank "infringing Prius" with HYBRID

  SYNERGY DRIVE ("Prius") articles, that they willfully, recklessly, voluntarily, intentionally, and

  fraudulently "self-certified" as U.S. National Highway Traffic Safety Administration ("NHTSA") and

  U.S. Federal Motor Vehicle Safety Standard comporting ("FMVSS") passenger cars/motor vehicles,

  when they knew that it was a violation of the prohibition at U.S. CONST. Art. I, § 8, cl. 8 and rules

  promulgated thereunder including, but not limited to rules at Titles 19 and 35 of the United States

  Code of laws, for federal jury verdict trial judgment against them and against the "infringing Prius II,"

  to which they equally knowingly used HYBRID SYNERGY DRIVE infringing word and/or dressed

  marks that are spurious and/or counterfeit and infringe nine of the ten letters in the HYPERDRIVE™

  word mark on and in connection with those Prius articles, by knowingly transporting, transferring,
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 42 of 168 Page ID
                                 #:163541



  and disposing of for their commercial advantage or private financial gain the subject 2006 adjudged,

  rank U.S. Patent 5,343,970 claims 11 and 39 infringing, nearly 3000lbs. weighing 2009 Prius with

  HYBRID SYNERGY DRIVE, bearing the said HYBRID SYNERGY DRIVE marks, that proximately

  caused risk of death and actual irreparable serious bodily injury, irreparable competitive medical

  career injury, property damages, and other damages, to the Plaintiff, Ms. Richard, for which the

  collective adjudged alien rank infringer defendants TMC, TMS, and TMNA, as a distinct 18 U.S.C. §

  1962(b) violating "enterprise" within the Toyota Enterprise Defendants, are jointly and severally

  liable to her and for which the other defendants AISIN, AISIN-AW, DENSO, TICO, TOYOFUJI,

  TTCO, and MITSUI are a cognizable 18 U.S.C. § 1962(c) violating "enterprise" within the Toyota

  Enterprise Defendants, that are also jointly and severally liable to her.

                                                  CLAIM 9-11
  (Trafficking in Labels, Patches, Stickers, Wrappers, Badges, Emblems, Medallions, Charms, Boxes,
   Containers, Cans, Cases, Hangtags, Documentation, or Packaging of any Type or nature, Knowing
  that a Counterfeit Mark has been Applied Thereto, the Use of which is Likely to Cause Confusion, to
     Cause Mistake, or to Deceive and that Knowingly or Recklessly Causes or Attempts to Cause
  Serious Bodily Injury - Violations of Title 18, United States code, Section 2320(a)(2) and (b)(2)(A) as
                                                   of 2006)

   93.      Plaintiff re-alleges and incorporates by reference the allegations contained in Paragraphs

  1 through 92 of this Complaint.

   94.      On or about October of 2008, in the Southern District of Indiana and elsewhere, the

  Defendants TMC, TMS, TEMA, TMNA, AISIN, AISIN-AW, DENSO, TICO, TOYOFUJI, TTCO,

  MITSUI (collectively the "Toyota Enterprise Defendants"), in privity with the adjudged alien rank U.S.

  Patent 5,343,970 infringer TMC and TMS and TMNA, in privity with the adjudged alien criminals

  AISIN and DENSO, of and by their counsel(s), did intentionally traffic in the spurious and/or

  counterfeit HYBRID SYNERGY DRIVE mark, that infringes nine of the ten letters in the

  HYPERDRIVE™ word mark trademark presented to both houses of the U.S. Congress in

  connection with U.S. Patent 5,343,970, as applied to packaging of any Type or Nature that caused

  confusion, mistake, and deceit, as affixed to documentation and to 2006 federal jury verdict trial

  judgment adjudged foreign imported rank "infringing Prius II" articles that the Toyota Enterprise
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 43 of 168 Page ID
                                 #:163542



  Defendants willfully, recklessly, voluntarily, and intentionally "self-certified" as U.S. National Highway

  Traffic Safety Administration ("NHTSA") and U.S. Federal Motor Vehicle Safety Standard ("FMVSS")

  comporting passenger cars/motor vehicles, by affixing spurious/counterfeit HYBRID SYNERGY

  DRIVE to the subject 2006 adjudged, rank U.S. Patent 5,343,970 claims 11 and 39 infringing, nearly

  3000lbs. weighing, 2009 Prius with HYBRID SYNERGY DRIVE, also known as "Prius II," and its

  documentation as set forth below:

                                                         Adjudged Rank
          Date of                                                           Location of the mark on
                                                         Infringing Article
  Count Manufacture/         Counterfeit/Spurious Mark                        the Adjudged rank
                                                           on Which the
          Import                                                               Infringing Article
                                                          Mark Appears
     9     October 2008 HYBRID SYNERGY DRIVE                2009 Prius      Power Control Unit Top
    10     October 2008 HYBRID SYNERGY DRIVE                2009 Prius       Rear Hatchback Door
    11     October 2008 HYBRID SYNERGY DRIVE                2009 Prius      Quick Reference Guide
  Table 2. Violations of Title 18, United States Code, Section 2320 (a)(2) and (b)(2)(A)


  and knowingly transporting, transferring, and disposing of for their commercial advantage or private

  financial gain the HYBRID SYNERGY DRIVE marks in and/or on the collective foreign imported

  adjudged rank infringing ensemble known as the 2009 Prius, that proximately caused risk of death

  and actual irreparable serious bodily injury, irreparable competitive medical career injury, property

  damages, and other damages, to the Plaintiff, Ms. Richard, for which the collective adjudged alien

  rank infringer defendants TMC, TMS, and TMNA, as a distinct 18 U.S.C. § 1962(b) violating

  "enterprise" within the Toyota Enterprise Defendants, are jointly and severally liable to her and for

  which the other defendants AISIN, AISIN-AW, DENSO, TICO, TOYOFUJI, TTCO, and MITSUI are a

  cognizable 18 U.S.C. § 1962(c) violating "enterprise" within the Toyota Enterprise Defendants, that

  are also jointly and severally liable to her.

                               PREDICATE RACKETEERING ACTIVITY #2
                             (Violations of 18 U.S. Code § 1341 - Mail Fraud)

                                                  CLAIM 12-14

   95.      Plaintiff re-alleges and incorporates by reference the allegations contained in Paragraphs

  1 through 94 of this Complaint.
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 44 of 168 Page ID
                                 #:163543



   96.      The Defendants TMC, TMS, TEMA, TMNA, AISIN, AISIN-AW, DENSO, TICO, TOYOFUJI,

  TTCO, MITSUI (collectively the "Toyota Enterprise Defendants"), in privity with the adjudged alien

  rank U.S. Patent 5,343,970 infringer TMC and TMS and TMNA, in privity with the adjudged alien

  criminals AISIN and DENSO, of and by their counsel(s), used the United States Postal Service

  ("USPS") to execute a scheme to defraud via mail fraud in the four years prior to the December 8,

  2015 filed Complaint.

   97.      The Toyota Enterprise Defendants' scheme is calculated to willfully, recklessly, voluntarily,

  and intentionally deceive persons of reasonable prudence, comprehension, and compassion in

  order to part such persons from their money, induce them to surrender their legal rights, risk their

  lives, and then blame them for their own demise, unlike any known standard of fair play, honest

  dealings, an/or human ethics.

   98.      The scheme involves using the USPS to mail floormat, accelerator pedal, steering

  intermediate extension shaft, and hybrid electric water pump recall notices and a combination

  warranty enhancement notice as set forth below:

                      Foreign Imported,    Description of Mailing from Defendant TMS to take motor
           Date of    Adjudged Rank U.S.   vehicle recall action for undisclosed adjudged rank infringing
  Count     Notice    Patent 5,343,970     device manifestations without disclosing those manifestations
           Delivery   claims 11 and 39     as such or truly remedying them, as herein alleged statutory
                      Infringing Device    mail fraud under 18 U.S. Code § 1341
                                           UNDATED Toyota Recall No. 90L/90LG (NHTSA 09V388000)
                   2009 Prius with
          November                         2004-2009 Model Year Prius "Vehicles" [Prius II]
    12             HYBRID
            2012                           Potential Floor Mat Interference with Accelerator Pedal
                   SYNERGY DRIVE
                                           SAFETY RECALL FOLLOW-UP NOTICE (URGENT)
                                           UNDATED (NHTSA 12V536000)
                   2009 Prius with         2004-2009 Model Year Prius "Vehicles" [Prius II]
          November
    13             HYBRID                  C0T - Steering intermediate Extension Shaft (Phase 2) and
            2012
                   SYNERGY DRIVE           C0U - Hybrid Electric water Pump
                                           SAFETY RECALL NOTICE (Interim Notice)
                      2009 Prius with      UNDATED 2004-2009 Model Year Prius "Vehicles" [Prius II]
           January
    14                HYBRID               Combination Meter
            2013
                      SYNERGY DRIVE        WARRANTY ENHANCEMENT NOTICE
  Table 3. Violations of Title 18, United States Code, Section 1341


  pursuant to the inapplicable U.S. National Traffic and Motor Vehicle Safety Act, that does not

  provide for the subject foreign imported adjudged rank "Hybrid Electric Vehicle" entitled U.S. Patent
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 45 of 168 Page ID
                                 #:163544



  5,343,970 claims 11 and 39 infringing 2009 Prius with HYBRID SYNERGY DRIVE ("Prius"), that the

  Toyota Enterprise Defendants were without authority to make, use, offer to sell, and/or sell" on U.S.

  soil under U.S. law, as the Prius was merely imitating the braking and acceleration and flow of

  electrical energy to deploy airbags disclosed in U.S. Patent 5,343,970, among other things, merely

  imitating the steering disclosed in HYPERDRIVE™, and was consequently never a motor vehicle,

  hybrid electric vehicle, Toyota vehicle, or genuine product as purely faked imitation.

   99.      Nothing in the subject recall notices discloses that the Toyota Enterprise Defendants were

  without authority to make, use, offer to sell, and/or sell" the subject foreign imported adjudged rank

  "Hybrid Electric Vehicle" entitled U.S. Patent 5,343,970 claims 11 and 39 infringing 2009 Prius with

  HYBRID SYNERGY DRIVE on U.S. soil under U.S. law and/or discloses the true remedy for that

  condition, while espousing acts to further consumers' use of such devices that are essentially

  worthless and that pose life threatening danger to them and to the U.S. public. Such fraudulent

  scheme was calculated by the Defendants, of and by their counsels, to intentionally target, confuse,

  deceive and defraud persons of reasonable prudence, extraordinary comprehension, and

  compassion that are U.S. licensed motor vehicle operators, including Plaintiff, Ms. Richard, in order

  to part such persons from their money, induce them to surrender their legal rights, risk their lives to

  affirmatively do something to make such Prius articles seem "safer," and then blame the defrauded

  for their own demise in them.

  100.      Each nondisclosure, misrepresentation, and misleading statement is embedded in a

  pattern of deception and enticements reasonably calculated to induce reliance.

  101.      The Toyota Enterprise Defendants' fraudulent intent in executing the mail fraud is

  established by their willfully, recklessly, voluntarily, and intentionally ongoing infringement,

  nondisclosures, false statements, and misleading representations as part of their scheme for

  inducing reliance and defrauding U.S. consumers out of billions of dollars for commercial advantage

  and/or private financial gain that proximately caused Plaintiff, Ms. Richard, in justifiable reliance

  thereon, risk of death, irreparable serious bodily injury, irreparable competitive medical career injury,
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 46 of 168 Page ID
                                 #:163545



  property damages, and other damages, for which the collective adjudged alien rank infringer

  defendants TMC, TMS, and TMNA, as a distinct 18 U.S.C. § 1962(b) violating "enterprise" within the

  Toyota Enterprise Defendants, are jointly and severally liable to her and for which the other

  defendants AISIN, AISIN-AW, DENSO, TICO, TOYOFUJI, TTCO, and MITSUI are a cognizable 18

  U.S.C. § 1962(c) violating "enterprise" within the Toyota Enterprise Defendants, that are also jointly

  and severally liable to her.

                               PREDICATE RACKETEERING ACTIVITY #3
                            (Violations of 18 U.S. Code § 1343 - Wire Fraud)

                                              CLAIM 15 - 25

  102.      Plaintiff re-alleges and incorporates by reference the allegations contained in Paragraphs

  1 through 101 of this Complaint.

  103.        The Defendants TMC, TMS, TEMA, TMNA, AISIN, AISIN-AW, DENSO, TICO,

  TOYOFUJI, TTCO, MITSUI (collectively the "Toyota Enterprise Defendants"), in privity with the

  adjudged alien rank U.S. Patent 5,343,970 infringer TMC and TMS and TMNA, in privity with the

  adjudged alien criminals AISIN and DENSO, of and by their counsel(s), committed many acts of

  wire fraud in years spanning 2005-2015 by transmitting or causing to be transmitted fraudulent

  pretenses, representations, and promises by means of TV communication in interstate or foreign

  commerce, numerous writings, signals, pictures, and sounds for the purpose of executing a scheme

  to defraud in interstate or foreign commerce.

  104.      The Toyota Enterprise Defendants' scheme is calculated to willfully, recklessly, voluntarily,

  and intentionally deceive persons of reasonable prudence, comprehension, and compassion in

  order to part such persons from their money, induce them to surrender their legal rights, risk their

  lives, and then blame them for their own demise, unlike any known standard of fair play, honest

  dealings, an/or human ethics.

  105.      The scheme involves advertising ("ad") campaigns for the use and/or sale of undisclosed

  foreign imported adjudged rank "Hybrid Electric Vehicle" entitled U.S. Patent 5,343,970 claims 11
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 47 of 168 Page ID
                                 #:163546



  and 39 infringing, Prius with HYBRID SYNERGY DRIVE ("Prius") articles, also known as "Prius II,"

  including television ("TV") commercial ads, motion picture product placement, and TV programming

  sponsor integration set forth below:

                          Fraudulent TV Commerical Ad/Motion Picture Product Placement/TV
   Count     Air Date Sponsor Integration Title for "infringing Prius II" constituting Wire Fraud
                          under 18 U.S. Code § 1343
    15       02/2005 TV Ad: "Standstill"
    16       09/2005 TV Ad: "What if the Air Were Clean Again?"
    17       04/2007 TV Ad: "America, Your Prius is Ready"
    18       08/2008 TV Ad: "A Lesson in How to Unlitter"
    19       09/2005 Motion Picture Product Placement: In Her Shoes
    20       07/2007 Motion Picture Product Placement: Transformers
    21       06/2009 Motion Picture Product Placement: Away We Go
    22       11/2007      TV Sponsor Integration: Scrubs, Ssn. 7, Epsd. 3 "My Inconvenient Truth"
    23       06/2009 TV Sponsor Integration: Royal Pains, Ssn. 1, Epsd. 4 "TB or not TB"
    24       02/2010 TV Sponsor Integration: Bones, Ssn. 5, Epsd. 14 "Devil in the Details"
    25       05/2010 TV Sponsor Integration: Bones, Ssn. 5, Epsd. 20 "Witch in the Wardrobe"
  Table 4. Violations of Title 18, United States Code, Section 1343


  106.      The foregoing (1) depicts said Prius' HYBRID SYNERGY DRIVE marks without disclosing

  that they infringe HYPERDRIVE™, (2) fraudulently identifies the Prius articles as "cars," (3)

  fraudulently depicts the Prius in use on U.S. public streets, roads, and highways without disclosing

  that the Toyota Enterprise Defendants were without authority to "make, use, offer to sell, and/or sell"

  them on U.S. soil under U.S. law, as the Prius merely imitates the braking and acceleration and flow

  of electrical energy to deploy airbags disclosed in U.S. Patent 5,343,970, among other things,

  merely imitates the steering disclosed in HYPERDRIVE™, and was consequently never a motor

  vehicle, hybrid electric vehicle, Toyota vehicle, or genuine product as purely faked imitation, (4)

  conspicuously omits the patent infringement federal jury trial verdict judgment against adjudged

  alien rank infringer TMC and TMS and TMNA for the infringing "Prius II" as affirmed on appeal and

  cross appeal by the United States Court of Appeals for the Federal Circuit, (5) omits the deaths of

  U.S. children, doctors, and Hoosiers as proximately caused by the "infringing Prius II" and ongoing

  risk of the same.

  107.      The Toyota Enterprise Defendants' fraudulent intent in executing the wire fraud
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 48 of 168 Page ID
                                 #:163547



  specifically targeting young professional people that are U.S. motor vehicle operators on a budget,

  that includes Plaintiff, Ms. Richard, is established by their willfully, recklessly, voluntarily, and

  intentionally ongoing infringement, nondisclosures, false statements, and misleading

  representations as part of their scheme for inducing reliance and defrauding U.S. consumers out of

  billions of dollars for commercial advantage and/or private financial gain that proximately caused

  Plaintiff, Ms. Richard risk of death and actual irreparable serious bodily injury, irreparable

  competitive medical career injury, property damages, and other damages, for which the collective

  adjudged alien rank infringer defendants TMC, TMS, and TMNA, as a distinct 18 U.S.C. § 1962(b)

  violating "enterprise" within the Toyota Enterprise Defendants, are jointly and severally liable to her

  and for which the other defendants AISIN, AISIN-AW, DENSO, TICO, TOYOFUJI, TTCO, and

  MITSUI are a cognizable 18 U.S.C. § 1962(c) violating "enterprise" within the Toyota Enterprise

  Defendants, that are also jointly and severally liable to her.

                                              CONSPIRACY
                           (Violations of 18 U.S. Code § 1962(d) - Conspiracy)


  108.       Plaintiff re-alleges and incorporates by reference the allegations contained in Paragraphs

  1 through 107 of this Complaint.

  109.       The Defendants TMC, TMS, TEMA, TMNA, AISIN, AISIN-AW, DENSO, TICO, TOYOFUJI,

  TTCO, MITSUI (collectively the "Toyota Enterprise Defendants"), in privity with the adjudged alien

  rank U.S. Patent 5,343,970 infringer TMC and TMS and TMNA, in privity with the adjudged alien

  criminals AISIN and DENSO, of and by their counsel(s), contradicted the Toyota Global Guiding

  principle to "Honor the language and spirit of the law of every nation and undertake open and fair

  business activities to be a good corporate citizen of the world, by conspiring in violation of 18 U.S.C.

  § 1962(d) to commit the foregoing predicate acts of racketeering, with some 15 out of the five-

  hundred-thirty-five U.S. Americans serving in Congress in 2010 and five governors administering

  five of the 50 United States in 2010, that collectively broke their allegiance to the United States, to

  serve the foregoing collective Japanese Toyota Enterprise Defendants in furtherance of the
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 49 of 168 Page ID
                                 #:163548



  aforesaid trafficking in counterfeit, mail fraud, and wire fraud racketeering acts to supplant legitimate

  U.S. motor vehicle industry with adjudged rank U.S. Patent infringers' foreign imported adjudged

  rank infringing articles, that were allegedly counterfeit marked, for the Toyota Enterprise's

  commercial advantage and/or private financial gain, that proximately caused Plaintiff, Ms. Richard's

  risk of death and actual serious bodily injuries, property damages, and other damages.

  110.        Part of the illegalities involved the Toyota Enterprise conspiring to commit the foregoing

  predicate racketeering acts by concealing and/or covering up the infringement of federally protected

  U.S. Intellectual property, by the adjudged alien rank infringer(s) "self-certifying" the subject foreign

  imported adjudged rank infringing 2009 Prius with HYBRID SYNERGY DRIVE, bearing alleged

  counterfeit HYBRID SYNERGY DRIVE marks as a NHTSA and FMVSS compliant passenger car/

  motor vehicle, when it was not as truly some 3000lbs. weighing imitation of the braking and

  acceleration and flow of electrical energy to deploy airbags disclosed in U.S. Patent 5,343,970,

  among other things, and imitation of the steering disclosed in HYPERDRIVE™.

  111.        The fraud served to supplant legitimate U.S. motor vehicle industry endeavor with the

  foreign imported adjudged rank infringing colorable imitation for the adjudged alien rank infringers'

  unjust enrichment through its sale for tens of thousands of U.S. dollars drawn on U.S. banks, for

  commercial advantage and/or private financial gain. The fraud served to deceive U.S. motor vehicle

  operators into naming motor vehicle defect causes of action rather than true, adjudged

  unconstitutional rank patent infringing adjudged status. The fraud served to make law enforcement

  believe that U.S. licensed motor vehicle operators defrauded into driving the adjudged alien rank

  infringing articles in the manner of a true motor vehicle that found themselves failed to stop on

  pressing the brakes, accelerated out of control without their feet on the accelerator pedal, and

  otherwise crashing without any airbags deploying (for the imitation flow of electrical energy) were

  the direct result of motor vehicle operator error.

  112.        The fraud served to bootstrap the U.S. Judiciary into violating the judicial repose

  established by the prior patent infringement judgments. The fraud served to allow such adjudged
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 50 of 168 Page ID
                                 #:163549



  alien rank infringers to then blame U.S. motor vehicle operators before the U.S. Judiciary for failing

  to properly employ their U.S. motor vehicle operator license, that has no relation to the operation of

  foreign imported adjudged alien rank infringing articles that adjudged alien rank infringers are

  without authority to "make, use, offer to sell, and/or sell." See 35 U.S. Code § 271(a) The fraud

  served to provide the adjudged alien rank infringers with the U.S. motor vehicle operator licensed

  victims' information and most privileged vital statistics and medical information, of and by their

  counsels, to make better colorable imitation with which to more effectively scrape, injure, serious

  bodily injure, totally and permanently disable, and/or kill further U.S. defrauded motor vehicle

  operator victims, their passengers, and/or passersby in proximity of such defrauded victims behind

  the imitation steering wheels of foreign imported adjudged rank U.S. patent infringing articles

  weighing some 3000lbs. with imitation of the braking and acceleration and flow of electrical energy

  to deploy airbags disclosed in U.S. Patent 5,343,970, among other things, and imitation of the

  steering disclosed in HYPERDRIVE™ on U.S. public streets, roads, and highways.

  113.        This conspiracy further involved subtly and/or overtly involved directly or through others

  asking the U.S. International Trade Commission ("ITC") to violate its mandate at mandate at 19

  U.S.C. § 1337, despite the meaning of the prior judgements under 19 U.S.C. § 1337(g), by not

  issuing cease and desist and/or exclusion order(s) against the the adjudged alien rank infringers

  and/or the subject foreign imported adjudged rank U.S. Patent 5,343,970 claims 11 and 39

  infringing Prius with HYBRID SYNERGY DRIVE, respectively, which caused a flood of the foreign

  imported adjudged infringing articles to breach U.S. borders, which the Toyota Enterprise distributed

  interstate and sold nationwide, after a federal jury verdict trial judgment had served to inform the

  adjudged alien rank infringers TMC, TMS, and TMNA that they were collectively without authority to

  "make, use, offer to sell, and/or sell" any such thing.

  114.        The conspiracy involved the Toyota Enterprise Defendants establishing manufacturing

  facilities and/or plants in the five of the United States in furtherance of the Toyota Enterprise, or

  enslavement of those states' U.S. American citizens to such Toyota Enterprise, and/or compelled
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 51 of 168 Page ID
                                 #:163550



  representative governance in those states to submit written letters overtly against the exclusion of

  the Toyota Enterprise defendants' foreign manufactured, adjudged unconstitutional imported

  articles, that effectively advocated the killing other states' U.S. American citizens with them,

  ostensibly for fear of losing enslavement to the Toyota Enterprise. Nations older than the United

  States have termed such blackmail and taken affirmative action to abolish it.

  115.        Such foregoing RICO racketeering acts, among other acts, in furtherance of the

  conspiracy violated 18 U.S.C. § 1962(d), which proximately caused Plaintiff, Ms. Richard's (18

  U.S.C. § 1964(c)) risk of death and actual serious bodily injury, property damages, other damages

  and further damages to her U.S. economic, educational, environmental, and civil rights

  surroundings, including but not limited to the maintenance of the separation of U.S. government

  powers inherent and explicit in the Constitution of the United States, U.S. federal governmental

  protections of the lives U.S. Americans, U.S. federal protections of U.S. American Competitiveness,

  and U.S. federal protections of U.S. American infrastructure for which the defendants are jointly and

  severally liable to the Plaintiff, Ms. Richard.


                                      Active Fraudulent Concealment

                                                 CLAIM 26
                                (Violations of Indiana Code §§ 34-11-5-1)

  116.      Plaintiff re-alleges and incorporates by reference the allegations contained in Paragraphs

  1 through 115 of this Complaint.

  117.      The Defendants TMC, TMS, TEMA, TMNA, AISIN, AISIN-AW, DENSO, TICO, TOYOFUJI,

  TTCO, MITSUI (collectively the "Toyota Enterprise Defendants"), in privity with the adjudged alien

  rank U.S. Patent 5,343,970 infringer TMC and TMS and TMNA, in privity with the adjudged alien

  criminals AISIN and DENSO, of and by their counsel(s), had knowledge of the U.S. Const. Art. I and

  III authorized federal jury trial verdict judgments against them for infringement of the federally

  protected U.S. Patent 5,343,970, with specific regard to the subject foreign imported adjudged rank

  "Hybrid Electric Vehicle" entitled U.S. Patent 5,343,970 claims 11 and 39 infringing, 2009 Prius with
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 52 of 168 Page ID
                                 #:163551



  HYBRID SYNERGY DRIVE ("Prius"), also known as "Prius II," that they were consequently without

  authority to "make, use, offer to sell, and/or sell" on U.S. soil under Art. III jurisdiction under U.S.

  law.

  118.       In full awareness of the judgments against them, the collective foregoing Defendants did

  willfully, recklessly, voluntarily, intentionally, and actively conceal from the Plaintiff, Ms. Richard such

  knowledge for the purpose of further violating the prohibition rooted in the U.S. CONST. at Art. 1, §

  8, cl. 8, by further infringing U.S. Patent 5,343,970 claims 11 and 39, by willfully, recklessly,

  voluntarily, and intentionally manufacturing and/or importing in October of 2008, that is "making,

  using, offering to sell, and/or selling" in the United States, the subject foreign imported undisclosed

  adjudged rank infringing 2009 Prius with HYBRID SYNERGY DRIVE, also known as "Prius II," that

  the collective foregoing Defendants were without authority to "make, use, offer to sell, and/or sell"

  under U.S. law, on U.S. soil, under U.S. CONST. Art. I and Art. III authorized U.S. Judiciary

  jurisdiction governance.

  119.       The collective foregoing Defendants did this by extrinsically fraudulently concealing the

  true status of the foreign imported subject adjudged rank "Hybrid Electric Vehicle" entitled U.S.

  Patent 5,343,970 claims 11 and 39 infringing, 2009 Prius with HYBRID SYNERGY DRIVE ("Prius"),

  also known as "Prius II," by willfully, recklessly, voluntarily, and intentionally "self-certifying" the

  subject 2009 Prius as a NHTSA and FMVSS comporting passenger car/motor vehicle under color of

  the U.S. National Traffic and Motor Vehicle Safety Act, when Title 49 of the U.S. Code at Part A -

  Transportation - does not provide for the importation of foreign manufactured, adjudged rank U.S.

  patent infringing articles as passenger car(s)/motor vehicle(s).

  120.       The collective foregoing Defendants did this by extrinsically fraudulently concealing the

  true status of the foreign imported subject adjudged rank "Hybrid Electric Vehicle" entitled U.S.

  Patent 5,343,970 claims 11 and 39 infringing, 2009 Prius with HYBRID SYNERGY DRIVE ("Prius"),

  also known as "Prius II," by willfully, recklessly, voluntarily, and intentionally paying millions of dollars

  to market such 2009 Prius as "cars" that appeared in U.S. commercial advertisements, motion
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 53 of 168 Page ID
                                 #:163552



  picture placement, and sponsor integration in media.

  121.       The collective foregoing Defendants did this by extrinsically fraudulently concealing the

  true status of the foreign imported subject adjudged rank "Hybrid Electric Vehicle" entitled U.S.

  Patent 5,343,970 claims 11 and 39 infringing, 2009 Prius with HYBRID SYNERGY DRIVE ("Prius"),

  also known as "Prius II," by willfully, recklessly, voluntarily, and intentionally mailing motor vehicle

  recall notices for such 2009 Prius that neither disclosed, nor remedied the infringing condition that is

  imitation of the braking, acceleration, and flow of electrical energy disclosed in the federally

  protected U.S. Patent 5,343,970 that the adjudged alien rank infringers were without authority to

  "make, use, offer to sell, and/or sell," by U.S. constitutional prohibition.

  122.       These acts by the collective foregoing Defendants were calculated to misdirect U.S.

  consumers' scrutiny to defraud them and induce them into infringement by parting with tens of

  thousands of dollars for such foreign imported adjudged rank infringing articles, instilling in those

  consumers a false sense of security by having them actively do something to make subject Prius II

  articles seem "safer" to drive, and thus prevent them from making further inquiry to learn the truth

  that the adjudged alien rank infringer TMC and TMS and TMNA, and those in privity with them, were

  without authority to "make, use, offer to sell, and/or sell" it, for its imitation braking, imitation

  acceleration, and imitation flow of electrical energy (to deploy airbags), among other things, on U.S.

  soil under Art. III jurisdiction under U.S. law.

  123.       These acts by the collective foregoing Defendants were calculated to suppress and

  conceal federal jury verdict tried truths to misdirect some of the most venerable motor vehicle defect

  law firms for Plaintiffs in the U.S. into believing that the foreign imported subject adjudged rank

  "Hybrid Electric Vehicle" entitled U.S. Patent 5,343,970 claims 11 and 39 infringing, 2009 Prius with

  HYBRID SYNERGY DRIVE ("Prius"), also known as "Prius II," that the adjudged alien rank infringer

  TMC and TMS and TMNA, and those in privity with them including adjudged alien criminals AISIN

  and DENSO, were without authority to "make, use, offer to sell, and/or sell" on U.S. soil under Art. III

  jurisdiction under U.S. law, was merely a defective motor vehicle, to stipulate to a 1968 Multidistrict
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 54 of 168 Page ID
                                 #:163553



  Litigation Act and 28 U.S.C. § 1407(b) depositions delimited transferee judge a class certification,

  without Congressional authority, and a settlement agreement, without Congressional authority, that

  involves divulging the privileged U.S. motor vehicle operator and U.S. privileged medical information

  of physically scraped, physically injured, physically serious bodily injured, physically totally and

  permanently disabled, and dead U.S. citizen victims of the adjudged alien rank infringers' foreign

  imported adjudged rank infringing "Prius II," among other things, to the identical adjudged alien rank

  infringer TMC and TMS and TMNA and those in privity with them that may include adjudged alien

  criminals AISIN and DENSO, in violation of National Security, for unknown purposes that may

  include without being limited to (1) gaining the vital statistics of past defrauded consumers to render

  better counterfeit to better psychologically defraud more U.S. children, doctors, Hoosiers, and

  people to death, (2) ostensibly usurping the 2006 federal jury trial verdict judgment of patent

  infringement that was affirmed on appeal, cross appeal, and remand in violation of federal res

  judicata and/or stare decisis, and/or repose to better psychologically defraud more U.S. children,

  doctors, and Hoosiers to death, and (3) minimizing the collective foregoing Defendants' financial

  liability exposure to each such defrauded U.S. individual by devaluing their true U.S. Const. Art. 1, §

  8, cl. 8 and racketeering (trafficking in counterfeit, mail fraud, and wire fraud) case under color of a

  motor vehicle defect case, for which the collective foregoing Defendants are liable to the Plaintiff,

  Ms. Richard.

  124.      Indiana's Fraudulent Concealment Statute (Indiana Code §§ 34-11-5-1) provides "If a

  person liable to an action conceals the fact from the knowledge of the person entitled to bring the

  action, the action may be brought at any time within the period after the discovery because of

  action.

  125.      Johnson v. Hoosier Enterprises, et al. (Ind. Ct. App. No. 49A02-0402-CV-209) clarifies

  "Fraudulent concealment is an equitable doctrine that operates to estop a defendant from asserting

  the statute of limitations as a bar to a claim whenever the defendant, by his own actions, prevents

  the plaintiff from obtaining the knowledge necessary to pursue a claim." Doe v. Shults-Lewis Child
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 55 of 168 Page ID
                                 #:163554



  & Family Servs., 718 N.E.2d 738, 744 (Ind. 1999). The doctrine is available to the plaintiff when the

  defendant "has either by deception or by a violation of duty, concealed from the plaintiff material

  facts thereby preventing the plaintiff from discovering a potential cause of action." Id. at 744-45

  (quoting Fager v. Hundt, 610 N.E.2d 246, 251 (Ind. 1993)). "When this occurs, equity will toll the

  statute of limitations until the equitable grounds cease to operate as a reason for delay." Doe, 718

  N.E.2d at 745. The doctrine of fraudulent concealment applies to concealment of parties and the

  cause of action. Stephens v. Irvin, 730 N.E.2d 1271 (Ind. Ct. App. 2000).

  126.      Plaintiff, Ms. Richard relied upon such (1) willful, reckless, voluntary, and intentional

  fraudulent suppression and concealment of the adjudged alien rank infringers' change in status from

  foreign importers of motor vehicle products to adjudge alien rank infringers, (2) adjudged alien rank

  infringers' fraudulent suppression and concealment of their willfully, recklessly, voluntarily, and

  intentionally unconstitutional violation of the prohibition at U.S. CONST. Art. I, § 8, cl. 8, by

  manufacturing the subject foreign imported subject adjudged rank "Hybrid Electric Vehicle" entitled

  U.S. Patent 5,343,970 claims 11 and 39 infringing, 2009 Prius with HYBRID SYNERGY DRIVE

  ("Prius"), also known as "Prius II," that the adjudged alien rank infringer TMC and TMS and TMNA,

  and those in privity with them including adjudged alien criminals AISIN and DENSO, were without

  authority to "make, use, offer to sell, and/or sell" on U.S. soil under Art. III jurisdiction under U.S.

  law, (3) fraudulent concealment of the foregoing "Prius II" article by the adjuged alien rank infringers'

  "self-certifying" it as a NHTSA and FMVSS comporting passenger car/motor vehicle, (4) fraudulent

  concealment of the foregoing adjudged rank infringing "Prius II" and the adjudged alien rank

  infringers status by omission in millions of impressions of fraudulent commercial advertisements

  and/or fraudulent use of wire transmissions of the like and/or kind touting the "Prius with HYBRID

  SYNERGY DRIVE from Toyota," when Toyota was neither was the source of the intellectual

  property that embodies the "Prius II" nor authorized to "make, use, offer to sell, and/or sell it," which

  collectively proximately caused Plaintiff Ms. Richard risk of death and actual irreparable serious

  bodily injury, irreparable competitive medical career injury, property damages, and other damages
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 56 of 168 Page ID
                                 #:163555



  on December 8, 2013, for the subject foreign imported 2009 Prius with HYBRID SYNERGY

  DRIVE's 3000lbs. of imitation braking, imitation acceleration, and imitation steering, and imitation

  airbag deployment collectively failing on U.S. Interstate-65 near mile marker 115.2, for which the

  collective foregoing defendants are liable to her.

  127.      In reliance thereon Plaintiff, Ms. Richard, named motor vehicle defects as the proximate

  cause of the foregoing and/or prevented her from naming a true cause of action and/or from naming

  all germane parties on filing December 8, 2015, dated original complaint in the U.S. District Court

  for the Southern District of Indiana, for which the collective foregoing defendants are liable to her.

  128.      The foregoing prevented Plaintiff, Ms. Richard, from comprehending the said 2006 federal

  jury trial verdict judgment against the adjudged alien rank infringer TMC and TMS and TMNA, until

  after her May of 2016, dated attempt to amend complaint, despite the said December 8, 2013, first

  applicable date of incident and December 8, 2015, dated original Complaint, for which the collective

  foregoing defendants are liable to her.

                               Intentional Fraudulent Misrepresentation

                                                 CLAIM 27
                                            (Constructive Fraud)

  129.      Plaintiff re-alleges and incorporates by reference the allegations contained in Paragraphs

  1 through 128 of this Complaint.

  130.      Pursuant to Smart Perry Ford Sales v. Weaver, 274 N.E.2d 718 (Ind. Ct. App. 1971) in

  Indiana, "what is susceptible of exact knowledge when the statement is made is usually considered

  to be a statement of fact. Jenkins v. Long (1862), 19 Ind. 38, 81 Am. Dec. 374; 37 Am.Jur.2d, Fraud

  and Deceit, § 46, p. 74. . . . Constructive fraud is defined as a fraud which arises as an operation of

  law from statements, acts, or a course of conduct, which if sanctioned by law would secure an

  unconscionable advantage to the one making such statements. Brown v. Brown (1956), 235 Ind.

  563, 135 N.E.2d 614. The test to determine whether or not a constructive fraud has been

  perpetrated is set forth in New v. Jackson (1911), 50 Ind. App. 120, 125, 95 N.E. 328:
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 57 of 168 Page ID
                                 #:163556


      "'An unqualified statement that a fact exists, made for the purpose of inducing another to
      act upon it, implies that the person who makes it knows it to exist and speaks from his
      own knowledge. If the fact does not exist, and the defendant states of his own
      knowledge that it does, and induces another to act upon his statement, the law will
      impute to him a fraudulent purpose.'" New, supra, 50 Ind. App. at 125.

  131.      In Kirkpatrick v. Reeves (1889), 121 Ind. 280, 22 3 N.E. 139, three tests for constructive

  fraud were set out by the court:

            1. Were the statements made to induce the plaintiff to buy?

            2. W[h]ere they relied upon?

            3. Did the defendant profess to posses knowledge of their truth?

  The court in Kirkpatrick, supra, further stated:

      "If he states, as of his own knowledge, material facts susceptible of knowledge, which
      are false, it is a fraud which renders him liable to the party who relies upon the statement
      as true, and it is is no defense that the believed the facts to be true.' . .. A defendant who
      makes a statement of his own knowledge can not escape liability upon the ground that
      he acted upon trustworthy information." Kirkpatrick, supra, 121 Ind. at 282.

  132.      The Court in Capitol Dodge, Inc. v. Haley, 288 N.E.2d 766 (Ind. Ct. App. 1972) set forth

  that, ""As stated in Jones v. Hernandez (1970), 148 Ind. App. 17, 263 N.E.2d 759, 763:

      "The Indiana punitive damages are proper where the acts of the wrongdoer are such as
      to indicate heedless disregard of the consequences." . . . [I]t might be kept in mind that
      punitive damages are not compensatory in their nature but are designed to punish the
      wrongdoer and to dissuade him and others from similar conduct in the future.
      Indianapolis Bleaching Co. v. McMillan (1916), 64 Ind. App. 268, 113 N.E. 1019. We
      deem such awards to be particularly appropriate in proper cases involving "consumer
      fraud." . . . Unconcern for the truth may serve as an imputation of scienter. Jordanich v.
      Gerstbauer, 153 Ind. App. 416, 287 N.E.2D 784. . . . It is but to repeat a truism that the
      question of reliance is one of fact to be determined by the jury . . . Smart Perry Ford
      Sales, Inc. v. Weaver (1971), 149 Ind. App. 693, 274 N.E.2d 718."

  133.        The Defendants TMC, TMS, TEMA, TMNA, AISIN, AISIN-AW, DENSO, TICO,

  TOYOFUJI, TTCO, MITSUI (collectively the "Toyota Enterprise Defendants"), in privity with the

  adjudged alien rank U.S. Patent 5,343,970 infringer TMC and TMS and TMNA, in privity with the

  adjudged alien criminals AISIN and DENSO, of and by their counsel(s), that the aforesaid 2006

  federal jury trial verdict judgment establishes to be without authority to "make, use, offer to sell, and/

  or sell" the foreign imported adjudged rank infringing "Prius II" during the federal protection of U.S.

  Patent 5,343,970, did willfully, recklessly, voluntarily, and intentionally infringe U.S. Patent 5,343,970
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 58 of 168 Page ID
                                 #:163557



  claims 11 and 39, by manufacturing and/or importing, or by "making, using, offering to sell, and/or

  selling" in the United States the subject 3000lbs. weighing, foreign imported, undisclosed adjudged

  rank infringing 2009 Prius with HYBRID SYNERGY DRIVE, also known as "Prius II," and then

  extrinsically fraudulently "self-certify" it to be a NHTSA and FMVSS comporting passenger car/motor

  vehicle to wit:

             "MFD. BY: TOYOTA MOTOR CORPORATION 10/08
             GVWR 3795LB FAWR FR 2335 LB RR 2250LB
             THIS VEHICLE CONFORMS TO ALL APPLICABLE
             FEDERAL MOTOR VEHICLE SAFETY, BUMPER, AND
             THEFT PREVENTION STANDARDS IN EFFECT ON
             THE DATE OF MANUFACTURE SHOWN ABOVE.
             JTDKB20U993486580    PASS. CAR
             [BARCODE][TOYOTA GLOBAL TRADEMARK]
             C/TR:040/FF11 NHW20L - AHEEBA
             A/TM: -01A/P112 MADE IN JAPAN 796 [ENLARGED LETTER "A"]"

  134.       The foregoing self-certification comprises willfully, recklessly, voluntarily, and intentionally

  false misrepresentations ostensibly made on the October 2008 date of manufacture and/or

  importation, which are to wit:
                               TRUTH PURSUANT TO FEDERAL JURY
  CLAIM/   FRAUDULENT          TRIAL VERDICT OF PATENT
  COUNT    MISREPRESENTATION INFRINGEMENT AGAINST TMC, TMS, and
                               TMNA UNDER U.S. LAW IN 2006
                               FALSELY IDENTIFIES THAT (1) TMC IS
                               THE SOURCE OF THE "HYBRID ELECTRIC
                               VEHICLE" INTELLECTUAL PROPERTY
                               EMBODYING THE SUBJECT "INFRINGING
                               PRIUS II," (2) TITLE TO THE SUBJECT
           "BY: TOYOTA MOTOR
  26                           "INFRINGING PRIUS II" LIES WITH TOYOTA
           CORPORATION"
                               MOTOR CORPORATION, AND (3) TMC IS
                               AS IT EVER WAS, WITH NO STATUS
                               CHANGE TO TRULY ADJUDGED ALIEN
                               INFRINGERS OF FEDERALLY
                               PROTECTED U.S. PATENT 5,343,970.
                               FALSELY IDENTIFIES THAT THE SUBJECT
                               "INFRINGING PRIUS II" EMBODIMENT IS
  27       "THIS VEHICLE"
                               IDENTICAL TO A TRUE MOTOR VEHICLE,
                               RATHER THAN ACTUAL IMITATION
                               FALSELY INDICATES THAT TRUE MOTOR
                               VEHICLE ATTRIBUTES DISCLOSED IN 49
           "CONFORMS TO ALL
                               CFR 571 AND/OR TITLE 49 OF THE
           APPLICABLE
                               UNITED STATES CODE OF LAWS EXIST
           FEDERAL MOTOR
                               IN THIS "INFRINGING PRIUS" INSTEAD OF
  28       VEHICLE SAFETY,
                               TRULY IMITATION BRAKING, IMITATION
           BUMPER, AND THEFT
                               ACCELERATION, AND IMITATION FLOW
           PREVENTION
                               OF ELECTRICAL ENERGY, AMONG
           STANDARDS"
                               OTHER THINGS THAT MOTOR VEHICLES
                               DO NOT EVEN HAVE
                               FALSELY INDICATES THAT 49 CFR 565.20
                               PROVIDES FOR THE "INFRINGING PRIUS
                               II," AS A TRUE MOTOR VEHICLE WORHTY
                               OF VEHICLE IDENTIFICATION NUMBER
                               FOR SALE BY U.S. MOTOR VEHICLE
                               DEALERS AND FOR INSURANCE,
                               REPAIRS, A LICENSE PLATE, AND
  29       "JTDKB20U993486580" TRACKING . . . ASSOCIATED WITH
                               AUTHORIZED USE ON U.S. PUBLIC
                               STREETS ROADS AND HIGHWAYS BY
          "CONFORMS TO ALL
                              CFR 571 AND/OR TITLE 49 OF THE
          APPLICABLE
                              UNITED STATES CODE OF LAWS EXIST
          FEDERAL MOTOR
Case
   28
      8:10-ml-02151-JVS-FMO
          VEHICLE SAFETY,
                                        DocumentPRIUS"
                              IN THIS "INFRINGING      5669       Filed
                                                            INSTEAD     OF 11/05/18   Page 59 of 168 Page ID
                              TRULY IMITATION BRAKING,
                                                    #:163558IMITATION
          BUMPER, AND THEFT
                              ACCELERATION, AND IMITATION FLOW
          PREVENTION
                              OF ELECTRICAL ENERGY, AMONG
          STANDARDS"
                              OTHER THINGS THAT MOTOR VEHICLES
                              DO NOT EVEN HAVE
                              FALSELY INDICATES THAT 49 CFR 565.20
                              PROVIDES FOR THE "INFRINGING PRIUS
                              II," AS A TRUE MOTOR VEHICLE WORHTY
                              OF VEHICLE IDENTIFICATION NUMBER
                              FOR SALE BY U.S. MOTOR VEHICLE
                              DEALERS AND FOR INSURANCE,
                              REPAIRS, A LICENSE PLATE, AND
   29     "JTDKB20U993486580" TRACKING . . . ASSOCIATED WITH
                              AUTHORIZED USE ON U.S. PUBLIC
                              STREETS ROADS AND HIGHWAYS BY
                              U.S. LICENSED MOTOR VEHICLE
                              OPERATORS, WHEN IT TRULY MAY NOT
                              BE "MADE, USED, OFFERED FOR SALE,
                              AND/OR SOLD" ON U.S. SOIL UNDER U.S.
                              ART. III JURISDICTION UNDER U.S. LAW
                              FALSELY INDICATES THAT THE
                              "INFRINGING PRIUS II" IS A TRUE
                              NATIONAL HIGHWAY TRAFFIC SAFETY
                              ADMINISTRATION AUTHORIZATION ACT
   30     "PASS. CAR"
                              OF 1991 § 2502(a)(3) CODIFIED "motor
                              vehicle with motive power (except
                              passenger vehicle, motorcycle, or trailer),
                              designed for carrying 10 persons or fewer."
   Table 5. Written "self-certification" misrepresentations


    135.      TMC, TMS, and TMNA had actual knowledge of having no basis in truth to state and/or

   imply the foregoing falsely written assertions of fact displayed in plain block letters (see § 525,

   526, ) on or mailed in connection with the subject foreign imported, undisclosed adjudged rank

   infringing 2009 Prius with HYBRID SYNERGY DRIVE, because 2005 federal jury trial finders of fact

   considered expert scientific evidence over a ten-day trial before informing TMC, TMS, and TMNA,

   by delivering a federal jury trial verdict for federal patent infringement against against them, with

   specific regard to the adjudged rank "infringing" 2009 "Prius" with HYBRID SYNERGY DRIVE, and

   those in privity with them.

                        Foreign Imported,
                                              Description of Alleged Fraudulent Mailing from Defendant TMS
             Date of    Adjudged Rank U.S.
                                              to take motor vehicle recall action for undisclosed adjudged
    Count     Notice    Patent 5,343,970
                                              infringing or imitation device manifestations without disclosing
             Delivery   claims 11 and 39
                                              those manifestations as such or truly remedying them.
                        Infringing Device
                                              UNDATED Toyota Recall No. 90L/90LG (NHTSA 09V388000)
                     2009 Prius with
            November                          2004-2009 Model Year Prius "Vehicles" [Prius II]
      31             HYBRID
              2012                            Potential Floor Mat Interference with Accelerator Pedal
                     SYNERGY DRIVE
                                              SAFETY RECALL FOLLOW-UP NOTICE (URGENT)
                                              UNDATED (NHTSA 12V536000)
                     2009 Prius with          2004-2009 Model Year Prius "Vehicles" [Prius II]
            November
      32             HYBRID                   C0T - Steering intermediate Extension Shaft (Phase 2) and
              2012
                     SYNERGY DRIVE            C0U - Hybrid Electric water Pump
                                              SAFETY RECALL NOTICE (Interim Notice)
                        2009 Prius with       UNDATED 2004-2009 Model Year Prius "Vehicles" [Prius II]
             January
      33                HYBRID                Combination Meter
              2013
                        SYNERGY DRIVE         WARRANTY ENHANCEMENT NOTICE
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 60 of 168 Page ID
                                 #:163559


  Table 6. Written "recall" and/or "warranty" misrepresentations for the subject adjudged rank
  infringing 2009 Prius with HYBRID SYNERGY DRIVE, mailed from adjudged rank infringer TMS,
  under color of the U.S. National Traffic and Motor Vehicle Safety Act


  136.      TMC, TMS, and TMNA intended the misrepresentations for people other than immediate

  purchaser(s), for their unconscionable retail sales tax certificates "placing wholesale dealers on

  notice that dealers intended to resell them." See Varwig v. Anderson-Bethel Porsche/Audi, Inc., 74

  Cal.App.3d 578, 141 Cal.Rptr. 539, 541(CITATION). The aforesaid 2009 Paice III memorandum

  opinion explicitly states that TMC, TMS, and TMNA were "voluntarily and intentionally" importing

  20,000 such adjudged rank infringing and fraudulently self-certified articles per month, despite being

  federal jury trial adjudged as without authority to "make, use, offer to sell, and/or sell" them, in

  accordance with Title 35 of the United States Code of Laws. TMC, TMS, and TMNA were aware of

  years of NHTSA complaints, knowing that NHTSA does not regulate foreign imported intentionally

  trafficked counterfeit, that alleged catastrophic failures in the adjudged rank infringing Prius brakes,

  "drive train," steering, and/or other combined or imitations of U.S. Patent 5,343,970 claims 11 and

  39 plainly disclosed attributes that were merely imitated in such undisclosed Japanese

  counterfeited, counterfeit marked, and extrinsically fraudulently misrepresented "self-certified"

  foreign imported Prius articles. TMC, TMS, and TMNA were being sued nationwide and in

  multidistrict litigation(s) for defective Prius "brakes" and/or "unintended acceleration" when such

  were truly utter imitation that were incapable of defect or assignment of title through UCC sale for

  conveyance to anyone. Yet, for such misrepresentations, the inapposite litigations were allowed to

  proceed for myriad tragic allegations, including but not limited to, horrific impact with trains at

  railroad crossings to wrecks to death(s) of Prius occupants.


  137.      The Defendants' misrepresentations and intentional disregard for the truth effectively

  concealed the aforesaid judgments and the Defendants' legal change in status to deny Plaintiff, Ms.

  Richard, and the public access to information that is highly relevant to a purchase decision and/or

  decision to employ a U.S. motor vehicle operator license to drive such undisclosed foreign imported
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 61 of 168 Page ID
                                 #:163560



  adjudged rank infringing, alleged counterfeit marked, and extrinsically fraudulently "self-certified"

  Prius with HYBRID SYNERGY DRIVE in the manner of a true NHTSA and FMVSS compliant motor

  vehicle on U.S. public streets, roads, and highways.

  138.      Each of the foregoing representations is material in that if Plaintiff, Ms. Richard, had been

  apprised of their falsity, she would not have entered into an automobile insurance contract for

  insuring or have applied her U.S. motor vehicle operator license for driving the subject foreign

  imported adjudged rank infringing 2009 Prius with HYBRID SYNERGY DRIVE.

  139.      In justifiable reliance (§ 537) on each and every foregoing willful, reckless, voluntary, and

  intentional misrepresentation made by the collective foregoing adjudged rank infringer Defendants,

  of and by their counsel(s), Plaintiff Ms. Richard suffered risk of death and actual irreparable serious

  bodily injury, irreparable competitive medical career injury, property damages, and other damages

  as proximately caused by the subject 3000lbs. weighing, foreign imported, undisclosed adjudged

  rank infringing 2009 Prius with HYBRID SYNERGY DRIVE, also known as "Prius II," for which the

  collective defendants in the above entitled action are jointly and severally liable for both pecuniary

  losses amounting to some [FIGURE] (Restatement 2nd of Torts § 525, § 526, § 531 at

  illustrations 4 & 5 and reference to § 304 and § 310 and § 311 and § 545A, § 552A first sentence

  of comment "a.", § 532, § 533, § 534, § 536, § 537) and for serious bodily injury (§ 310, § 331, §

  552A first sentence of comment "a.", and § 557A) to the Plaintiff, Ms. Richard.

                                                   Fraud

                                                CLAIM 28
                                              (Actual Fraud)

  140.      Plaintiff re-alleges and incorporates by reference the allegations contained in Paragraphs

  1 through 139 of this Complaint.

  141.      The Defendants TMC, TMS, TEMA, TMNA, AISIN, AISIN-AW, DENSO, TICO, TOYOFUJI,

  TTCO, MITSUI (collectively the "Toyota Enterprise Defendants"), in privity with the adjudged alien

  rank U.S. Patent 5,343,970 infringer TMC and TMS and TMNA, in privity with the adjudged alien
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 62 of 168 Page ID
                                 #:163561



  criminals AISIN and DENSO, of and by their counsel(s), that the 2006 federal jury trial verdict in

  Paice I as affirmed in Paice II and Paice III establishes to be without authority to "make, use, offer to

  sell, and/or sell" the foreign imported adjudged rank infringing "Prius II" during the federal protection

  of U.S. Patent 5,343,970, did willfully, recklessly, voluntarily, and intentionally infringe U.S. Patent

  5,343,970 claims 11 and 39, by manufacturing and/or importing, or by "making, using, offering to

  sell, and/or selling" in the United States the subject 3000lbs. weighing, foreign imported,

  undisclosed adjudged rank infringing 2009 Prius with HYBRID SYNERGY DRIVE, also known as

  "Prius II," and then extrinsically fraudulently "self-certify" it to be a NHTSA and FMVSS comporting

  passenger car/motor vehicle, for which they are liable to the Plaintiff, Ms. Richard, for fraud.

  142.      Under Indiana law a Defendant is liable for fraud if there is: (1) a material

  misrepresentation of past or existing fact by the party to be charged; which (2) was false, (3) was

  made with knowledge or in reckless ignorance of the falsity, (4) was relied upon by the complaining

  party, and (5) proximately caused the complaining party injury. Darst v. Illinois Farmers Ins. Co.,

  716 N.E.2d 579, 581 (Ind. Ct. App. 1999), trans. Denied (2000).

  143.      Adjudged alien rank infringer TMC and TMS and TMNA were found by federal jury trial

  verdict judgment in 2006 to infringe the U.S. Patent 5,343,970 claims 11 and 39 as upheld on

  appeal and cross appeal in 2007. In 2008 the adjudged rank infringer Defendants and those in

  privity with them, of and by their counsel(s), sold the said subject 3000lbs. weighing, foreign

  imported, undisclosed adjudged rank infringing 2009 identically named Prius with HYBRID

  SYNERGY DRIVE, also known as "infringing Prius II," that they were without authority to "make,

  use, offer to sell, and/or sell" on U.S. soil under Art. III jurisdiction under U.S. law, and were

  adjudged to have had no title in any such thing to convey to anyone on Uniform Commercial Code

  lawfully defined sale.

  144.      The adjudged alien rank infringer TMC applied the spurious and/or HYBRID SYNERGY

  DRIVE marks that infringe nine of the ten U.S. Patent 5,343,970 holder's HYPERDRIVE™ word

  mark trademark letters that was presented to both houses of the U.S. Congress, the U.S. Senate on
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 63 of 168 Page ID
                                 #:163562



  December 6, 2001 and the U.S. House of Representatives in 2002 in connection with federally

  protected U.S. Patent 5,343,970 disclosed intellectual property, to the power control unit, rear door,

  and "Quick Reference Guide" documentation of the said subject 3000lbs. weighing, foreign

  imported, undisclosed adjudged rank infringing 2009 Prius with HYBRID SYNERGY DRIVE, which

  caused confusion, mistake, and deceit.

  145.       The adjudged alien rank infringer TMC extrinsically fraudulently "self-certified" the subject

  3000lbs. weighing, foreign imported, undisclosed adjudged rank infringing 2009 Prius with HYBRID

  SYNERGY DRIVE, in which it had no title to transfer, was without authority to "make, use, offer to

  sell, and/or sell" on U.S. soil, and had counterfeit and/or spuriously marked with HYBRID

  SYNERGY DRIVE to be a NHTSA and FMVSS comporting passenger car/motor vehicle, when it

  was not.

  146.       An April 17, 2009, dated memorandum from the federal jury trial court indicates that the

  adjudged alien rank infringer Defendant(s) sold some 240,000 ("over 20,000 per month in 2008.") of

  the said 3000lbs. weighing, foreign imported, undisclosed adjudged rank infringing 2009 Prius with

  HYBRID SYNERGY DRIVE and notes wholesale cost of $20,419 per such Prius, which multiplies to

  over $4.9 billion in 2009 Prius with HYBRID SYNERGY DRIVE base model revenue, alone, to

  which the adjudged alien rank infringer(s) are not entitled, which the adjudged alien rank infringer(s)

  have used in furtherance of that which they are not entitled.

  147.       Plaintiff Ms. Richard relied on the collective foregoing Defendants' false marketing,

  advertising, packaging, and labeling of the said 3000lbs. weighing, foreign imported, undisclosed

  adjudged rank infringing 2009 Prius with HYBRID SYNERGY DRIVE that breached U.S. borders

  and was distributed interstate, and in justifiable reliance thereon, applied her U.S. motor vehicle

  operator license to use the undisclosed adjudged rank infringing 2009 Prius with HYBRID

  SYNERGY DRIVE in the manner of a NHTSA and FMVSS comporting passenger car/motor vehicle

  on U.S. Interstate 65 near mile marker 115.2 in Indianapolis, Indiana, on December 8, 2013, to her

  detriment.
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 64 of 168 Page ID
                                 #:163563



  148.       The foregoing fraud proximately caused Plaintiff, Ms. Richard, to suffer risk of death in

  multiple impacts of a some 3000lbs. weighing foreign imported undisclosed adjudged rank infringing

  Prius and actual irreparable serious bodily injury, irreparable competitive medical career injury,

  property damages, and other damages, for which the collective defendants in the above entitled

  action are jointly and severally liable to the Plaintiff, Ms. Richard.

                                              Unjust Enrichment

                                                    CLAIM 29


  149.       Plaintiff re-alleges and incorporates by reference the allegations contained in Paragraphs

  1 through 148 of this Complaint.

  150.    The Defendants TMC, TMS, TEMA, TMNA, AISIN, AISIN-AW, DENSO, TICO, TOYOFUJI,

  TTCO, and MITSUI, in privity with the adjudged alien rank U.S. Patent 5,343,970 infringer TMC and

  TMS and TMNA, in privity with the adjudged alien criminals AISIN and DENSO, of and by their

  counsel(s), did willfully, recklessly, voluntarily, intentionally, and fraudulently (1) "self-certify" the

  subject 2009 Prius as U.S. National Highway Traffic Safety Administration ("NHTSA") and U.S.

  Federal Motor Vehicle Safety Standard comporting ("FMVSS") passenger car/motor vehicle, when it

  was not, (2) knowingly use HYBRID SYNERGY DRIVE infringing word and/or dressed marks that

  are spurious and/or counterfeit and infringe nine of the ten letters in the HYPERDRIVE™ word mark

  trademark on and in connection with it the subject 2009 Prius, among other foreign imported

  articles, to cause confusion, mistake, and/or deceit, and (3) offer the collective extrinsically

  fraudulently identified and counterfeit marked whole for "sale" without any title in it or authority to do

  so.

  151.       By unconstitutionally receiving tens of thousands of U.S. dollars for such 2009 Prius,

  among other foreign imported articles, as drawn on U.S. banks and/or commercial advantage and/

  or private financial gain for such 2009 Prius, among other foreign imported articles, TMC, TMS, and

  TMNA have, thereby, been unjustly enriched to the detriment of Plaintiff, Ms. Richard, among
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 65 of 168 Page ID
                                 #:163564



  others.

  152.      Public documents dated 2010 that indicate that the Defendants sold 75% of hybrid

  vehicles in the U.S.A., which Paice I, Paice II, and Paice III establishes that they were without

  authority to "make, use, offer to sell, and/or sell," in accordance with an U.S. International Trade

  Commission administrative law judge qualifying infringement as applicable to " . . . any system that

  infringes the '970 patent, including but not limited to the 2004 model year and later Toyota Prius, the

  toyota Highlander hybrid, the Lexus RX 400h and all other vehicles or systems substantially

  embodying what is variously termed the Hybrid Synergy Drive or Toyota Hybrid System II ("THS II")

  and colorable imitations thereof;")(emphasis added).)"

  153.      Furthermore, court records indicate that through AISIN, TMC licensed the technology that

  it was without authority to "make, use, offer to sell, and/or sell" to Ford Motor Company, which may

  have been beset by unintended acceleration litigation. Court records further indicate criminal

  litigation against TMC's wholly owned and operated AISIN by General Motors Company, Nissan

  Motor Co., Ltd., Volvo Car Corporation, BMW AG, with specific regard to engine VVT parts, which

  exist in the "infringing Prius," the hybrid system of which AISIN advertised to have developed for

  TMC, TMS, and TMNA. General Motors Company was in a partnership with TMC, TMS, and TMNA

  during the development of the adjudged rank "infringing Prius II."

  154.      With the 2009 Eastern District of Texas indicating that TMC, TMS, and TMNA were selling

  20,000 "infringing Prius II" per month, or 240,000 per year, which exceeds the number that the

  Toyota Enterprise Defendants were publicly representing that they sold, there is reason to believe

  that the aggregate sold by TMC, TMS, and TMNA (including Lexus), including those licensed

  "colorable imitations thereof" by Ford Motor Company and/or General Motors company (including

  Saturn) that may collectively infringe and/or imitate the federally protected U.S. Patent 5,343,970

  claims 11 and 39, which TMC, TMS, and TMNA were also "without authority to make, use, offer to

  sell, and/or sell" would amount to a TMC, TMS, and TMNA monopoly on foreign imported adjudged

  rank infringing articles, if such were bona fide "goods," which they are not.
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 66 of 168 Page ID
                                 #:163565



  155.      As the U.S. Federal Reserve implies with currency counterfeiting, the greatest damage is

  done in ongoing subsequent transactions with the counterfeit U.S. denominated bills. Whereas, the

  largest denomination of bill in that paradigm is $100.00USD, the above entitled action involves the

  analogue damage equivalent of TMC, TMS, and TMNA entering a single $15,000.00USD

  denominated counterfeit bill or higher into U.S. circulation for such funds drawn on U.S. banks to

  adjudged alien rank infringers for a counterfeit "HYBRID ELECTRIC VEHICLE," after having already

  previously circulated such counterfeit for $30,000 and $25,000, and $20,000 . . . at risk of U.S.

  consumers and/or guests.

  156.      The Petitioner in Romag v. Fossil set forth that the Fifth Circuit stated in Quick

  Technologies, Inc. v. Sage Group PLC, 313 F.3d 338 (5th Cir. 2002) that "willful [trademark]

  infringement is an important factor which must be considered when determining whether an

  accounting of profits is appropriate." Id. at 349. But the court "decline[d] to adopt a bright-line rule"

  that would require willfulness as a prerequisite to recover profits. Instead, the court outlined a

  "factor based approach," under which a defendant's "intent to confuse or deceive" is just one

  consideration relevant to whether an award of profits is appropriate. Id. at 348-49.

  157.      Similarly in the Eleventh circuit, "an accounting of a defendant's profits is appropriate

  where 91) the defendant's conduct was willful and deliberate, (2) the defendant was unjustly

  enriched, or (3) it is necessary to deter future conduct." Optimum Techs., Inc. v. Home Depot

  U.S.A., Inc., 217 F. App'x 899,902 (11th Cir. 2007)(emphasis added.) The Seventh Circuit has also

  held that, "[o]ther than general equitable considerations, there is no express requirement that . . .

  the infringer wilfully [sic] infringe the trade dress to justify an award of profits." Roulo v. Russ Berrie

  & Co., Inc., 866 F.2d 931, 941 (7th Cir. 1989)."

  158.      The Defendants undertook to intentionally unjustly enrich themselves by multibillions of

  U.S. dollars, in offering to sell the subject foreign imported adjudged rank infringing 2009 Prius with

  HYBRID SYNERGY DRIVE that they were without authority to "make, use, offer to sell, and/or sell,"

  on U.S. soil under the U.S. Judiciary's U.S. Art. III jurisdiction. This proximately caused serious
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 67 of 168 Page ID
                                 #:163566



  bodily injury, irreparable competitive medical career injury, property damages, and other damages,

  and great economic cost to Ms. Richard's public environment in addition to her extreme mental

  anguish and extreme physical pain, for the subject foreign imported 2009 Prius with HYBRID

  SYNERGY DRIVE's 3000lbs. of merely imitation braking and acceleration and flow of electrical

  energy to deploy airbags disclosed in U.S. Patent 5,343,970, among other things, and mere

  imitation of the steering disclosed in HYPERDRIVE™, that collectively failed with Ms. Richard

  seated inside of it, on U.S. Interstate-65 near mile marker 115.2 in Indianapolis, Indiana, for which

  the collective defendants are jointly and severally liable to her.

                                          RESTITUTION ACTION

                                               CLAIMS 30 - 41

                      FOR EXCEPTION TO PERFORMANCE ON AN
          UNENFORCEABLE MOTOR VEHICLE DEALER PURCHASE ORDER CONTRACT
                           FOR PUBLIC POLICY REASONS

  159.      Plaintiff re-alleges and incorporates by reference the allegations contained in Paragraphs

  1 through 158 of this Complaint.

  160.      The Defendants TMC, TMS, TEMA, TMNA, AISIN, AISIN-AW, DENSO, TICO, TOYOFUJI,

  TTCO, and MITSUI, in privity with the adjudged alien rank U.S. Patent 5,343,970 infringer TMC and

  TMS and TMNA, in privity with the adjudged alien criminals AISIN and DENSO, of and by their

  counsel(s), that the aforesaid 2006 federal jury trial verdict judgment establishes to be without

  authority to "make, use, offer to sell, and/or sell" the foreign imported adjudged rank infringing "Prius

  II" during the federal protection of U.S. Patent 5,343,970, did willfully, recklessly, voluntarily, and

  intentionally infringe U.S. Patent 5,343,970 claims 11 and 39, by manufacturing and/or importing, or

  by "making, using, offering to sell, and/or selling" in the United States the subject 3000lbs. weighing,

  foreign imported, undisclosed adjudged rank infringing 2009 Prius with HYBRID SYNERGY DRIVE,

  also known as "Prius II," and then extrinsically fraudulently "self-certifying" it to be a NHTSA and

  FMVSS comporting passenger car/motor vehicle to breach U.S. borders and distribute interstate for

  commercial advantage and/or private financial gain through their unlawful sale at U.S. motor vehicle
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 68 of 168 Page ID
                                 #:163567



  dealerships.

  161.      The subject undisclosed adjudged rank U.S. Patent 5,343,970 "infringing" 2009 "Prius II"

  was named to a motor vehicle Dealer Purchase Order Contract for the sale of motor vehicles, which

  made the contract of the unenforceable variety on grounds of public policy, for the aforesaid prior

  patent infringement judgment(s) denoting that it was not legally feasible for anyone on U.S. soil to

  own such 2009 "Prius II," including the Butler Hyundai seller, for the adjuged alien rank infringers

  TMC, TMS, and TMNA having never lawfully held title in such 2009 "Prius II" to transfer to anyone

  by definitive Uniform Commercial Code "sale." See Restatement, Second, of Contracts § 8 at

  comment "b."

  162.      However, an exception to unenforceability applies in the above entitled action, because of

  the adjuged alien rank infringer Defendants intentionally fraudulent and material misrepresentation

  (Restatement, Second, of Contracts § 162(1)) of the undisclosed adjudged rank "infringing Prius II,"

  for "self-certifying" it as a NHTSA and FMVSS comporting passenger car, for which there was "part

  or full performance and reliance" by the aggrieved Plaintiff, Ms. Richard, that in justifiable reliance

  on the misrepresentation applied U.S. licensed motor vehicle operator skills to drive such "infringing

  Prius II" on U.S. public streets, roads, and highways in the manner of a true motor vehicle, when it

  was not, to her serious bodily injury, property damages, and other detriment. See Restatement,

  Second, of Contracts § 138 at comment "c."

  163.      The fraudulent misrepresentation was material in that there would have been no purchase

  of the "infringing Prius II" and Plaintiff, Ms. Richard, would not have applied U.S. motor vehicle

  operator license education and covenants to drive such "infringing Prius II," that was not a motor

  vehicle and that adjudged alien rank infringers TMC, TMS, and TMNA, and those in privity with

  them, were without authority to "make, use, offer to sell, and/or sell" on U.S. soil under U.S. law

  under U.S. CONST. Art. I and Art III Judiciary jurisdiction, if TMC, TMS, and TMNA had disclosed

  their changed status and that of the "infringing Prius II" in full truth and honesty.

  164.      The alleged motor vehicle "property" on the Dealer Purchase Order contract is the subject
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 69 of 168 Page ID
                                 #:163568



  2009 Toyota Prius [with HYBRID SYNERGY DRIVE] with Vehicle Identification Number

  JTDKB20U993486580, which was named as "infringing Prius II" as early as a 2006 dated judgment

  for patent infringement to the effect that "Toyota" had no title in such "infringing Prius II" and was

  without authority to "make, use, offer to sell, and/or sell" it, for violation of U.S. CONST. Art. I, § 8, cl.

  8, Acts for the Useful Arts promulgated thereunder, and rules promulgated thereunder at Titles 19

  and 35 of the United States Code of laws, among others.

  165.       Infringers are not entitled to any revenue for any article in which they never held any title.

  Therefore Plaintiff as the aggrieved party seeks restitution of all performance by all parties involved

  in the Dealer Purchase Order contract relating to the foreign imported subject 2009 Prius with

  HYBRID SYNERGY DRIVE in the above entitled action, which are the Dealer, Purchaser (or

  assigns), Government, Document Processing entities, Title processing, Retail Installment Contract

  Lender, and Automobile/Motor Vehicle Insurer, among others that are to wit:

                                 I. RELIANCE: DEALER TO PURCHASER
                                  ($10,890.00 and $10,890.00, or $21,780)

   166.      CLAIM 30: Dealer performed on the Purchase Order contract on behalf of the Purchaser
  (and/or assigns) by offering truly undisclosed foreign imported adjudged rank "infringing Prius II"
  that is not a vehicle, at a taxable price of $10,890.00. As the aggrieved party, Plaintiff, Ms. Richard,
  seeks full restitution of $10,890.00 contract performance by the Dealer, from that adjudged alien
  rank infringer Defendants, that has and/or had a relationship with the adjudged alien rank infringers/
  formerly "Manufacturer" as disclosed in clause 1 of the motor vehicle Dealer Purchase Order
  contract, that are the identical Defendants, for which the collective defendants are jointly and
  severally liable to her.

   167.    CLAIM 31: Purchaser (or assigns) performed in two steps on the contract to the Dealer,
  among others, for truly undisclosed foreign imported adjudged rank "infringing Prius II" that is not a
  vehicle:
       A. CASH PAID -
           The Purchase Order contract discloses a $5,800 (cash) credit that the Purchaser
           paid in performance to the Dealer, for which the aggrieved Plaintiff seeks full restitution.
       B. PURCHASE ORDER CONTRACT FINANCING -
                Clause 13 of the Purchase Order contract "ADDITIONAL TERMS AND
                CONDITIONS" says:

                  "The Purchase, before or at the time of delivery of the motor vehicle covered by this
                  Order will execute such forms of agreement or documents as may be required by the
                  terms and conditions of payment indicated on the front of this Order."

                  Clause 13 of the Purchase Order contract "ADDITIONAL TERMS AND
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 70 of 168 Page ID
                                 #:163569


              CONDITIONS" provides:

              "If a charge for Creditor Life Insurance is included in this Order the provisions on
              Creditor Life Insurance in any retail installment contract form subsequently executed
              between the parties hereto in conjunction with this Order shall be fully effective. If
              such insurance is unavailable or partly unavailable under the designated policy, the
              applicable portion of the charge for Creditor Life Insurance specified herein, and the
              finance charge thereon, may be deducted from the Total Time Balance and credited
              to the Purchaser. If such insurance does not become effective, notice thereof will be
              sent to the purchaser by the Dealer and this Order and any retail installment contract
              executed in conjunction therewith shall otherwise remain fully effective."

              As no Creditor Life Insurance became effective, the Purchaser justifiably relied on
              the premise that the Purchase Order and concurrently executed "retail installment
              contract executed in conjunction therewith" were fully effective. The face of the
              Purchase Order contract discloses a $6052.30 "BALANCE TO FINANCE," for which
              the Purchaser performed by entering into a concurrently executed Purchase Order
              contract clause 13, or Retail Installment Contract at the Dealer comprising the
              following, among other things:
              a: Remaining $5,090.00 purchase price ($10,890 taxable price-$5,800
                    cash=$5,090) as Purchaser performance to the Dealer, for which the aggrieved
                    Plaintiff seeks full restitution, from the adjudged alien rank infringers.

                        II. RELIANCE: GOVERNMENT TO PURCHASER
                               ($762.30 and $762.30, or $1524.60)

  168.   CLAIM 32: Via the Dealer, the Government performed on the Purchase Order contract on
         behalf of the Purchaser (or assigns) by offering local, state, and federal protections and
         maintenance of public and streets roads and highways exclusively for motor vehicles, at a
         sales tax cost of $762.30 cost based on a taxable motor vehicle new sale transaction
         price of $10,890.00. As the aggrieved party, Plaintiff, Ms. Richard, seeks full restitution of
         $762.30 contract performance by the Government, from the adjudged alien rank
         infringers, because the Government does not encourage foreign corporations defrauding
         U.S. American citizens of $10,890 drawn on U.S. banks as the basis for collecting a mere
         $762.30 tax share to supplant the true motor vehicle industry with undisclosed and
         unconstitutional foreign imported adjudged rank "infringing Prius II" articles that may
         further be counterfeit marked and extrinsically fraudulently self-certified as U.S. National
         Highway Traffic Safety Administration ("NHTSA") and U.S. Federal Motor Vehicle Safety
         Standard ("FMVSS") comporting passenger cars/motor vehicles, when they are truly not
         vehicles of any kind, as actual colorable imitation, at best, which adjudged alien rank
         infringers, those in privity with them, of and by their counsel(s), are without authority to
         "make, use, offer to sell, and/or sell" in accordance with 35 U.S.C. § 271(a).

  169.   CLAIM 33: Purchaser (or assigns) performed on the the Purchase Order contract to the
         Government, among others, via the Dealer, for truly undisclosed foreign imported
         adjudged rank "infringing Prius II" that is not a vehicle. The face of the Purchase Order
         contract discloses a $6052.30 "BALANCE TO FINANCE," for which the Purchaser
         performed by entering into a concurrently executed Purchase Order contract clause 13, or
         Retail Installment Contract at the Dealer comprising the following, among other things:
     [B. PURCHASE ORDER CONTRACT FINANCING -]
              b: Sales tax in the amount of $762.30 as Purchaser performance to the
                    Government, for which the aggrieved Plaintiff seeks full restitution, from the
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 71 of 168 Page ID
                                 #:163570


                   adjudged alien rank infringers.

                  III. RELIANCE: DOCUMENT PROCESSING TO PURCHASER
                               ($150.00 and $150.00, or $300.00)

  170.   CLAIM 34: Via the Dealer, Document Processing entities performed on the Purchase
         Order contract on behalf of the Purchaser (or assigns), by rendering motor vehicle sale
         related documents, for truly undisclosed foreign imported adjudged rank "infringing Prius
         II" that is not a vehicle, at a cost of $150.00. As the aggrieved party, Plaintiff, Ms. Richard
         seeks full restitution of $150.00 contract performance by the Document Processing
         entities, from the adjudged alien rank infringers, because Document Processing entities
         may not lawfully process true motor vehicle documents for undisclosed and
         unconstitutional foreign imported adjudged rank "infringing Prius II" articles that are not
         motor vehicles and that adjudged alien rank infringers, those in privity with them, of and
         by their counsel(s), are without authorization to "make, use, offer to sell, and/or sell."

  171.   CLAIM 35: Purchaser (or assigns) performed on the the Purchase Order contract to the
         Document Processing entities, among others, for truly undisclosed foreign imported
         adjudged rank "infringing Prius II" that is not a vehicle. The face of the Purchase Order
         contract discloses a $6052.30 "BALANCE TO FINANCE," for which the Purchaser
         performed by entering into a concurrently executed Purchase Order contract clause 13, or
         Retail Installment Contract at the Dealer comprising the following, among other things:
     [B. PURCHASE ORDER CONTRACT FINANCING -]
              c: Document Processing fees in the amount of $150.00 as Purchaser performance
                    to the Document Processing entities, for which the aggrieved Plaintiff, Ms.
                    Richard, seeks full restitution, from the adjudged alien rank infringers.

                     IV. RELIANCE: TITLE PROCESSING TO PURCHASER
                               ($50.00 and $50.00, or $100.00)

  172.   CLAIM 36: Via the Dealer, Title Processing entities performed on the Purchase Order
         contract on behalf of the Purchaser (or assigns), by rendering motor vehicle title
         documents, for truly undisclosed foreign imported adjudged rank "infringing Prius II," in
         which the adjudged alien rank infringers had no title to convey to anyone via motor vehicle
         Dealer "sale," at a cost of $50.00. As the aggrieved party, Plaintiff, Ms. Richard seeks full
         restitution of $50.00 contract performance by the Title Processing entities, from the
         adjudged alien rank infringers, because Title Processing entities may not lawfully process
         true motor vehicle title documents for undisclosed and unconstitutional foreign imported
         adjudged rank "infringing Prius II" articles that are not motor vehicles and that adjudged
         alien rank infringers, those in privity with them, of and by their counsel(s), are without
         authority to "make, use, offer to sell, and/or sell."

  173.   CLAIM 37: Purchaser (or assigns) performed on the the Purchase Order contract to the
         Title Processing entities, among others, for truly undisclosed foreign imported
         adjudged rank "infringing Prius II" that is not a vehicle. The face of the Purchase Order
         contract discloses a $6052.30 "BALANCE TO FINANCE," for which the Purchaser
         performed by entering into a concurrently executed Purchase Order contract clause 13, or
         Retail Installment Contract at the Dealer comprising the following, among other things:
     [B. PURCHASE ORDER CONTRACT FINANCING -]
               d: Title Processing fees in the amount of $50.00 as Purchaser performance
                    to the Document Processing entities, for which the aggrieved Plaintiff, Ms.
                    Richard, seeks full restitution, from the adjudged alien rank infringers.
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 72 of 168 Page ID
                                 #:163571



                   V. RELIANCE: MOTOR VEHICLE RETAIL INSTALLMENT CONTRACT
                                      LENDER TO PURCHASER
                                ($9,288.60 and $9,288.60, or $18577.20)

  174.    CLAIM 38: Via the Dealer, a motor vehicle retail installment contract Lender, Wells Fargo
          Dealer Services, performed in justifiable reliance on the Purchase Order contract in the
          amount of $9,288.60 on behalf of the Purchaser (and/or assigns), by providing the
          $6052.30 "BALANCE TO FINANCE disclosed on the face of the Purchase Order contract
          comprising the foregoing:
              a: Remaining $5,090.00 purchase price
              b: Sales tax in the amount of $762.30
              c: Document Processing fees in the amount of $150.00
              d: Title Processing fees in the amount of $50.00

          at an expense of $3236.30 in finance charges comprising fees and interest, as wholly
          disclosed in the Purchase Order contract clause 13, or Retail Installment Contract Retail
          Installment Contract's Truth-In-Lending Disclosure, for truly undisclosed foreign imported
          adjudged rank "infringing Prius II." As the aggrieved party, Plaintiff, Ms. Richard seeks full
          restitution of $9,288.60 contract performance by the retail installment contract Lender,
          from the adjudged alien rank infringers, because motor vehicle retail installment contract
          Lenders may not lawfully finance undisclosed and unconstitutional foreign imported
          adjudged rank "infringing Prius II" articles, that are not motor vehicles and that adjudged
          alien rank infringers, those in privity with them, of and by their counsel(s), are without
          authority to "make, use, offer to sell, and/or sell."


  175.   CLAIM 39: Purchaser (or assigns) performed in three steps on the Purchase Order
         contract to the motor vehicle Retail Installment Contract Lender, among others, for truly
         undisclosed foreign imported adjudged rank "infringing Prius II" that is not a motor
         vehicle, among other things:
     [B. PURCHASE ORDER CONTRACT FINANCING -]
              e. RETAIL INSTALLMENT CONTRACT PAYMENTS:
                    Purchaser paid some $2786.58 in performance to the the Purchase Order
                    contract clause 13, or Retail Installment Contract Retail Installment Contract
                    motor vehicle Retail Installment Contract Lender in accordance with the Truth-
                    In-Lending Disclosure payment schedule (only eighteen (18) of the 60 agreed
                    payments of $154.81, from 07/08/2012 to 12/08/2013 date of incident), to partly
                    finance undisclosed foreign imported adjudged rank "infringing Prius II," on the
                    face of the Purchase Order contract, that is not a vehicle, for which the
                    aggrieved Plaintiff seeks full restitution.
              f.    AUTOMOBILE/MOTOR VEHICLE INSURANCE (USAA) POLICY -
                    The face of Purchase Order contract clause 13, or Retail Installment Contract
                    clearly requires under the Insurance Disclosures section that:

                    "Property Insurance. You must insure the Property. You may purchase the
                    required insurance from any insurance company you choose or provide it
                    through an existing policy owned or controlled by you, if the insurance and
                    insurance company are reasonably acceptable to us. The collision coverage
                    deductible may not exceed $1000.00 . . . ."

                    The Purchase Order contract clause 13, or Retail Installment Contract clearly
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 73 of 168 Page ID
                                 #:163572


                 defines "Property" under the first paragraph of the section entitled Additional
                 Terms of the Sales Agreement as:

                 ""Property" means the Vehicle and all other property described in the
                 Description of Property and Additional Protections sections."

                 It further defines "Vehicle" as:

                 ""Vehicle" means each motor vehicle described in the Description of Property
                 section."

                 The alleged "Property" and/or "Vehicle" and/or "motor vehicle" in the description
                 of property section is the subject foreign imported adjudged rank infringing 2009
                 [Toyota] Prius with HYBRID SYNERGY DRIVE, that was counterfeit marked,
                 and extrinsically fraudulently "self-certified" by the adjudged alien rank
                 infringers.

                 In justifiable reliance thereon, the Purchaser and the supposed December 8,
                 2013 owner (see 49 U.S.C. § 30106(d)(2)(B) (2009) "Rented or leased motor
                 vehicle safety and responsibility. . . . (d) DEFINITIONS. - IN THIS SECTION,
                 THE FOLLOWING DEFINITIONS APPLY: . . . (2) OWNER. - The term "owner"
                 means a person who is - . . . (B) entitled to the use and possession of a motor
                 vehicle subject to a security interest in another person;") Plaintiff, Ms. Richard,
                 performed on the Purchase Order contract clause 13, or Retail Installment
                 Contract's Property Insurance clause by entering into an automobile/motor
                 vehicle insurance policy as motor vehicle operators of the insured subject
                 undisclosed unconstitutionally foreign imported adjudged rank infringing article.

                 After the Prius' total self-destruction with Plaintiff, Ms. Richard inside it, on the
                 December 8, 2013, date of incident, USAA in justifiable reliance performed on
                 the Purchase Order contract clause 13, or Retail Installment Contract Property
                 Insurance clause on behalf of the Purchaser (and/or assigns) to negotiate a
                 Lender reduction of the outstanding $6,502.02 ($9288.60 Lender Performance -
                 $2786.58 aforesaid) based on the fair market value of undisclosed foreign
                 imported adjudged rank "infringing Prius II" that is not a vehicle on December 8,
                 2013, just before the incident at issue:

                 i.    USAA made a payout of $4,835.54 toward the outstanding $6,502.02
                 ($9288.60 Lender Performance - $2786.58 aforesaid) as Purchase Order
                 contract clause 13, or Retail Installment Contract Property Insurance clause
                 Insurer performance to the Lender, for which the aggrieved Plaintiff seeks full
                 restitution, from the adjudged alien rank infringers.

                 ii. USAA negotiated/paid $1,666.48 ($6,502.02-$4,835.54) in UNREQUITED
                 CONTRACTUALLY AGREED UPON TIME (42 MONTHS OF FINANCE FEES)
                 FOR WHICH THERE WAS NO LONGER THE FOREIGN IMPORTED
                 UNDISCLOSED ADJUDGED RANK "INFRINGING PRIUS II" THAT WAS
                 NEVER A VEHICLE, for which the aggrieved Plaintiff seeks full restitution, from
                 the adjudged alien rank infringers.


             VI. RELIANCE: PROPERTY INSURANCE ENTITY TO PURCHASER
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 74 of 168 Page ID
                                 #:163573


                                   ($21302.84 and $21302.84, or $42605.68)

  176.   CLAIM 40: Via the Dealer, a Property Insurance entity, USAA, performed in justifiable
         reliance on the Dealer Purchase Order contract on behalf of the Purchaser (and/or
         assigns), pursuant to Purchase Order contract clause 13, or Retail Installment Contract
         Property Insurance clause Insurer performance, by providing Property Insurance, for
         undisclosed foreign imported adjudged rank "infringing Prius II," in which the adjudged
         alien rank infringer "Manufacturer(s)" had no title to convey to anyone via motor vehicle
         Dealer "sale," at a cost of $21302.84, for which Plaintiff, Ms. Richard seeks full
         restitution of $21302.84 contract performance by the Property Insurance entity,
         from the adjudged alien rank infringers, because motor vehicle and/or automobile
         Property Insurance entities may not lawfully insure undisclosed and unconstitutional
         foreign imported adjudged rank "infringing Prius II" articles, that are neither motor
         vehicles, nor automobiles and that adjudged alien rank infringers, those in privity with
         them, of and by their counsel(s), are without authority to "make, use, offer to sell, and/or
         sell." The Property Insurance entity's performance includes, but is not limited to:
               f.   AUTOMOBILE/MOTOR VEHICLE INSURANCE (USAA) POLICY -
                    i:    USAA insured/paid $4,835.54 of the remaining Purchaser's contractual
                          performance, by payment to the Lender on behalf of the Purchaser, for
                          which the aggrieved Plaintiff seeks full restitution, from the adjudged alien
                          rank infringers.
                    ii. USAA negotiated $1,666.48 on behalf of the Purchaser regarding Lender's
                          unrequited 42 mos. of finance fees, for which the aggrieved Plaintiff seeks
                          full restitution, from the adjudged alien rank infringers.
                    iii. USAA insured/paid $4,181.87 of the Purchaser's $15,088.60 contractually
                          valued undisclosed adjudged U.S. patent infringing foreign imported article
                          ($5,800 paid to Dealer on signing + $2,786.58 paid to Lender for 18 mos. +
                          $6,502.02 in unrequited above Lender payments = $15,088.60 Purchase
                          Price), by payment to the Purchaser after negotiating in a paradigm of the
                          Purchaser's alleged fair market value in the subject undisclosed adjudged
                          rank U.S. Patent infringing 2009 Prius, in the moment before the
                          December 8, 2013, date of incident, coupled with true motor vehicle
                          depreciation after signing, for which the aggrieved Plaintiff seeks full
                          restitution, from the adjudged alien rank infringers.
                    iv. USAA insured/paid $360.00 of the Purchaser's short term loss of use by
                          paying for a car rental, for which the aggrieved Plaintiff seeks full
                          restitution, from the adjudged alien rank infringers.
                    v.    USAA insured/paid $10,258.95 by payment to Plaintiff Ms. Richard's
                          medical providers, that requested some $42,324.23 in payment for medical
                          services rendered to Plaintiff, Ms. Richard, for serious bodily injuries as
                          proximately cause by blunt force trauma inflicted on her corporeal person
                          by the subject foreign imported undisclosed adjudged unconstitutional rank
                          "infringing Prius II" article, that self-destructed with Ms. Richard inside of it,
                          that was never a true motor vehicle, and that adjudged alien rank
                          infringers, those in privity with them, of and by their counsel(s), were
                          without authority to "make, use, offer to sell, and/or sell," for which the
                          aggrieved Plaintiff seeks full restitution, from the defendants.

  177.   CLAIM 41: Purchaser (and/or assigns) performed in six-month cyclic intervals on the
         Purchase Order contract clause 13, or Retail Installment Contract Property Insurance
         clause to the Insurer, for truly undisclosed foreign imported adjudged rank "infringing
         Prius II" that is not a motor vehicle, among other things:
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 75 of 168 Page ID
                                 #:163574


       [B. PURCHASE ORDER CONTRACT FINANCING -]
              f. AUTOMOBILE/MOTOR VEHICLE INSURANCE (USAA) POLICY -
                 Purchaser performed by paying the following time designated, contracted
                 Property Insurance policy premiums:
                      May 24, 2012, to May 29, 2012 = to be determined
                      May 29, 2012, to July 25, 2012 = $464.08
                      July 25, 2012, to January 25, 2013 = $459.61
                      January 25, 2013, to July 25, 2013 = to be determined
                      July 25, 2013, to January 25, 2014 = $576.82
                 for which the aggrieved Plaintiff, Ms. Richard, seeks full restitution, from the
                 Defendants.

                      Purchaser also performed by (1) having diligently sought higher education in
                      the state of New York that has more stringent automobile insurance policy
                      governance for motor vehicle operators, (2) performed in the form of negotiating
                      unrequited time for the prematurely terminated "contract," and (3) performed
                      by providing the Dealer Purchase Order contract that is hereto attached for
                      Plaintiff, Ms. Richard, to seek full restitution in this claim from the Defendants in
                      the amount of the difference between $21302.84 that was covered under the
                      choice of policy for a motor vehicle and the foregoing premiums actually paid to
                      the Insurer from the May 24, 2012 date of purchase through January 24, 2014,
                      that is to be determined.

  178.      The foregoing claims to the relatively complete Dealer Purchase Order contract, with its

  "several [attached] writings (see Restatement, Second, of contracts § 132)," is "a contract that is not

  to be performed within one year from the making thereof (the one-year provision)." See

  Restatement, Second, of Contracts § 110(1)(e). This is precisely the case, not only for the sixty-

  month interval specified by the Retail Installment Contract attached to the Dealer Purchase Order

  contract or the likewise attached annually recurrent Property Insurance, but for the fact that the

  "Manufacturer," as disclosed in clause 1 of the motor vehicle Dealer Purchase Order

  contract, never did hold any title, original or otherwise, in UNDISCLOSED adjudged patent

  infringing foreign imported articles named on the contract, to convey to any Dealer at any

  time from the making thereof [and/or prior thereto]. Utter lack of any title, whatsoever,

  specifically renders the instant Purchase Order contract to be "a contract that is not to be

  performed" ever. See U.C.C. § 2-106 and/or Indiana Code 26-1-2-106(1)(2017)["A "sale" consists

  in the passing of title from the seller to the buyer for a price. See Indiana Code 26-1-2-401 ["Sec.

  401. Each provision of IC 26-1-2 with regard to the rights, obligations, and remedies of the seller,

  the buyer, purchasers, or other third parties applies irrespective of title to the goods, except where
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 76 of 168 Page ID
                                 #:163575



  the provision refers to such title."]."

  179.         An exception to unenforceability applies "where denial of enforcement would be unjust

  because of part or full performance or other reliance by the aggrieved party." See Restatement,

  Second, of Contracts §§ 8 at comment "b." and 138, at comment "c."

  180.         There are special considerations when:

         "(1) A promise or other term of an agreement is unenforceable on grounds of public
         policy if legislation provides that it is unenforceable or the interest in its enforcement is
         clearly outweighed in the circumstances by a public policy against the enforcement of
         such terms" See Restatement, Second, of Contracts § 178(1) and comment "e."

  181.         Plaintiff, Ms. Richard, is party to the Dealer Purchase Order contract as the Purchaser,

  Annette Richard's, "assigns," and for the contract's Property Insurance contingency is explicitly

  identified in the Property Insurance policy as an "Operator," and as the Purchaser's sister, who

  suffered serious bodily injury, irreparable competitive medical career injury, property damages, and

  other damages, and great economic cost to Ms. Richard's public environment in addition to her

  extreme mental anguish and extreme physical pain, for the subject foreign imported 2009 Prius with

  HYBRID SYNERGY DRIVE's 3000lbs. of merely imitation braking and acceleration and flow of

  electrical energy to deploy airbags disclosed in U.S. Patent 5,343,970, among other things, and

  mere imitation of the steering disclosed in HYPERDRIVE™, that is collectively and extrinsically

  fraudulently represented in the Dealer Purchase Order Contract as the "[motor vehicle] Property,"

  that collectively failed with Ms. Richard seated inside of it, on U.S. Interstate-65 near mile marker

  115.2 in Indianapolis, Indiana, for which the collective defendants are jointly and severally liable to

  her.

                                                      Assault

  182.         Plaintiff re-alleges and incorporates by reference the allegations contained in Paragraphs

  1 through 181 of this Complaint.

  183.         The Defendants TMC, TMS, TEMA, TMNA, AISIN, AISIN-AW, DENSO, TICO, TOYOFUJI,

  TTCO, MITSUI (collectively the "Toyota Enterprise Defendants"), in privity with the adjudged alien
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 77 of 168 Page ID
                                 #:163576



  rank U.S. Patent 5,343,970 infringer TMC and TMS and TMNA, in privity with the adjudged alien

  criminals AISIN and DENSO, of and by their counsel(s), that the aforesaid 2006 federal jury trial

  verdict judgment establishes to be without authority to "make, use, offer to sell, and/or sell" the

  foreign imported adjudged rank infringing "Prius II" during the federal protection of U.S. Patent

  5,343,970, did willfully, recklessly, voluntarily, and intentionally infringe U.S. Patent 5,343,970 claims

  11 and 39, by manufacturing and/or importing, or by "making, using, offering to sell, and/or selling"

  in the United States the subject some 3000lbs. weighing, foreign imported, undisclosed adjudged

  rank infringing 2009 Prius with HYBRID SYNERGY DRIVE, also known as "Prius II," and then

  extrinsically fraudulently "self-certifying" it to be a NHTSA and FMVSS comporting passenger car/

  motor vehicle.

  184.       Plaintiff did not consent to the collective above named Defendants' actions.

  185.       The collective foregoing defendants thereby proximately caused Plaintiff, Ms. Richard to

  apprehend immediate and harmful blunt force trauma contact with the subject foreign imported 2009

  Prius with HYBRID SYNERGY DRIVE's 3000lbs. of merely imitation braking and acceleration and

  flow of electrical energy to deploy airbags disclosed in U.S. Patent 5,343,970, among other things,

  and mere imitation of the steering disclosed in HYPERDRIVE™, that collectively failed with Ms.

  Richard seated inside of it, on U.S. Interstate-65 in Indianapolis, Indiana near mile marker 115.2,

  when the collective above named defendants in privity with the adjudged alien rank infringer TMC

  and TMS and TMNA, of and by their counsel(s), were without authority to "make, use, offer to sell,

  and/or sell" any such thing, for which the collective defendants in the above entitled action are

  jointly and severally liable to the Plaintiff, Ms. Richard.

                                                    Battery

  186.       Plaintiff re-alleges and incorporates by reference the allegations contained in Paragraphs

  1 through 185 of this Complaint.

  187.       The Defendants TMC, TMS, TEMA, TMNA, AISIN, AISIN-AW, DENSO, TICO, TOYOFUJI,

  TTCO, MITSUI (collectively the "Toyota Enterprise Defendants"), in privity with the adjudged alien
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 78 of 168 Page ID
                                 #:163577



  rank U.S. Patent 5,343,970 infringer TMC and TMS and TMNA, in privity with the adjudged alien

  criminals AISIN and DENSO, of and by their counsel(s), that the aforesaid 2006 federal jury trial

  verdict judgment establishes to be without authority to "make, use, offer to sell, and/or sell" the

  foreign imported adjudged rank infringing "Prius II" during the federal protection of U.S. Patent

  5,343,970, did willfully, recklessly, voluntarily, and intentionally infringe U.S. Patent 5,343,970 claims

  11 and 39, by manufacturing by making, using, and/or selling in the United States the subject

  3000lbs. weighing, foreign imported, undisclosed adjudged rank infringing 2009 Prius with HYBRID

  SYNERGY DRIVE, also known as "Prius II," as an extrinsically fraudulently "self-certified" NHTSA

  and FMVSS comporting passenger car/motor vehicle, that battered and forcefully struck the

  Plaintiff, Ms. Richard's, human body to proximately cause her to suffer blunt force trauma in the

  course of the 2009 Prius failing to imitate the braking and acceleration and flow of electrical energy

  to deploy airbags disclosed in U.S. Patent 5,343,970 that the 2009 Prius infringes and failing to

  imitate the steering disclosed in HYPERDRIVE™ that the HYBRID SYNERGY DRIVE marks on the

  2009 Prius are alleged to infringes, on Interstate-65 near mile mark 115.2 in Indianapolis, Indiana,

  on December 8, 2013.

  188.      Plaintiff did not consent to the collective above named Defendants' actions.

  189.      The blunt force trauma proximately caused Plaintiff, Ms. Richard, to suffer risk of death

  and actual irreparable serious bodily injury, irreparable competitive medical career injury, property

  damages, and other damages, in addition to extreme mental anguish and extreme physical pain, for

  the subject foreign imported 2009 Prius with HYBRID SYNERGY DRIVE's 3000lbs. of merely

  imitation braking and acceleration and flow of electrical energy to deploy airbags disclosed in U.S.

  Patent 5,343,970, among other things, and mere imitation of the steering disclosed in

  HYPERDRIVE™, that collectively failed with Ms. Richard seated inside of it, on U.S. Interstate-65

  near mile marker 115.2, when the collective above named defendants in privity with the adjudged

  alien rank infringer TMC and TMS and TMNA, of and by their counsel(s), were without authority to

  "make, use, offer to sell, and/or sell" any such thing, for which the collective defendants in the above
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 79 of 168 Page ID
                                 #:163578



  entitled action are jointly and severally liable to the Plaintiff, Ms. Richard.

                        INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

  190.      Plaintiff re-alleges and incorporates by reference the allegations contained in Paragraphs

  1 through 189 of this Complaint.

  191.      The Defendants TMC, TMS, TEMA, TMNA, AISIN, AISIN-AW, DENSO, TICO, TOYOFUJI,

  TTCO, MITSUI (collectively the "Toyota Enterprise Defendants"), in privity with the adjudged alien

  rank U.S. Patent 5,343,970 infringer TMC and TMS and TMNA, in privity with the adjudged alien

  criminals AISIN and DENSO, of and by their counsel(s), engaged in extreme and outrageous

  conduct in that despite Paice I, Paice II, Paice III, and ITC Investigation 337-688 establishing that

  they were "without authority to make, use, offer to sell and/or sell" the subject foreign imported

  adjudged rank U.S. Patent 5,343,970 claims 11 and 39 "infringing [2009] Prius [II]" with HYBRID

  SYNERGY DRIVE, they willfully, recklessly, voluntarily, and intentionally disregarded the

  admonitions of humanity to infringe by manufacturing it anyway as some 3000lbs. of merely

  imitation braking and acceleration and flow of electrical energy to deploy airbags disclosed in U.S.

  Patent 5,343,970, that is non-motor vehicle among other things, and with mere imitation of the

  steering disclosed in HYPERDRIVE™, that collectively failed with Ms. Richard seated inside of it.

  192.    The Defendants, of and/or by their counsels feigned remedial domestic motor vehicle defect

  recalls, to evince a false sense of security in defrauding U.S. motor vehicle operators, while never

  remedying the counterfeit condition that proximately causes apprehension of risk of death and/or

  apprehension of serious bodily injury on U.S. public streets roads and highways, after feigning that

  such imitations are good for planet earth, when in reality they contribute to global warming.

  193.    Subsequent thereto, the Defendants, of and by their counsels, established a modus

  operandus of transferring cases arising from truly adjudged U.S. CONST. Art. I, § 8, cl. 8 violations

  in venues for U.S. motor vehicle defect, whereby they blame victims the defrauded judiciary grants

  the adjudged alien rank infringers access to U.S. citizens' privileged motor vehicle operator license

  information and HIPAA and Privacy Act protected medical vital statics and other sensitive asset
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 80 of 168 Page ID
                                 #:163579



  information, while blaming victims' inferior driving skills for their own demise in such undisclosed

  utter imitation that a federal jury already decided that they were "without authority to make, use,

  offer to sell, and/or sell."

  194.     The collective proximately caused serious bodily injury, irreparable competitive medical

  career injury, property damages, and other damages, and great economic cost to Ms. Richard's

  public environment in addition to her extreme mental anguish and extreme physical pain, for which

  the collective defendants are jointly and severally liable to her.


                                                   MALICE

  195.     Plaintiff re-alleges and incorporates by reference the allegations contained in Paragraphs 1

  through 194 of this Complaint.

  196.     The Defendants TMC, TMS, TEMA, TMNA, AISIN, AISIN-AW, DENSO, TICO, TOYOFUJI,

  TTCO, MITSUI (collectively the "Toyota Enterprise Defendants"), in privity with the adjudged alien

  rank U.S. Patent 5,343,970 infringer TMC and TMS and TMNA, in privity with the adjudged alien

  criminals AISIN and DENSO, of and by their counsel(s), engaged in the aforesaid conduct

  intentionally, maliciously, unjustifiably, wilfully, wantonly, recklessly, and in conscious, deliberate, and

  utter disregard of Plaintiff, Ms. Richard's, rights, for which the collective defendants are jointly and

  severally liable to her.


                                          REQUEST FOR RELIEF

   197. Plaintiff re-alleges and incorporates by reference the allegations contained in Paragraphs 1
  through 196 of this Complaint.

  WHEREFORE, Plaintiff requests that this Court render the following relief:
     (a) Grant the transfer of this case to the appropriate federal district court and/or appellate
         venue(s) of competent jurisdiction as necessary
     (b) Grant judgment in favor of Plaintiff and against the collective above named Defendants as
         demanded,
     (c) Grant temporary and permanent injunctive relief as is just and appropriate,
     (d) Grant all applicable remedies, monetary or otherwise in favor of the Plaintiff that are
         provided for by law, including the tolling of any and all applicable statues of limitations for
         the adjudged alien rank infringers' fraudulent concealment,
     (e) Award Plaintiff an appropriate amount in monetary damages to be determined at jury
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 81 of 168 Page ID
                                 #:163580


             trial, including pre- and post-judgment interest, for the Defendants' conduct that
             constitutes violations of the U.S. Constitutional, statutory and common laws cited herein
             to be determined at jury trial, including but not limited to medical and related expenses,
             property losses, past and future lost earnings, impairment of earning capacity, and pain
             and suffering,
       (f)   Where provided for by law, award Plaintiff treble damages against all Defendants, jointly
             and severally, in an amount in excess of $75,000 to be proven at trial together with
             prejudgment interest, costs, and any attorney's fees,
       (g)   Impose exemplary and/or punitive damages against the collective above named
             Defendants in an appropriate amount to be determined at trial,
       (h)   Grant the Plaintiff the right to amend this Complaint as necessary, and
       (i)   Grant Plaintiff such other relief as is just and appropriate.

                                        DEMAND FOR JURY TRIAL

  Plaintiff hereby requests a jury trial for all issues raised in this Complaint and a jury trial for the
  determination of damages.

  On information and belief, the foregoing is true and correct.

  Dated this 5th Day of November 2018


                                                              /s/ Joyce Richard
                                                   By: _______________________________
                                                       Joyce Richard
                                                       Plaintiff, in propria persona
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 82 of 168 Page ID
                                 #:163581




                   EXHIBIT 1
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 83 of 168 Page ID
                                 #:163582
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 84 of 168 Page ID
                                 #:163583
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 85 of 168 Page ID
                                 #:163584
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 86 of 168 Page ID
                                 #:163585
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 87 of 168 Page ID
                                 #:163586
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 88 of 168 Page ID
                                 #:163587
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 89 of 168 Page ID
                                 #:163588
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 90 of 168 Page ID
                                 #:163589
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 91 of 168 Page ID
                                 #:163590
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 92 of 168 Page ID
                                 #:163591
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 93 of 168 Page ID
                                 #:163592
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 94 of 168 Page ID
                                 #:163593
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 95 of 168 Page ID
                                 #:163594
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 96 of 168 Page ID
                                 #:163595
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 97 of 168 Page ID
                                 #:163596
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 98 of 168 Page ID
                                 #:163597
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 99 of 168 Page ID
                                 #:163598
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 100 of 168 Page ID
                                  #:163599
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 101 of 168 Page ID
                                  #:163600
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 102 of 168 Page ID
                                  #:163601
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 103 of 168 Page ID
                                  #:163602
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 104 of 168 Page ID
                                  #:163603
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 105 of 168 Page ID
                                  #:163604
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 106 of 168 Page ID
                                  #:163605
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 107 of 168 Page ID
                                  #:163606
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 108 of 168 Page ID
                                  #:163607
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 109 of 168 Page ID
                                  #:163608
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 110 of 168 Page ID
                                  #:163609




                 EXHIBIT 2
           Case 2:04-cv-00211-DF Document 1 Filed 06/08/04 Page 1 of 7
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 111 of 168 Page ID
                                    #:163610
           Case 2:04-cv-00211-DF Document 1 Filed 06/08/04 Page 2 of 7
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 112 of 168 Page ID
                                    #:163611
           Case 2:04-cv-00211-DF Document 1 Filed 06/08/04 Page 3 of 7
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 113 of 168 Page ID
                                    #:163612
           Case 2:04-cv-00211-DF Document 1 Filed 06/08/04 Page 4 of 7
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 114 of 168 Page ID
                                    #:163613
           Case 2:04-cv-00211-DF Document 1 Filed 06/08/04 Page 5 of 7
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 115 of 168 Page ID
                                    #:163614
           Case 2:04-cv-00211-DF Document 1 Filed 06/08/04 Page 6 of 7
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 116 of 168 Page ID
                                    #:163615
           Case 2:04-cv-00211-DF Document 1 Filed 06/08/04 Page 7 of 7
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 117 of 168 Page ID
                                    #:163616
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 118 of 168 Page ID
                                  #:163617




                     EXHBIT 3
   Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 119 of 168 Page ID
                                     #:163618
AO 451 (Rev. 12/12) Clerk’s Certification of a Judgment to be Registered in Another District


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                            Eastern District
                                                        __________  District of
                                                                             of Texas
                                                                                __________

                          PAICE, LLC                                           )
                             Plaintiff                                         )
                                v.                                             )               Civil Action No. 2:04-cv-211
     TOYOTA MOTOR CORPORATION, ET AL                                           )
                            Defendant                                          )


         CLERK’S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT


          I certify that the attached judgment is a copy of a judgment entered by this court on (date)                             08/16/2006   .

        I also certify that, as appears from this court's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is pending
before this court, the time for appeal has expired, and no appeal has been filed or, if one was filed, it is no longer
pending.


 Date:            08/09/2016
                                                                                               CLERK OF COURT



                                                                                                         Signature of Clerk or Deputy Clerk
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 120 of 168 Page ID
   !"#$%&'()*+,*((&--*./%%%.0+12$34%&&5%%%/67$8%(59-:9(:%%%;"<$%-%0=%&%;"<$>.%?'%%)@55
                                      #:163619



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

   PAICE LLC,                                        §
                                                     §
          Plaintiff,                                 §
                                                     §
   v.                                                §                   2:04-CV-211-DF
                                                     §
   TOYOTA MOTOR CORP., et al.,                       §
                                                     §
          Defendants.                                §

                                         FINAL JUDGMENT

          Pursuant to Rule 58 of the Federal Rules of Civil Procedure and in accordance with the

   jury verdict delivered on December 20, 2005 and with the Court’s contemporaneously filed

   Orders regarding Plaintiff’s Motion for Judgment as a Matter of Law or, in the Alternative, for a

   New Trial (Dkt. No. 209), Plaintiff’s Motion for Entry of an Injunction (Dkt. No. 207), and

   Defendants’ Motion for Judgment as a Matter of Law or in the Alternative, for a New Trial (Dkt.

   No. 208), the Court thereby enters judgment for Plaintiff Paice LLP and against Toyota Motor

   Corp., a Japanese Corporation, Toyota Motor North America Inc., and Toyota Motor Sales

   USA, Inc. (collectively “Defendants”) for infringement of U.S. Patent No. 5,343,970 (“the ‘970

   patent”), claims 11 and 39. IT IS THEREFORE ORDERED THAT Plaintiff shall have and

   recover from Defendants, jointly and severally, the total sum of $4,269,950.00, together with pre-

   judgment interest calculated at the prime rate, compounded annually, together with post-

   judgment interest on the entire sum calculated pursuant to 28 U.S.C. § 1961. The parties shall

   meet and confer in an attempt to reach agreement as to the calculation of pre-judgment interest at

   the prime rate and, within 14 days of the entry of this order, shall jointly submit such calculation


                                                    -1-
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 121 of 168 Page ID
   !"#$%&'()*+,*((&--*./%%%.0+12$34%&&5%%%/67$8%(59-:9(:%%%;"<$%&%0=%&%;"<$>.%?'%%)@5A
                                      #:163620



   to the Court. This Court retains jurisdiction to award Plaintiff amounts for pre-judgment interest.

          For the reasons stated in this Court’s contemporaneously filed order, Plaintiff’s motion

   for injunctive relief was denied. Defendants are hereby ORDERED, for the remaining life of the

   ‘970 patent, to pay Plaintiff an ongoing royalty of $25.00 per infringing Prius II, Toyota

   Highlander, or Lexus RX400H (the “infringing vehicles”). Royalties shall be paid quarterly and

   shall be accompanied by an accounting of the sales of infringing vehicles. Payments shall begin

   three months after the date of signing of this judgment and shall be made quarterly thereafter.

   The first payment shall include royalties for all infringing vehicles sold that were not accounted

   for in the jury’s verdict. Payments not made within 14 days of the due date shall accrue interest

   at the rate of 10%, compounded monthly. Plaintiff shall have the right to request audits. It is

   anticipated that the parties may wish to agree to more comprehensive or convenient terms. The

   parties shall promptly notify the Court of any such agreement. The Court maintains jurisdiction

   to enforce this portion of the Final Judgment.

          All relief not specifically granted herein is denied. All pending motions not previously

   ruled on are denied. This is a Final Judgment and is appealable.




                                                    -2-
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 122 of 168 Page ID
                                  #:163621




                   EXHIBIT 4
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 123 of 168 Page ID
                                  #:163622



   United States Court of Appeals for the Federal Circuit

                                     2006-1610, -1631


                                        PAICE LLC,

                                                        Plaintiff-Cross Appellant,

                                             v.

                           TOYOTA MOTOR CORPORATION,
                       TOYOTA MOTOR NORTH AMERICA, INC.,
                       and TOYOTA MOTOR SALES, U.S.A., INC.,

                                                        Defendants-Appellants.




          Ruffin B. Cordell, Fish & Richardson P.C., of Washington, DC, argued for
  plaintiff-cross appellant. With him on the brief were Ahmed J. Davis and Scott A.
  Elengold. Of counsel on the brief was Robert E. Hillman, of Boston, Massachusetts.

        George E. Badenoch, Kenyon & Kenyon, of New York, New York, argued for
  defendants-appellants. With him on the brief were John Flock and Thomas R. Makin.
  Of counsel on the brief was T. Cy Walker, of Washington, DC.

  Appealed from: United States District Court for the Eastern District of Texas

  Judge David J. Folsom
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 124 of 168 Page ID
                                  #:163623



   United States Court of Appeals for the Federal Circuit

                                      2006-1610, -1631


                                         PAICE LLC,

                                                          Plaintiff-Cross Appellant,


                                              v.


                            TOYOTA MOTOR CORPORATION,
                        TOYOTA MOTOR NORTH AMERICA, INC.,
                        and TOYOTA MOTOR SALES, U.S.A., INC.,

                                                          Defendants-Appellants.


                              __________________________

                             DECIDED: October 18, 2007
                             __________________________


  Before LOURIE, RADER, and PROST, Circuit Judges.

  Opinion for the court filed by Circuit Judge PROST. Opinion concurring in the result
  filed by Circuit Judge RADER.

  PROST, Circuit Judge.

         Defendants Toyota Motor Corporation, Toyota Motor North America, Inc., and

  Toyota Motor Sales, U.S.A., Inc. (collectively, “Toyota”) appeal a judgment by the

  United States District Court for the Eastern District of Texas that Toyota infringed claims

  11 and 39 of U.S. Patent No. 5,343,970 (“the ’970 patent”) owned by Paice LLC

  (“Paice”) under the doctrine of equivalents. Paice LLC v. Toyota Motors Corp., No.

  2:04-CV-211 (E.D. Tex. Aug. 16, 2006).           Paice cross-appeals the district court’s
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 125 of 168 Page ID
                                  #:163624


  judgment that Toyota did not literally infringe claims 11 and 39 of the ’970 patent, claim

  15 of the U.S. Patent No. 6,209,672 (“the ’672 patent”), and claims 1 and 2 of U.S.

  Patent No. 6,554,088 (“the ’088 patent”). 1       Paice also appeals the district court’s

  imposition of an ongoing royalty arrangement that allows Toyota to continue practicing

  the invention of the ’970 patent in exchange for a set royalty payment. For the reasons

  explained below, we affirm-in-part, vacate-in-part, and remand for further proceedings.

                                     I. BACKGROUND

                                      A. Patents in Suit

        The three patents at issue in this case relate to drive trains for hybrid electric

  vehicles. In a conventional automobile, the wheels are driven using torque (rotational

  force) supplied only by an internal combustion engine (“ICE” or “engine”). In hybrid

  electric vehicles, on the other hand, the wheels are driven using torque supplied by an

  ICE, an electric motor, or a combination of the two. This adds an additional layer of

  complexity because the relative torque contributions of the ICE and the electric motor

  must be combined and controlled.

        To that end, the drive train disclosed in the ’970 patent employs a

  microprocessor and a controllable torque transfer unit (“CTTU”) that accepts torque

  input from both the ICE and the electric motor:




        1
                 The ’088 patent is a continuation in part of the ’672 patent. In the
  proceedings below, the parties treated the disclosures of the ’672 patent and the ’088
  patents as being the same. Appellants’ Br. 15. Thus, for the sake of simplicity, we will
  refer primarily to the relevant portions of the ’672 patent and omit any parallel citations
  to the ’088 patent.


  2006-1610, -1631                            2
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 126 of 168 Page ID
                                  #:163625




  As shown in figure 11 of the ’970 patent, illustrated above, the ICE output shaft 86 and

  the electric motor output shaft 26 extend into the CTTU housing 92 and terminate at

  bevel gears 94 and 96, respectively, each of which mesh with two other bevel gears, 98

  and 100.

         In this embodiment, bevel gears 98 and 100 are equipped with microprocessor-

  controlled locking devices 106 for setting the gears’ rotational freedom, if any, relative to

  the housing.     ’970 patent, col. 15, ll. 50-53.        In one mode of operation the

  microprocessor locks the bevel gears, causing the housing and the drive shaft 30 to

  rotate about their horizontal axes in response to any torque provided by the output

  shafts of the ICE or electric motor (or both). Id. at col. 15, l. 64–col. 16, l. 3. In this

  “locked” mode of operation, the two shafts rotate at the same speed, although the

  amount of torque provided by the individual shafts may differ. See id. The CTTU’s

  microprocessor, by virtue of its ability to control the amount of torque provided at each

  shaft, is able to control the relative amounts of torque transferred from the ICE and the




  2006-1610, -1631                             3
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 127 of 168 Page ID
                                  #:163626


  electric motor to the drive shaft. See id. at col. 10, ll. 4-43. The microprocessor is able

  to do so by holding the inputs constant and merely sending control signals to the locking

  devices. For example, if the ICE is disengaged (and not providing any torque) while the

  bevel gears are locked, there is a one-to-one transfer of torque from the electric motor

  output shaft, through the CTTU, to the drive shaft. J.A. 1494. In another mode of

  operation (“differential mode”), however, the microprocessor releases the bevel gears

  such that they are free to rotate. ’970 patent, col. 16, ll. 11-27. If the ICE is disengaged

  in this mode, there is a one-to-two transfer of torque from the motor output shaft,

  through the CTTU, to the drive shaft. J.A. 1494.

         Claims 11 and 39 of the ’970 patent are relevant to this appeal. Because claim

  39 depends from claim 32, and because the issues we must decide do not implicate the

  additional limitation of claim 39, only claims 11 and 32 are reproduced below:

         11. A hybrid electric vehicle, comprising:

         two or more drive wheels receiving torque for propelling said vehicle from
         an output shaft, and a power unit supplying drive torque to said output
         shaft, said power unit comprising:

         a controllable torque transfer unit adapted to receive torque from two
         sources and transfer said torque to said output shaft;

         an engine adapted to consume combustible fuel and supply torque to said
         torque transfer unit;

         an AC electric motor adapted to receive electric energy from a battery and
         supply torque to said torque transfer unit, said motor being further adapted
         to be operable as a generator;

         a battery for supply of stored electric energy to said motor, and for
         receiving and storing electric energy from said motor when operated as a
         generator;

         solid state switching means for converting DC supplied by said battery to
         AC for supply to said electric motor, and for rectifying AC generated by



  2006-1610, -1631                             4
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 128 of 168 Page ID
                                  #:163627


        said motor when operated in a regenerative mode to provide DC to charge
        said battery; and

        a controller for controlling the operation of said engine, said electric motor,
        said solid state switching means, and said torque transfer unit, such that
        said torque transfer unit receives torque from either or both of said internal
        combustion engine and said electric motor and transmits torque therefrom
        to said drive wheels by way of said output shaft, and for controlling the
        relative contributions of the internal combustion engine and electric motor
        to the torque driving the wheels.

  ’970 patent, col. 23, ll. 36-68 (emphasis added).

        32. A hybrid electric vehicle, comprising:

        a controllable torque transfer unit, operable to transfer torque in three
        modes: (a) from either or both of two input shafts to an output member,
        said output member transmitting torque to drive wheels of said vehicle; (b)
        between said input shafts; and (c) from said output member to one or both
        of said input shafts;

        an electric motor adapted to apply torque to a first of said input shafts
        responsive to supplied electrical energy, said motor further being operable
        in a generator mode, to provide electrical energy when driven by torque
        transferred thereto via said first input shaft;

        a combustible-fuel-burning internal combustion engine adapted to apply
        torque to a second of said input shafts;

        a battery adapted to supply electrical energy to and store energy received
        from said electric motor; and

        a controller adapted to receive input commands from a driver of said
        vehicle to monitor operation of said vehicle and to control operation of said
        controllable torque transfer unit, said motor, and said internal combustion
        engine, wherein said controller comprises means for performing the
        following functions responsive to input commands and monitored
        operation of said vehicle:

               selecting an appropriate mode of operation of said vehicle from at
               least the following possible modes of operation:

                      low speed running;
                      steady state running;
                      acceleration or hill climbing;
                      battery charging;



  2006-1610, -1631                            5
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 129 of 168 Page ID
                                  #:163628
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 130 of 168 Page ID
                                  #:163629


  difference from the drive train of the ’970 patent is that the drive train of the ’672 and

  ’088 patents use “road load” to determine the proper combination of torque from the ICE

  and the electric motor. 2

                                      B. Accused Devices

         At issue in this appeal are hybrid electric vehicles sold by Toyota. Toyota’s first

  commercial hybrid electric vehicle, the “Prius I,” was sold in Japan beginning in 1997

  and in the United States beginning in 2000. In 2003, Toyota began marketing a newer-

  model, the “Prius II.” The drive train (or “transaxle unit”) of the Prius II—which is also

  present in another form in the Toyota Highlander and Lexus RX 400h 3 —is similar to the

  drive trains described in all three patents in suit in the sense that it, too, combines

  torque from an ICE with torque from an electric motor (“MG2” or “the traction motor”).

  However, instead of combining these torques using the ’970 patent’s lockable bevel

  gears or the ’672 and ’088 patents’ clutch, Toyota’s drive train is designed around a

  “planetary gear unit” (or “power-splitting device”), having a central “sun” gear that

  meshes with several “planetary” gears (supported by a “planetary carrier”), which in turn

  mesh with a peripheral ring gear:




         2
                Road load, expressed as a percentage of the ICE’s maximum torque
  output, is simply the amount of torque required to propel the vehicle at any give time.
         3
                The drive trains of the Toyota Highlander and the Lexus RX 400h do differ
  somewhat from the drive train of the Prius II. However, those differences are not
  relevant to the issues on appeal.


  2006-1610, -1631                            7
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 131 of 168 Page ID
                                  #:163630
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 132 of 168 Page ID
                                  #:163631


  ’970 patent, however, the transfer of torque through Toyota’s planetary gear unit cannot

  be varied; 72% of the torque provided by the ICE to the planetary carrier is always

  transferred to the ring gear. 4   J.A. 1497.    That fraction of the ICE torque is then

  combined with 100% of the torque provided by MG2. J.A. 1505. As such, Toyota’s

  microprocessor is only able to vary the amount of torque output to the drive shaft by

  varying the ICE and/or MG2 torque inputs; holding those inputs constant results in a

  constant torque output. J.A. 1577.

                           II. DISTRICT COURT PROCEEDINGS

         Paice initiated the instant action against Toyota on June 8, 2004, by filing a

  complaint in the United States District Court for the Eastern District of Texas alleging

  three counts of infringement—one count for each patent in suit—and requesting, inter

  alia, compensatory damages and a permanent injunction. On September 28, 2005, the

  district court issued a written opinion construing dozens of disputed claim terms. Paice

  LLC v. Toyota Motor Corp., No. 2:04-CV-211 (E.D. Tex. Sept. 28, 2005) (“Claim

  Construction Opinion”). Of primary importance to the issues on appeal is the court’s

  construction of “controllable torque transfer unit” (the CTTU limitation) as “a multi-input

  device or component that is controlled to transfer variable amounts of torque.” Id. slip

  op. at 17.

         On December 6, 2005, the district court commenced a ten-day jury trial during

  which both sides presented extensive evidence. Paice’s theory of the case, put before

  the jury largely through the expert testimony of Dr. Steven Nichols, was that the




         4
               The remaining 28% is always transferred to the sun gear.


  2006-1610, -1631                            9
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 133 of 168 Page ID
                                  #:163632
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 134 of 168 Page ID
                                  #:163633


  drive train does not satisfy the district court’s construction because there is no single

  “device or component” that can be characterized as “multi-input.” See J.A. 1497-98. 6

  Dr. Caulfield further testified that Toyota’s drive train does not satisfy the CTTU

  limitation because the flow of torque through the planetary gear unit cannot be altered

  from the 72/28 split discussed above, and therefore, cannot be “controlled to transfer

  variable amounts of torque.” J.A. 1505-06.

         At the end of the evidentiary presentation, the case was submitted to the jury.

  The jury concluded that Toyota’s drive train lacks a literal CTTU, but infringes claims 11

  and 39 of the ’970 patent under the doctrine of equivalents, see J.A. 4394; the jury

  found no infringement of the other asserted claims. Based on those findings, the jury

  awarded $4,269,950.00 to Paice as a reasonable royalty.




         6
                Q.      [By Mr. Badenoch on direct] When you say . . . summing at
         the ring and not across the physical device, what do you mean by that?
                A.      [By Dr. Caulfield] I would look at the ring as not a device, it’s
         a part. A ring can be compared to a shaft. There’s no difference between
         this shaft here, if we made it a foot long either way of exactly where it hits
         that particular planetary output. The results would be the same.
                        So, Mr. Cordell [through the testimony of Dr. Nichols], . . . is
         making his sum point where the two roads come together on literally the
         ring, which is a shaft. So, he’s summing into a physical part.
                        Now, no two ways about it. The planetary is a device. That
         green model [of the planetary gear unit] I have there is a device. In
         engineering you would call it a machine. It does basically split the torque.
         A torque coming into the carrier is sent out through the sun and then out
         through the ring. There’s splitting going on there. But that’s a device
         where he’s trying to sum is on a physical part, just a solid member.
                        ....
                        It’s very similar if I were to take two motors, tie them with two
         chains to the same shaft. That’s—the shaft is doing the summing, not the
         device.
  J.A. 1497-98 (emphases added).



  2006-1610, -1631                             11
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 135 of 168 Page ID
                                  #:163634


        On January 20, 2006, Toyota filed a motion for judgment as a matter of law

  (“JMOL”) seeking to overturn the jury’s limited finding of infringement. Paice filed its

  own motion for JMOL, seeking to overturn the jury’s finding of no literal infringement

  with respect to claims 11 and 39 of the ’970 patent, claim 15 of the ’672 patent, and

  claims 1 and 2 of the ’088 patent. The court denied both motions.

        Paice also moved for a permanent injunction to prevent Toyota from making,

  using, offering for sale, and selling within the United States the accused vehicles. In

  addressing that motion, the district court followed the traditional four-factor test

  mandated by the Supreme Court’s recent decision in eBay Inc. v. MercExchange,

  L.L.C., 126 S. Ct. 1837, 1839 (2006) (“A plaintiff must demonstrate: (1) that it has

  suffered an irreparable injury; (2) that remedies available at law, such as monetary

  damages, are inadequate to compensate for that injury; (3) that, considering the

  balance of hardships between the plaintiff and defendant, a remedy in equity is

  warranted; and (4) that the public interest would not be disserved by a permanent

  injunction.”). With respect to irreparable injury, Paice argued that the absence of an

  injunction would have an adverse effect on its ability to license the patented technology.

  The court rejected this argument, however, noting that Paice had only adduced vague

  testimony that the company was “sidelined” in its business dealings during litigation.

  Paice LLC v. Toyota Motors Corp., No. 2:04-CV-211, Docket No. 227, slip op. at 8 (E.D.

  Tex. Aug. 16, 2006). The court also pointed to evidence in the record suggesting that

  Paice’s inability to reach an agreement with Chrysler, for example, was due to public

  misrepresentations Paice allegedly made about its relationship with Chrysler, and was

  not due to the absence of an injunction. Id. Moreover, since Paice does not actually




  2006-1610, -1631                           12
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 136 of 168 Page ID
                                  #:163635


  manufacture any goods, the court concluded that there was no threat that Paice would

  lose name recognition or market share without an injunction. Id. slip op. at 9.

         Intertwined with its consideration of irreparable injury was the court’s analysis of

  the adequacy of monetary damages.          Given the relatively small reasonable royalty

  awarded by the jury—which amounted to approximately $25 per accused vehicle—in

  comparison to the overall value of the vehicles, the court concluded that monetary

  damages would suffice. Id. The adequacy of monetary damages was further bolstered,

  in the court’s opinion, by the fact that Paice had offered a license to Toyota during the

  post-trial period. Id. slip op. at 9-10.

         With regard to the balance of hardships, Paice contended that it “faces

  extinction” without an injunction, whereas Toyota would suffer “only minor economic

  losses.” This contention was rejected by the court because, in its view, an injunction

  against Toyota (1) would disrupt “related business, such as dealers and suppliers;” (2)

  could have an adverse effect on the “burgeoning hybrid market;” and (3) might damage

  Toyota’s reputation.     Id. slip op. at 10.    The court further concluded that Paice’s

  “extinction” argument was unsound because it was based on the rejected premise that

  “only injunctive relief [of the type requested] will lead to a successful licensing program.”

  Consequently, the court held that the balance of hardships favored Toyota. Id. Lastly,

  the court determined that the public interest favored neither party. Id. Accordingly, the

  court denied Paice’s motion for a permanent injunction. Id. slip op. at 11. However,

  rather than leaving the parties to their own devices with respect to any future acts of

  infringement, the court imposed an “ongoing royalty” of $25 per Prius II, Toyota

  Highlander, or Lexus RX400h vehicle sold by Toyota during the remaining life of the




  2006-1610, -1631                               13
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 137 of 168 Page ID
                                  #:163636


  patent and entered final judgment. Paice LLC v. Toyota Motors Corp., No. 2:04-CV-

  211, Docket No. 228, slip op. at 2 (E.D. Tex. Aug. 16, 2006).

         Toyota appeals the denial of its JMOL motion, and Paice cross-appeals both the

  denial of its JMOL motion, as well as the “ongoing royalty” imposed by the district

  court. 7 We have jurisdiction pursuant to 28 U.S.C. § 1295(a)(1).

                                III. STANDARD OF REVIEW

         Federal Rule of Civil Procedure 50(a)(1) provides that a court may grant a motion

  for JMOL only where “there is no legally sufficient evidentiary basis for a reasonable jury

  to find for [the non-movant].” “We review the district court's denial of a motion for JMOL

  without deference, applying the same standard employed by the district court.”

  Honeywell, Int’l Inc. v. Hamilton Sundstrand Corp., 370 F.3d 1131, 1139 (Fed. Cir.

  2004) (en banc). “Under this standard, we can reverse a denial of a motion for JMOL

  only if the jury’s factual findings are not supported by substantial evidence or if the legal

  conclusions implied from the jury’s verdict cannot in law be supported by those

  findings.” Cybor Corp. v. FAS Techs., 138 F.3d 1448, 1454 (Fed. Cir. 1998) (en banc).

         “The decision to grant or deny permanent injunctive relief is an act of equitable

  discretion by the district court, reviewable on appeal for abuse of discretion.” eBay, 126

  S. Ct. at 1839.




         7
               The district court’s refusal to enjoin Toyota altogether is not raised in
  Paice’s cross appeal. Appellee’s Br. 62 n.3.



  2006-1610, -1631                             14
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 138 of 168 Page ID
                                  #:163637


                                       IV. DISCUSSION

                                      A. Toyota’s Appeal

         We first address the issues raised in Toyota’s appeal of the district court’s denial

  of the motion for JMOL of noninfringement of claims 11 and 39 of the ’970 patent.

  According to Toyota, the jury’s finding of infringement of those claims under the doctrine

  of equivalents must be overturned for three reasons. We disagree.

                                1. Sufficiency of the Evidence

         First, Toyota argues that the expert testimony of Dr. Nichols was legally

  insufficient to support a finding of infringement under the doctrine of equivalents.

  Although Dr. Nichols testified before the jury for a day and a half, Toyota claims that the

  vast majority of his testimony was directed to literal infringement. Specifically, Toyota

  argues that Dr. Nichols explicitly marked the end of his extensive literal infringement

  testimony by answering in the affirmative when asked whether “[t]he opinion that [he

  had] expressed thus far . . . relate[d] to literal infringement.” J.A. 1218. Immediately

  thereafter, Toyota contends, Dr. Nichols explicitly transitioned to his equivalence

  testimony by again answering in the affirmative when asked whether he had “also

  formed an opinion with respect to the Doctrine of Equivalents.” Id.

         Following his answer to that question, the following brief exchange took place

  before the jury between counsel for Paice and Dr. Nichols:

         Q.      So, assuming that the controllable torque transfer unit is not literally
         infringed, have you found that . . . the accused vehicles satisfy this
         limitation under the doctrine of equivalents?

         A.     Yes. It is my opinion that they do.

         Q.    [C]ould you describe that for us by reference to the slide that we
         see on the screen, Slide 71?



  2006-1610, -1631                             15
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 139 of 168 Page ID
                                  #:163638



         A.       Well, this particular slide is the Doctrine of Equivalents analysis for
         the controllable torque transfer unit. I will say that I do believe that it is
         literally there. However, it provides the function that is to be provided. It
         provides controllable and variable amounts of torque from two sources to
         the drive wheels, and I believe that’s consistent with the claim construction
         of the Court.
                  The way in which it does that is it controls a set of gears to receive
         torque from two input shafts and transfer torque to the drive wheels.

         Q.     And what’s the result?

         A.     The results are control—that the vehicles control to direct torque
         flow between the motor, the engine and the drive . . . .

  Id. The “Slide 71” referenced by counsel for Paice contained a grid with three rows,

  with one row corresponding the function of the CTTU, one row corresponding to the way

  in which the CTTU performed that function, and one row corresponding to the result the

  CTTU achieved; and two columns, one corresponding to the ’970 patent and the other

  corresponding to the “Accused Toyota Vehicles.” In each of the grid’s six boxes, a red

  check mark indicated the presence of the function/way/result in both the CTTU and the

  “Accused Toyota Vehicles.”        This, Toyota says, was the extent of Dr. Nichols’s

  testimony on the subject.

         We have stated that “a patentee must . . . provide particularized testimony and

  linking argument . . . with respect to the function, way, result test when such evidence is

  presented to support a finding of infringement under the doctrine of equivalents.” Tex.

  Inst. v. Cypress Semiconductor Corp., 90 F.3d 1558, 1567 (Fed. Cir. 1996) (emphasis

  added). “Generalized testimony as to the overall similarity between the claims and the

  accused infringer’s product or process will not suffice.” Id. Under this standard, Dr.

  Nichols’s testimony was plainly sufficient. A careful review of the entire transcript from

  that portion of the trial evinces that the bulk of Dr. Nichols’s testimony was not limited to



  2006-1610, -1631                             16
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 140 of 168 Page ID
                                  #:163639


  literal infringement. While it is true that the excerpts pointed to by Toyota ostensibly

  draw a figurative line in the sand separating testimony concerning literal infringement

  from that concerning equivalence, we do not read Dr. Nichols’s testimony to say that

  every word he uttered from the time he took the stand until the moment he transitioned

  to the doctrine of equivalents related only to literal infringement. Rather, Dr. Nichols

  gave a substantial amount of testimony—occupying over seventy pages of transcript—

  concerning the technology disclosed in the patents and the inner workings of the

  accused vehicles’ transaxle units before he even discussed the topic of infringement at

  all:

         Q.   Now, Dr. Nichols, now that we’ve discussed some of the
         components in the patents, could we turn to your infringement analysis. 8

         A.     Yes.

  J.A. 1212. It was with his answer to this question that Dr. Nichols indicated to the jury

  that his infringement testimony was officially beginning. And it was to this starting point

  that Dr. Nichols was referring a short time later when he answered in the affirmative to

  the question, “[t]he opinion that you’ve expressed thus far, does that relate to literal

  infringement?” J.A. 1218.

         Another infirmity in Toyota’s argument is that, even if we were to agree that Dr.

  Nichols did in fact draw some sort of line in the sand with his answer to that question, in

  so doing he did not thereby render his literal infringement analysis irrelevant to his

  subsequent equivalence analysis.      Our “particularized testimony” standard does not



         8
                Although counsel for Paice arguably characterized the testimony to that
  point as relating only to “some of the components in the patents,” Dr. Nichols had by
  that time extensively discussed the accused transaxle units.



  2006-1610, -1631                            17
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 141 of 168 Page ID
                                  #:163640


  require Dr. Nichols to re-start his testimony at square one when transitioning to a

  doctrine of equivalents analysis.     Indeed, we think it desirable for a witness to

  incorporate earlier testimony in order to avoid duplication. The fact that Dr. Nichols did

  not explicitly do so does not mean he did not implicitly incorporate his earlier testimony.

  Thus, we reject any notion that Dr. Nichols’s equivalence testimony is strictly limited to

  the few lines pointed to by Toyota.

         Toyota also argues that Dr. Nichols’s other testimony cannot be used to support

  the jury’s verdict due to the absence of any “linking argument” to tie such testimony to

  the function/way/result analysis of the CTTU. Again, we find Toyota’s characterization

  of Dr. Nichols’s testimony inaccurate. For example, on the morning of December 8,

  2005, and before he turned to his literal infringement analysis, Dr. Nichols demonstrated

  the operation of an actual accused vehicle’s transaxle unit to the jury, and in so doing

  he explained:

        Q.    Okay. And when you say its input, what is it that you’re talking
        about as being input, Dr. Nichols?

        A.    We have torque input from the engine, torque input from MG2,
        combined torque output to the drive wheels, controllably combined to give
        you variable torque on the output to drive the wheels.

  J.A. 1201 (emphases added).       Later that same morning, referring to Slide 71, Dr.

  Nichols explained to the jury that the accused vehicles’ transaxle units “provide[] the

  function that is to be provided,” i.e., “controllable and variable amounts of torque from

  two sources to the drive wheels.” J.A. 1218 (emphases added). Thus, within a close

  proximity of time, Dr. Nichols first demonstrated and explained operation of an actual

  accused device to the jury, and then linked that demonstration and explanation to the




  2006-1610, -1631                            18
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 142 of 168 Page ID
                                  #:163641


  function of the CTTU. Our review of the record reveals that Dr. Nichols’s testimony was

  similarly sufficient with respect to linking the way and result prongs.

         Nonetheless, Toyota criticizes Dr. Nichols for allegedly failing to identify any

  specific structure in the accused vehicles’ transaxle units corresponding to the CTTU.

  In particular, Toyota claims that Paice’s equivalence argument is supported by nothing

  more than Dr. Nichols’s “[g]eneralized testimony as to the overall similarity between the

  claims and the accused infringer’s product.” See Appellants’ Br. 37-38 (quoting Tex.

  Inst., 90 F.3d at 1567). This argument is specious in light of the fact that counsel for

  Toyota spent a substantial portion of his time on cross examination asking Dr. Nichols

  to help draw a box on a diagram around the exact portion of Toyota’s drive train he

  identified as corresponding to the CTTU. See J.A. 1256. To now suggest on appeal

  that the jury was never shown specific structure is simply incorrect.          Compare

  Appellants’ Br. 38 (“Indeed, Dr. Nichols was never asked at trial to identify any alleged

  equivalent structure in connection with his equivalents analysis.”), with J.A. 1256

  (Questions by Mr. Badenoch: “Exactly what portion—what device in this diagram of the

  Toyota Prius transaxle schematic, what are you [Dr. Nichols] calling now the controllable

  torque transfer unit in your opinion?” and “Can you [Dr. Nichols] just go over that one

  more time so that I can draw a box to make sure I’ve got it right?”).

         Toyota also argues that Dr. Nichols “fail[ed] to acknowledge any differences

  between the CTTU claim limitation and any component or components alleged to be

  equivalent” in order to “explain why and how such differences are insubstantial.”

  Appellants’ Br. 41. We are unaware of any such “acknowledgement” requirement in the

  context of the function/way/result test, and Toyota does not cite any case law standing




  2006-1610, -1631                             19
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 143 of 168 Page ID
                                  #:163642


  therefor.   In any case, Dr. Nichols was called as a rebuttal witness to answer Dr.

  Caulfield’s testimony. With respect to the question of whether Toyota’s accused CTTU

  is “multi-input device or component,” Dr. Nichols testified:

         Q.    Now, Dr. Nichols, did you also hear Dr. Caulfield testify yesterday
         about where the torque from MG2, I’ll say intersects the ring gear and
         where is it, in your understanding, that Dr. Caulfield said that takes place?

         ....

         A.      If I understand him correctly, he takes the position that—well,
         actually this plus this plus other elements are all one shaft and as a result
         it is not an input; it’s sort of an input/output flowby and there is no input
         shaft in MG2. If I understand his testimony.

         Q.     Do you agree with this testimony, Dr. Nichols?

         A.     Well, it’s certainly a novel approach.

         Q.     And what is it you mean by a novel approach?

         A.     It’s not true.

         Q.     So, you do not agree with it?

         A.    No. . . . This is a ring gear. Without this, the planetary gear unit
         does not exist. It’s not a ring gear shaft, a shaft ring gear. It’s a ring gear.

         Q.     Thank you.

         A.     I will add one other thing. If, in fact, it does flow on the outside
         somehow, which it does not, this is not a dumb device. This would be a
         very smart device that somehow would have torque flow around the
         outside of a ring gear which is not a ring gear but a shaft. It simply does
         not make sense to me.

  Trial Tr. 141:18–143:4, December 16, 2005.

         And with respect to the question of whether Toyota’s accused CTTU is

  “controlled to transfer variable amounts of torque,” Dr. Nichols testified:




  2006-1610, -1631                              20
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 144 of 168 Page ID
                                  #:163643


         Q.      We heard a lot of testimony about the 72 percent/28 percent torque
         split within the planetary gear unit. I just want to confirm it. Do you agree
         or disagree that the torque split always occurs in the planetary gear unit?

         A.     Yes. It’s steady state, that’s the torque split and it’s been
         consistent on four or five or six people giving testimony. We all agree on
         that split of steady state.

         ....

         Q.    And yet you still have reached the conclusion that you’ve reached,
         Dr. Nichols, regarding whether the planetary gear unit in the Toyota
         accused vehicles is a controllable torque transfer unit?

         A.     Yes.

         Q.     And how have you reached that in light of the fact that there is a
         fixed split within the ring gear itself?

         A.    Well, . . . I believe everyone that’s given testimony has agreed that
         it—the [MG2] can provide power independently through the . . . planetary
         gear unit, although there may be some arguments whether it’s through or
         somehow around the planetary gear unit. Everyone’s agreed, and the
         engine can provide it and then provide it in different combinations.

  Trial Tr. 145:13–146:18, Dec. 16, 2005.

         This rebuttal testimony, in conjunction with the testimony given during each

  side’s case in chief, provided the jury with an ample basis upon which to evaluate the

  insubstantiality of the differences between the CTTU limitation and the accused

  structure.

                                   2. Criticism of Prior Art

         The second reason Toyota contends that the jury’s equivalence verdict cannot

  stand relates to Paice’s criticism of two patents issued to Berman et al. and assigned to

  TRW, Inc.: U.S. Patent Nos. 3,566,717 (“the ’717 patent”) and 3,732,751 (“the ’751




  2006-1610, -1631                            21
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 145 of 168 Page ID
                                  #:163644


  patent”) (collectively, “Berman/TRW”). 9 Both Berman/TRW patents describe a hybrid

  drive train similar to those in the accused vehicles in that the Berman/TRW drive train

  design employs an ICE, a traction motor, and a generator coupled to a planetary gear

  unit. See ’751 patent, col. 2, l. 48–col. 3, l. 9. However, unlike Toyota’s drive train, the

  Berman/TRW drive train has two operator-selectable modes of operation, one being

  designed for lower speeds and the other being designed for higher speeds. See, e.g.,

  id. at col. 4, ll. 48-62. Although the Berman/TRW design employs various controllers

  containing transistors and other electronic circuitry, see id. at figs. 4-5, there is no

  controlling microprocessor choosing the most appropriate mode of operation.            J.A.

  1255.

          The written description of the ’970 patent describes the Berman/TRW design as

  providing “[a] more promising ‘parallel hybrid’ approach” than other prior art, ’970 patent,

  col. 2, l. 67–col. 3, l. 1, but it nevertheless points to disadvantages of the Berman/TRW

  design compared to the ’970 invention:

                 The present invention relates to such a parallel hybrid vehicle, but
          addresses certain substantial deficiencies of the Berman et al design. For
          example, Berman et al show two separate electric motor/generators
          powered by the internal combustion engine to charge batteries and to
          drive the vehicle forward in traffic. This arrangement is a source of
          additional complexity, cost and difficulty, as two separate modes of engine
          control are required, and the operator must control the transition between
          the several modes of operation. Further the gear train shown by Berman




          9
                The ’751 patent is a continuation in part of the ’717 patent. Aside from the
  addition of a few alternate embodiments in the ’751 patent, see col. 17, ll. 10-52
  (discussing embodiments not relevant here), the written descriptions of these two
  patents appear more-or-less identical. For simplicity, when we refer to the shared
  written description, we cite only to the ’751 patent.



  2006-1610, -1631                            22
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 146 of 168 Page ID
                                  #:163645


        et al appears to be quite complex and difficult to manufacture
        economically. 10

  Id. at col. 3, ll. 16-27 (emphases added).       Given this criticism and disavowal of

  Berman/TRW in the written description, Toyota argues that its drive trains—which are

  allegedly “based on the configuration of the prior art Berman/TRW patents”—cannot be

  captured by Paice’s invocation of the doctrine of equivalents.

        This court has addressed the effects of criticism and disavowal in several cases.

  For example, in SciMed Life Systems, Inc. v. Advanced Cardiovascular Systems, Inc.,

  the technology at issue related to “[b]alloon dilatation catheters . . . used in coronary

  angioplasty procedures to remove restrictions in coronary arteries.” 242 F.3d 1337,

  1339 (Fed. Cir. 2001). Such catheters were made in one of two configurations: “the

  dual (or adjacent) lumen configuration,” or “the coaxial lumen configuration.” Id. The

  question on appeal was whether the claims—which merely specified that the two

  lumens be “separate”—were limited in scope, either literally or under the doctrine of

  equivalents, to the coaxial lumen configuration. Analyzing the claim language in light of

  the written description, we held, inter alia, that the patentee had “distinguish[ed] the

  prior art on the basis of the use of dual lumens and [had] point[ed] out the advantages

  of the coaxial lumens used in the catheters that [were] the subjects of the [patents in

  suit].” Id. at 1343. We read this as “support[ing]” the “conclusion that the claims should

  not be read so broadly as to encompass the distinguished prior art structure.” Id. We

  further explained that the “most compelling portion of the specification” was the



        10
               The ’970 patent also distinguishes Berman/TRW on the basis that “one or
  even two variable-speed transmissions may be required.” ’970 patent, col. 3, ll. 28-30.
  Toyota does not point to that distinction as relevant to this appeal. See Appellants’ Br.
  51.


  2006-1610, -1631                           23
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 147 of 168 Page ID
                                  #:163646


  patentee’s statement that the coaxial configuration “is ‘the basic sleeve structure for all

  embodiments of the present invention contemplated and disclosed herein.’” Id. at 1344

  (quoting the written description). We were thus led “to the inescapable conclusion” that

  the “separate” limitation was literally limited in scope to the coaxial configuration. Id. at

  1342.

          Relying again on the patentee’s criticism of the prior art and the “all

  embodiments” statement, we arrived at the same conclusion with respect to equivalent

  claim scope. However, our analysis turned on a narrower rationale:

                  The principle articulated in [several cited] cases is akin to the
          familiar rule that the doctrine of equivalents cannot be employed in a
          manner that wholly vitiates a claim limitation. See Warner-Jenkinson Co.
          v. Hilton Davis Chem. Co., [520 U.S. 17, 29-30 (1997)]; Athletic
          Alternatives, [Inc. v. Prince Mfg., Inc., 73 F.3d 1573, 1582 (Fed. Cir.
          1996)] (“specific exclusion” principle is “a corollary to the ‘all limitations’
          rule”). Thus, if a patent states that the claimed device must be “non-
          metallic,” the patentee cannot assert the patent against a metallic device
          on the ground that a metallic device is equivalent to a non-metallic device.
          The unavailability of the doctrine of equivalents could be explained either
          as the product of an impermissible vitiation of the “non-metallic” claim
          limitation, or as the product of a clear and binding statement to the public
          that metallic structures are excluded from the protection of the patent.
          [T]he foreclosure of reliance on the doctrine of equivalents in such a case
          depends on whether the patent clearly excludes the asserted equivalent
          structure, either implicitly or explicitly.

  Id. at 1346-47. Thus, because the patentee had “clearly exclude[d]” one of only two

  possible structures, “competitors and the public were free to draw the reasonable

  conclusion that the patentee was not seeking patent protection for catheters that used a

  dual lumen configuration.” Id. at 1347.

          This court was confronted with a similar fact pattern in Gaus v. Conair Corp.,

  where the technology at issue related to “a safety mechanism that prevents fatal shocks

  to users of electrical appliances such as hairdryers” due to immersion of the appliance



  2006-1610, -1631                              24
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 148 of 168 Page ID
                                  #:163647


  in water. 363 F.3d 1284, 1285 (Fed. Cir. 2004). In particular, the safety mechanism of

  the patented invention employed protective circuitry designed to detect the invasion of

  water before any such water could reach the voltage-carrying components of the

  appliance itself.     Id. at 1289.   The safety mechanism of the accused appliance,

  however, would not react until water reached the voltage-carrying components of the

  appliance. Id. at 1290. This would result in the user experiencing a brief, but non-fatal

  shock.     Id.   Ironically, we noted, “one of the principal advantages of the claimed

  invention [over the prior art]” touted in the patent’s specification was the invention’s

  ability to “protect[] the user from such a shock.” Id. at 1289. Thus, we held that the

  patentee’s criticism of this prior art characteristic amounted to a surrender of claim

  scope that the patentee could not “reclaim . . . by invoking the doctrine of equivalents.”

  Id. at 1291; see also Dawn Equip. Co. v. Ky. Farms Inc., 140 F.3d 1009, 1016 (Fed. Cir.

  1998) (holding that statements in the written description touting the ability of the

  patented invention to overcome disadvantages in the prior art “strongly suggest, if not

  mandate, judgment in [the defendant’s favor]” where the accused products suffered the

  very same disadvantages).

           In this case, Toyota analogizes the ’970 patent’s criticism of the Berman/TRW

  design to the criticism of prior art discussed in SciMed, Gaus, and Dawn Equipment.

  We disagree.        As the written description of the ’970 patent reveals, the primary

  disadvantage of the Berman/TRW design is its control system, which relies upon a

  human operator to select the mode of operation. ’970 patent, col. 3, ll. 24-25 (“[T]he

  operator must control the transition between the several modes of operation.”). Paice

  overcame this disadvantage by using a microprocessor to determine the most




  2006-1610, -1631                            25
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 149 of 168 Page ID
                                  #:163648


  appropriate mode of operation based on its monitoring of control inputs from the driver,

  as well as several other variables. Id. at col. 6, ll. 19-26. Toyota’s drive trains use a

  microprocessor in the same manner as the ’970 patent, i.e., the microprocessor

  determines the most appropriate mode of operation based on its monitoring of control

  inputs from the driver, as well as several other variables. J.A. 1225. Therefore, the

  ’970 patent’s discussion of the Berman/TRW design’s disadvantages does not preclude

  the application of the doctrine of equivalents to Toyota’s accused transaxle units.

        To be sure, the written description of the ’970 patent does point out that the

  Berman/TRW “gear train . . . appears to be quite complex and difficult to manufacture

  economically.”   Col. 3, ll. 26-27.   However, to the extent Paice drew a distinction

  between its design and the Berman/TRW design, the distinction is clearly secondary

  and equivocal at best. Moreover, it is far from obvious which portion of the gear train is

  supposed to be “quite complex and difficult to manufacture economically.” Paice may

  have been referring to the arrangement of the motors, engine, and planetary gear set,

  or to the control system described in the Berman/TRW patents. The intrinsic evidence

  simply does not provide any resolution to this ambiguity. Consequently, this is not a

  case like SciMed where the patentee selected one configuration for “all embodiments”

  of the invention to the exclusion of the only other known configuration. Nor is this a

  case like Gaus or Dawn Equipment where the patentee touted the invention’s

  improvements over the very same subject matter sought to be recaptured under the

  doctrine of equivalents. Thus, we find nothing in the written description of the ’970

  patent that amounts to a disavowal sufficient to overturn the jury’s finding of

  infringement.




  2006-1610, -1631                            26
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 150 of 168 Page ID
                                  #:163649


         In spite of the above-mentioned differences between the Berman/TRW design

  and Toyota’s design, Toyota argues that Paice is bound by various statements it made

  equating the Berman/TRW design to Toyota’s design. According to Toyota, Paice’s

  disavowal of the Berman/TRW design relative to the limitations of the ’970 claims acts

  as a disavowal of Toyota’s accused transaxle units. In the written description of the

  ’672 patent, Paice distinguished Toyota’s Prius I transaxle unit (which also uses a

  planetary gear unit to combine torque):

                Various articles describe several generations of Toyota Motor
         Company hybrid vehicles, stated soon to be available commercially. . . .
         Toyota describes this vehicle as a “series-parallel hybrid”; regardless of
         the label applied, its powertrain appears to be similar to that of the Berman
         patents described above, that is, torque from either or both of an internal
         combustion engine and an electric motor are controllably combined in a
         “power-split mechanism” and transmitted to the drive wheels through a
         planetary gearset providing the functionality of a variable-ratio
         transmission.

  ’672 patent, col. 8, ll. 45-65 (emphases added).          This statement, however, merely

  acknowledges what we have already observed, i.e., that both designs utilize a planetary

  gear unit to output combined torque.           That observation does not imply that the

  Berman/TRW and Prius I designs are identical relative to the limitations of the ’970

  claims. Indeed, the written description of the ’672 patent touts the advantages of its

  clutch-based design over both the CTTU-based design of the ’970 patent and the

  planetary gear unit design of the Prius I. Id. at col. 9, ll. 38-51; col. 12, ll. 17-21. This is

  entirely consistent with the jury’s finding that Toyota’s planetary gear unit design

  infringes the CTTU-based design of the ’970 patent but not the clutched-based design

  of the ’672 patent.




  2006-1610, -1631                              27
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 151 of 168 Page ID
                                  #:163650
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 152 of 168 Page ID
                                  #:163651


                                  3. Admissions by Counsel

         The third and final reason Toyota urges us to overturn the jury’s finding of

  infringement relates to a portion of the opening statement made to the jury by counsel

  for Paice:

                And keep in mind that Toyota can cut off damages tomorrow.
         Toyota can make sure they never have to pay Paice another cent by doing
         what? By going back to the Prius I and don’t use Dr. Severinsky’s high
         voltage/low current invention anymore and stop using road load.

  J.A. 1130 (emphasis added). According to Toyota, this is a binding judicial admission

  by Paice that the Prius I does not infringe any of the patents in suit. In Toyota’s opinion,

  “the undisputed evidence established that the structural configurations of the accused

  vehicles are the same as the Prius I for purposes of determining infringement.”

  Appellants’ Br. 58. Therefore, Toyota argues, this admission necessarily implies that

  none of the accused vehicles infringe.

         The district court agreed with Toyota to a certain extent, and held that the above

  statement constitutes a “binding admission” that Prius I does not infringe the patents-in-

  suit. Paice LLC v. Toyota Motor Corp., No. 2:04-CV-211, Docket No. 225, slip op. at 13

  (E.D. Tex. Aug. 16, 2006). The district court noted, however, that the jury did not

  consider whether the claim limitations were “met equally by the Prius I as the Prius II.”

  Id. slip op. at 13-14.     Therefore, the district court disagreed that the evidence

  established that the structural configurations of the accused vehicles are the same as

  the Prius I for purposes of determining infringement. Instead, the court concluded,

  “there is sufficient evidence underlying the jury’s verdict and that verdict should not be

  overturned based on the conclusory admission by Plaintiff’s counsel.” Id. slip op. at 14.




  2006-1610, -1631                            29
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 153 of 168 Page ID
                                  #:163652


         In effect, the district court treated the statement as merely an evidential

  admission—as opposed to a conclusive admission—which the jury was free to weigh

  against the other evidence adduced at trial. 12 See Pickens v. Equitable Life Assurance

  Soc’y, 413 F.2d 1390, 1393-94 (5th Cir. 1969) (holding that a district court properly

  treated an admission as evidential and submitted it to the jury for consideration). In light

  of what we view as tenuous logic in Toyota’s argument, and the “conclusory” nature of

  the admission itself, we think the district court acted well within the confines of its

  discretion by ruling as it did.

         Having rejected all three reasons set forth by Toyota for overturning the jury’s

  finding of infringement, we hold that the district court did not err in denying Toyota’s

  motion for JMOL.

                                    B. Paice’s Cross Appeal

         We next address the issues presented by Paice’s cross appeal, namely, (1) the

  district court’s denial of the motion for JMOL of no literal infringement of claims 11 and

  39 of the ’970 patent, claim 15 of the ’672 patent, and claims 1 and 2 of the ’088 patent;

  and (2) the district court’s imposition of an ongoing royalty of $25 per Prius II, Toyota

  Highlander, or Lexus RX400h vehicle subsequently sold by Toyota. As with Toyota’s

  appeal, we reject each of Paice’s contentions with respect to infringement issues. With

  respect to the ongoing royalty, however, we are unable to determine whether the district




         12
               Indeed, when Paice objected at trial to the introduction of evidence
  regarding Prius I, the district court decided that it would “allow the testimony,” but that it
  would also “allow [Paice] great leeway in cross-examining on these issues . . . and . . .
  see what weight the jury gives [the evidence] under those circumstances.” Trial Tr.
  14:17–22, Dec. 15, 2005.


  2006-1610, -1631                             30
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 154 of 168 Page ID
                                  #:163653


  court abused its discretion. Accordingly, we must vacate a limited portion of the district

  court’s order and remand for further proceedings.

                                      1. Denial of JMOL

         Paice argues that the verdict of no literal infringement of claims 11 and 39 of the

  ’970 patent, which was based on the jury’s determination that the CTTU limitation is not

  satisfied by Toyota’s drive train, is unsupported by the evidence.         With respect to

  Toyota’s argument that the accused drive trains lack a “multi-input device or

  component,” Paice points out that nothing in the district court’s claim construction

  “prevents a single shaft from being both an input and an output shaft,” or “limit[s] the

  nature or the location of the input.” Appellee’s Br. 57-58. Paice’s argument, however,

  misses the point of Dr. Caulfield’s testimony. Because the combination of the fractional

  (72%) ICE torque with the MG2 torque does not occur until after the fractional ICE

  torque is output from the planetary gear unit to the ring gear, there is no single “device

  or component” in Toyota’s design that can be characterized as “multi-input.” Although

  the jury, in light of its equivalence verdict, must have seen Dr. Caulfield’s distinction as

  insubstantial, we believe that his testimony provided the jury with substantial evidence

  upon which to base its finding of no literal infringement of claims 11 and 39 of the ’970

  patent.

         Paice further argues that the jury’s verdict of no literal infringement of claim 15 of

  the ’672 patent and claims 1 and 2 of the ’088 patent, each of which contains a clutch

  limitation, is unsupported by the evidence. The district court construed the term “clutch”

  as “a device that selectively permits or prohibits transfer of torque and rotation.” Claim

  Construction Opinion, slip op. at 33. According to Dr. Nichols, the court’s construction is




  2006-1610, -1631                             31
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 155 of 168 Page ID
                                  #:163654


  satisfied by a combination of the planetary gear unit, the ICE shaft, the shaft leading

  from the ring gear to the drive sprocket, and the drive sprocket itself. J.A. 1256-57.

  This combination can be controlled either by MG2, which is able to prevent torque

  transfer from the ICE shaft to the drive sprocket by providing a counter torque at the ring

  gear sufficient to negate torque provided by the ICE shaft, J.A. 1257, or by a parking

  pawl, which is simply a lock that prevents movement of the gears, J.A. 1552-53.

  However, because the court’s construction literally requires “a device, not a number of

  devices” to act as the clutch, Dr. Caulfield explained that the planetary gear unit, as a

  single device, will always transfer any torque provided by the ICE to the ring gear

  output.   J.A. 1522, 1553 (“For clarity, [torque] gets out of the device, which is the

  planetary, and goes to the parking pawl, which is a couple of gears downstream . . . .”).

        Once again, we believe this testimony provided the jury with substantial evidence

  upon which to base its finding of no literal infringement of claim 15 of the ’672 patent,

  and claims 1 and 2 of the ’088 patent. Therefore, we hold that the district court did not

  err in denying Paice’s motion for JMOL.

                            2. Imposition of an Ongoing Royalty

        Finally, we address the district court’s ongoing-royalty order, which allows Toyota




  2006-1610, -1631                            32
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 156 of 168 Page ID
                                  #:163655


  to continue using the invention of the ’970 patent at a cost of $25 per accused vehicle. 13

  The district court’s order reads:

         Defendants are hereby ORDERED, for the remaining life of the ’970
         patent, to pay Plaintiff an ongoing royalty of $25.00 per infringing Prius II,
         Toyota Highlander, or Lexus RX400H (the “infringing vehicles”). Royalties
         shall be paid quarterly and shall be accompanied by an accounting of the
         sales of infringing vehicles. Payments shall begin three months after the
         date of signing this judgment and shall be made quarterly thereafter. The
         first payment shall include royalties for all infringing vehicles sold that were
         not accounted for in the jury’s verdict. Payments not made within 14 days
         of the due date shall accrue interest at the rate of 10%, compounded
         monthly. Plaintiff shall have the right to request audits. It is anticipated
         that the parties may wish to agree to more comprehensive and convenient
         terms. The parties shall promptly notify the Court of any such agreement.
         The Court maintains jurisdiction to enforce this portion of the Final
         Judgment.

  J.A. 110. Paice argues that the district court did not have the statutory authority to issue

  this order, and that, even if the court did have such authority, Paice was denied its right

  to a jury trial under the Seventh Amendment to determine the amount of the ongoing

  royalty rate. 14



         13
                  We use the term ongoing royalty to distinguish this equitable remedy from
  a compulsory license. The term “compulsory license” implies that anyone who meets
  certain criteria has congressional authority to use that which is licensed. See, e.g., 17
  U.S.C. § 115 (“When phonorecords of a nondramatic musical work have been
  distributed . . . under the authority of the copyright owner, any other person . . . may, by
  complying with the provisions of this section, obtain a compulsory license to make and
  distribute phonorecords of the work.” (emphasis added)). By contrast, the ongoing-
  royalty order at issue here is limited to one particular set of defendants; there is no
  implied authority in the court’s order for any other auto manufacturer to follow in
  Toyota’s footsteps and use the patented invention with the court’s imprimatur.
         14
                Paice also argues that the ongoing royalty inhibits Paice’s ability to grant
  an exclusive license under its patent. To the extent Paice’s inability to grant an
  exclusive license is a valid consideration, the fact that § 283 is permissive indicates that
  concerns regarding exclusivity do not outweigh other equitable factors. The district
  court considered this factor and rejected it, concluding that “other potential licensees
  would [not] be less likely to take a license if this case ends with monetary damages
  instead of equitable relief.” J.A. 100. This finding is supported by substantial evidence.


  2006-1610, -1631                             33
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 157 of 168 Page ID
                                  #:163656


        We begin with the language of 35 U.S.C. § 283, which provides in relevant part:

                The several courts having jurisdiction of cases under this title may
        grant injunctions in accordance with the principles of equity to prevent the
        violation of any right secured by patent, on such terms as the court deems
        reasonable.

        Perhaps the most apparent restriction imposed by § 283 is that injunctions

  granted thereunder must “prevent the violation of any right secured by patent.” We

  have previously held that this statutory language limits the scope of activities that may

  be enjoined. See, e.g., Joy Techs. v. Flakt, Inc., 6 F.3d 770, 777 (Fed. Cir. 1993)

  (holding that noninfringing acts may not be enjoined). The more difficult question raised

  by this case, however, is whether an order permitting use of a patented invention in

  exchange for a royalty is properly characterized as preventing the violation of the rights

  secured by the patent.

        Under some circumstances, awarding an ongoing royalty for patent infringement

  in lieu of an injunction may be appropriate. In Shatterproof Glass Corp. v. Libbey–

  Owens Ford Co., 758 F.2d 613, 628 (Fed. Cir. 1985), this court upheld a 5% court-

  ordered royalty, based on sales, “for continuing operations.” Although the parties in that

  case contested the amount of the royalty, styled a “compulsory license” by the court,

  there was no dispute as to the district court’s authority to craft such a remedy. See id.

  In the context of an antitrust violation, “mandatory sales and reasonable-royalty

  licensing” of relevant patents are “well-established forms of relief when necessary to an

  effective remedy, particularly where patents have provided the leverage for or have

  contributed to the antitrust violation adjudicated.” United States v. Glaxo Group Ltd.,

  410 U.S. 52, 59 (1973).




  2006-1610, -1631                           34
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 158 of 168 Page ID
                                  #:163657


         But, awarding an ongoing royalty where “necessary” to effectuate a remedy, be it

  for antitrust violations or patent infringement, does not justify the provision of such relief

  as a matter of course whenever a permanent injunction is not imposed. In most cases,

  where the district court determines that a permanent injunction is not warranted, the

  district court may wish to allow the parties to negotiate a license amongst themselves

  regarding future use of a patented invention before imposing an ongoing royalty.

  Should the parties fail to come to an agreement, the district court could step in to

  assess a reasonable royalty in light of the ongoing infringement.

         In this case, the district court, after applying the four-factor test for a permanent

  injunction and declining to issue one, imposed an ongoing royalty sua sponte upon the

  parties. But, the district court’s order provides no reasoning to support the selection of

  $25 per infringing vehicle as the royalty rate. Thus, this court is unable to determine

  whether the district court abused its discretion in setting the ongoing royalty rate.

  Accordingly, we think it prudent to remand the case for the limited purpose of having the

  district court reevaluate the ongoing royalty rate. Upon remand, the court may take

  additional evidence if necessary to account for any additional economic factors arising

  out of the imposition of an ongoing royalty. 15 The district court may determine that $25

  is, in fact, an appropriate royalty rate going forward. However, without any indication as

  to why that rate is appropriate, we are unable to determine whether the district court

  abused its discretion.    Cf. Hensley v. Eckerhart, 461 U.S. 424, 437 (1983) (“It [is]



         15
                This process will also, presumably, allow the parties the opportunity to
  present evidence regarding an appropriate royalty rate to compensate Paice and the
  opportunity to negotiate their own rate prior to the imposition of one by the court, as the
  concurrence suggests.



  2006-1610, -1631                             35
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 159 of 168 Page ID
                                  #:163658


  important . . . for the district court to provide a concise but clear explanation of its

  reasons for the fee award.”). The district court should also take the opportunity on

  remand to consider the concerns Paice raises about the terms of Toyota’s permissive

  continuing use.

         Finally, we address Paice’s argument that it was entitled to a jury trial to

  determine the amount of the ongoing royalty rate. “The Seventh Amendment provides

  that ‘in Suits at common law, where the value in controversy shall exceed twenty

  dollars, the right of trial by jury shall be preserved . . . .’”     Markman v. Westview

  Instruments, Inc., 517 U.S. 370, 376 (1996). “The constitutional question of whether a

  party is entitled to a jury trial is a question of law that this court reviews de novo.” Tegal

  Corp. v. Tokyo Electron Am., Inc., 257 F.3d 1331, 1339 (Fed. Cir. 2001). 16 “[W]e ask,

  first, whether we are dealing with a cause of action that either was tried at law at the

  time of the founding or is at least analogous to one that was.” Markman, 517 U.S. at

  376. “If the action in question belongs in the law category, we then ask whether the

  particular trial decision must fall to the jury in order to preserve the substance of the

  common-law right as it existed in 1791.” Id.

         In contending that it was improperly deprived of a jury trial, Paice merely states

  that “[i]t is well settled that the determination of damages is a legal question which

  carries a Seventh Amendment right to a jury trial.” Appellee’s Br. 64. While Paice may



         16
                 Preliminary to our Seventh Amendment inquiry, we must satisfy ourselves
  that the statute in question cannot be read in a manner that avoids the constitutional
  question. Tull v. United States, 481 U.S. 412, 417 n.3 (1987). The wording of 35
  U.S.C. § 283, which empowers “courts . . . [to] grant injunctions in accordance with the
  principles of equity . . . on such terms as the court deems reasonable,” leaves no doubt
  that Congress did not intend to statutorily entitle patentees to a jury trial for the
  purposes of awarding relief thereunder. (Emphases added.)


  2006-1610, -1631                             36
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 160 of 168 Page ID
                                  #:163659


  be correct as a general matter, not all monetary relief is properly characterized as

  “damages.” See, e.g., Root v. Ry., 105 U.S. 189, 207 (1882) (“When, . . . relief was

  sought which equity alone could give . . . in order to avoid a multiplicity of suits and to

  do complete justice, the court assumed jurisdiction to award compensation for the past

  injury, not, however, by assessing damages, which was the peculiar office of the jury,

  but requiring an account of profits . . . .”); cf. Bowen v. Massachusetts, 487 U.S. 879,

  910 (1988) (“[E]ven if the District Court’s orders are construed in part as orders for the

  payment of money by the Federal Government to the State, such payments are not

  ‘money damages’ . . . . That is, since the orders are for specific relief (they undo the

  Secretary’s refusal to reimburse the State) rather than for money damages (they do not

  provide relief that substitutes for that which ought to have been done) they are within

  the District Court’s jurisdiction . . . .”). As such, the fact that monetary relief is at issue in

  this case does not, standing alone, warrant a jury trial. Accordingly, Paice’s argument

  falls far short of demonstrating that there was any Seventh Amendment violation in the

  proceedings below.

                                        V. CONCLUSION

         For the reasons discussed, we vacate and remand the portion of the district

  court’s final order insofar as it relates to the imposition of an ongoing royalty at a rate of

  $25 per infringing vehicle. In all other respects, we affirm.

                    AFFIRM-IN-PART, VACATE-IN-PART, AND REMAND




  2006-1610, -1631                               37
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 161 of 168 Page ID
                                  #:163660



   United States Court of Appeals for the Federal Circuit
                                        2006-1610, -1631


                                             PAICE LLC,

                                                           Plaintiff-Cross Appellant,


                                                 v.


                             TOYOTA MOTOR CORPORATION,
                         TOYOTA MOTOR NORTH AMERICA, INC.,
                         and TOYOTA MOTOR SALES, U.S.A., INC.,

                                                           Defendants-Appellants.



  RADER, Circuit Judge, concurring.

         I agree with the court’s judgment in this matter, with respect to both Toyota’s

  appeal and Paice’s cross-appeal. But, I write separately to express my opinion that in

  remanding to the district court for reevaluation of the “ongoing royalty” rate, this court

  should do more than suggest that “the district court may wish to allow the parties to

  negotiate a license amongst themselves . . . before imposing an ongoing royalty.” Slip

  op. at 34 (emphasis added). Instead, this court should require the district court to

  remand this issue to the parties, or to obtain the permission of both parties before

  setting the ongoing royalty rate itself.

         District courts have considerable discretion in crafting equitable remedies, and in

  a limited number of cases, as here, imposition of an ongoing royalty may be

  appropriate. Nonetheless, calling a compulsory license an "ongoing royalty" does not

  make it any less a compulsory license. To avoid many of the disruptive implications of a
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 162 of 168 Page ID
                                  #:163661


  royalty imposed as an alternative to the preferred remedy of exclusion, the trial court's

  discretion should not reach so far as to deny the parties a formal opportunity to set the

  terms of a royalty on their own. With such an opportunity in place, an ongoing royalty

  would be an ongoing royalty, not a compulsory license.

         In this case, because the court imposed an ongoing royalty on the parties sua

  sponte after denying injunctive relief, the parties had no meaningful chance to present

  evidence to the district court on an appropriate royalty rate to compensate Paice for

  Toyota’s future acts of infringement. Evidence and argument on royalty rates were, of

  course, presented during the course of the trial, for the purposes of assessing damages

  for Toyota’s past infringement. But pre-suit and post-judgment acts of infringement are

  distinct, and may warrant different royalty rates given the change in the parties’ legal

  relationship and other factors. When given choices between taking additional evidence

  or not, and between remanding to the parties or not, a district court may prefer the

  simplest course – impose its own compulsory license. This simplest course, however,

  affords the parties the least chance to inform the court of potential changes in the

  market or other circumstances that might affect the royalty rate reaching into the future.

         In most cases, the patentee and the infringer should receive an opportunity at

  least to set license terms that will apply to post-suit use of the patented invention. This

  general principle has deep roots in both law and policy. Projecting the costs to be

  incurred for what would otherwise be future acts of infringement is necessarily a

  speculative exercise, even for the most stable markets and technologies. As licenses

  are driven largely by business objectives, the parties to a license are better situated

  than the courts to arrive at fair and efficient terms. After all, it is the parties, rather than




  2006-1610, -1631                               2
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 163 of 168 Page ID
                                  #:163662
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 164 of 168 Page ID
                                  #:163663




                  EXHIBIT 5
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 165 of 168 Page ID
                                  #:163664
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 166 of 168 Page ID
                                  #:163665




                   EXHIBIT 6
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 167 of 168 Page ID
                                  #:163666
Case 8:10-ml-02151-JVS-FMO Document 5669 Filed 11/05/18 Page 168 of 168 Page ID
                                  #:163667


                                 
               
          !""
     !#$%&#' "
    #" "()##
    !*$+ !*$%,(
    #$)(#  ,
    %,&
     #$ $,#,%#-
    (+



                                             .//////////////////////////////////
                                                /s/ Joyce Richard

                                                     





























